            Case 8:18-bk-13311-CB   DocSTATES
                               UNITED   127 Filed 10/22/18 OF
                                              DEPARTMENT   Entered 10/22/18 20:33:23
                                                              JUSTICE                                                      Desc
                                     Main Document    Page 1 of 85
                               OFFICE OF THE UNITED STATES TRUSTEE
                                  CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                      CHAPTER 11 (BUSINESS)

     Ruby's Diner Inc.                                                      Case Number:                             8:2018bk13311
                                                                            Operating Report Number:                        1
                                                          Debtor(s).        For the Period Ending:                   October 07, 2018

                                          I. CASH RECEIPTS AND DISBURSEMENTS
                                                A. (GENERAL ACCOUNT) [1]
                 Date Range:                          9/5/2018 to 10/7/2018

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                             0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                  0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                       101,726.16

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
     Other (Specify) [3]                                                                           371,565.84
     **Other (Specify)

     TOTAL RECEIPTS THIS PERIOD:                                                                                            371,565.84

5. BALANCE:                                                                                                                 473,292.00

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                   337,188.09
   Disbursements (from page 2)                                                                     135,742.23

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                    472,930.32

7. ENDING BALANCE: [2]                                                                                                            361.68

8. General Account Number(s):                                               xxxxxx2095
   Depository Name & Location:                                              JPMorgan Chase Bank
                                                                            Southwest Market, Columbus, OH 43218
[1] This account is not the DIP account but is being held open untill the migration is complete.
[2] The Ending Balance does not reflect unused balances of retainers held by professionals employed by the Debtor.
[3] Intercompany transfers, primarily reimbursements for payroll and G&A fees.
          Case 8:18-bk-13311-CB                            Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                     Desc
                                                            Main Document    Page 2 of 85
                                     TOTAL DISBURSEMENTS FROM PRE-PETITION GENERAL ACCOUNT FOR CURRENT PERIOD
                                                                                                  **Amount*Amount
Date mm/dd/yyyy         Check Number            Description                       Purpose                Transfered             Disbursed     Amount
             9/5/2018              Vantiv Intregated Payment            Credit Card Transaction Fees                               3,175.96      3,175.96
             9/5/2018              Paypal                                                                                            117.80        117.80
             9/5/2018              Cash Concentration Tranfer           Transfer to Payroll Account (Chase 2103)    38,162.81                   38,162.81
             9/5/2018              Cash Concentration Tranfer           Transfer to AP Account (Chase 2111)          9,616.64                    9,616.64
             9/6/2018              Union Bank Card                      Credit Card Payment                                        2,000.00      2,000.00
             9/6/2018              Cash Concentration Tranfer           Transfer to Payroll Account (Chase 2103)     8,823.11                    8,823.11
             9/6/2018              Cash Concentration Tranfer           Transfer to AP Account (Chase 2111)            878.72                      878.72
             9/7/2018              Cash Concentration Tranfer           Transfer to Payroll Account (Chase 2103)     7,196.08                    7,196.08
            9/10/2018              Cash Concentration Tranfer           Transfer to Payroll Account (Chase 2103)     8,134.41                    8,134.41
            9/10/2018              Cash Concentration Tranfer           Transfer to AP Account (Chase 2111)            525.28                      525.28
            9/11/2018              Cash Concentration Tranfer           Transfer to Payroll Account (Chase 2103)     2,637.58                    2,637.58
            9/12/2018              Cash Concentration Tranfer           Transfer to Payroll Account (Chase 2103)     2,715.29                    2,715.29
            9/13/2018              Paycom                               Company Payroll                                          125,354.76    125,354.76
            9/14/2018              Merchant Bank                        Adjustment                                                    24.83         24.83
            9/14/2018              Merchant Bank                        Adjustment                                                    19.56         19.56
            9/14/2018              Merchant Bank                        Adjustment                                                     0.04          0.04
            9/14/2018              Transfer to Payroll Account          Transfer to Payroll Account (Chase 2103)   120,000.00                  120,000.00
            9/17/2018              Account Analysis Settlement Charge   Bank Fee                                                   3,605.48      3,605.48
            9/17/2018              Transfer to Payroll Account          Transfer to Payroll Account (Chase 2103)    50,000.00                   50,000.00
            9/18/2018              Transfer to Payroll Account          Transfer to Payroll Account (Chase 2103)    20,000.00                   20,000.00
            9/24/2018              Bank Card System                     Adjustment                                                   159.70        159.70
            9/26/2018                                                   CR Reversal                                                  380.00        380.00
            9/26/2018              Transfer to Payroll Account          Transfer to Payroll Account (Chase 2103)    15,000.00                   15,000.00
            9/27/2018              Merchant Bank                        ACH Settlement Return                                        380.00        380.00
            10/3/2018                                                   CR Reversal                                                  200.00        200.00
            10/3/2018              Paypal                                                                                            124.10        124.10
            10/4/2018              Merchant Bank                        ACH Settlement Return                                        200.00        200.00
            10/5/2018              Transfer to East West Bank           Transfer to DIP account.                    53,498.17                   53,498.17
                                                                              TOTAL DISBURSEMENTS THIS PERIOD:     337,188.09   $135,742.23   $472,930.32
           Case 8:18-bk-13311-CB           Doc GENERAL
                                               127 FiledACCOUNT
                                                         10/22/18 Entered 10/22/18 20:33:23   Desc
                                            Main Document    Page 3 of 85
                                             BANK RECONCILIATION

                    Bank statement Date:               10/7/2018   Balance on Statement:       $361.68

Plus deposits in transit (a):
                                                 Deposit Date         Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                         0.00
Less Outstanding Checks (a):
                    Check Number                 Check Date            Check Amount




TOTAL OUTSTANDING CHECKS:                                                                         0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                         $361.68
            Case 8:18-bk-13311-CB
                             I. CASH Doc  127 Filed
                                     RECEIPTS   AND 10/22/18    Entered 10/22/18 20:33:23
                                                      DISBURSEMENTS                                           Desc
                                       Main Document       Page 4 of 85
                                    B. (PAYROLL ACCOUNT) [1]
              Date Range:                9/5/2018 to 10/7/2018

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                                                        0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                                                             0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                        614.06

4. RECEIPTS DURING CURRENT PERIOD:                                                                     272,807.31
   (Transferred from General Account)

5. BALANCE:                                                                                            273,421.37

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                                 265,482.93

7. ENDING BALANCE:                                                                                          7,938.44

8. PAYROLL Account Number(s):                                        xxxxxx2103
                                                                     JPMorgan Chase Bank
   Depository Name & Location:                                       Southwest Market, Columbus, OH 43218
[1] This account is not the DIP account but is being held open untill the migration is complete.
              Case 8:18-bk-13311-CB    Doc 127
                         TOTAL DISBURSEMENTS FROMFiled 10/22/18
                                                  PAYROLL ACCOUNTEntered 10/22/18
                                                                  FOR CURRENT      20:33:23
                                                                              PERIOD          Desc
                                        Main Document      Page 5 of 85
  Date
mm/dd/yyyy           Check Number                 Payee                      Purpose            Amount
   9/5/2018   CHECK NO=0000022149751   Payee 1                                                      307.03
   9/5/2018   CHECK NO=0000022161537   Payee 2                    Payroll                          1982.23
   9/5/2018   CHECK NO=0000022161713   Payee 3                    Payroll                          1412.14
   9/5/2018   CHECK NO=0000022161579   Payee 4                    Payroll                          1324.26
   9/5/2018   CHECK NO=0000022161751   Payee 5                    Payroll                          1113.62
   9/5/2018   CHECK NO=0000022161320   Payee 6                    Payroll                          1048.06
   9/5/2018   CHECK NO=0000022161674   Payee 7                    Payroll                          1032.37
   9/5/2018   CHECK NO=0000022161771   Payee 8                    Payroll                            994.2
   9/5/2018   CHECK NO=0000022161585   Payee 9                    Payroll                           954.43
   9/5/2018   CHECK NO=0000022161630   Payee 10                   Payroll                           942.35
   9/5/2018   CHECK NO=0000022161309   Payee 11                   Payroll                           912.21
   9/5/2018   CHECK NO=0000022161561   Payee 12                   Payroll                           904.33
   9/5/2018   CHECK NO=0000022161467   Payee 13                   Payroll                           872.02
   9/5/2018   CHECK NO=0000022161452   Payee 14                   Payroll                           863.55
   9/5/2018   CHECK NO=0000022160836   Payee 15                   Payroll                           861.33
   9/5/2018   CHECK NO=0000022161424   Payee 16                   Payroll                           811.61
   9/5/2018   CHECK NO=0000022161325   Payee 17                   Payroll                           806.99
   9/5/2018   CHECK NO=0000022161150   Payee 18                   Payroll                           799.62
   9/5/2018   CHECK NO=0000022161613   Payee 19                   Payroll                           777.14
   9/5/2018   CHECK NO=0000022161514   Payee 20                   Payroll                            769.7
   9/5/2018   CHECK NO=0000022161581   Payee 21                   Payroll                           729.66
   9/5/2018   CHECK NO=0000022161361   Payee 22                   Payroll                           714.78
   9/5/2018   CHECK NO=0000022161363   Payee 23                   Payroll                           670.38
   9/5/2018   CHECK NO=0000022161582   Payee 24                   Payroll                           669.48
   9/5/2018   CHECK NO=0000022161672   Payee 25                   Payroll                           627.73
   9/5/2018   CHECK NO=0000022161749   Payee 26                   Payroll                           611.48
   9/5/2018   CHECK NO=0000022159855   Payee 27                   Payroll                           596.14
   9/5/2018   CHECK NO=0000022161499   Payee 28                   Payroll                           563.72
   9/5/2018   CHECK NO=0000022161455   Payee 29                   Payroll                           529.55
   9/5/2018   CHECK NO=0000022161430   Payee 30                   Payroll                            502.1
   9/5/2018   CHECK NO=0000022160349   Payee 31                   Payroll                           497.76
   9/5/2018   CHECK NO=0000022161593   Payee 32                   Payroll                           481.95
   9/5/2018   CHECK NO=0000022161592   Payee 33                   Payroll                           480.14
   9/5/2018   CHECK NO=0000022161544   Payee 34                   Payroll                            443.1
   9/5/2018   CHECK NO=0000022161756   Payee 35                   Payroll                           442.03
   9/5/2018   CHECK NO=0000022161413   Payee 36                   Payroll                           440.82
   9/5/2018   CHECK NO=0000022161479   Payee 37                   Payroll                           398.16
   9/5/2018   CHECK NO=0000022161411   Payee 38                   Payroll                           394.64
   9/5/2018   CHECK NO=0000022161339   Payee 39                   Payroll                           390.76
   9/5/2018   CHECK NO=0000022161743   Payee 40                   Payroll                           382.56
   9/5/2018   CHECK NO=0000022161450   Payee 41                   Payroll                            371.2
   9/5/2018   CHECK NO=0000022161197   Payee 42                   Payroll                           334.83
   9/5/2018   CHECK NO=0000022161661   Payee 43                   Payroll                           330.75
   9/5/2018   CHECK NO=0000022161358   Payee 44                   Payroll                           323.79
   9/5/2018   CHECK NO=0000022161716   Payee 45                   Payroll                            322.8
   9/5/2018   CHECK NO=0000022161329   Payee 46                   Payroll                           321.81
   9/5/2018   CHECK NO=0000022161433   Payee 47                   Payroll                           320.09
   9/5/2018   CHECK NO=0000022161349   Payee 48                   Payroll                           315.88
   9/5/2018   CHECK NO=0000022157846   Payee 49                   Payroll                           292.57
   9/5/2018   CHECK NO=0000022161660   Payee 50                   Payroll                            288.9
   9/5/2018   CHECK NO=0000022161415   Payee 51                   Payroll                           287.85
   9/5/2018   CHECK NO=0000022161560   Payee 52                   Payroll                           272.39
   9/5/2018   CHECK NO=0000022161378   Payee 53                   Payroll                           260.57
   9/5/2018   CHECK NO=0000022161353   Payee 54                   Payroll                           247.21
   9/5/2018   CHECK NO=0000022161633   Payee 55                   Payroll                            240.5
   9/5/2018   CHECK NO=0000022161710   Payee 56                   Payroll                           240.32
   9/5/2018   CHECK NO=0000022161745   Payee 57                   Payroll                           238.69
   9/5/2018   CHECK NO=0000022161531   Payee 58                   Payroll                           236.24
   9/5/2018   CHECK NO=0000022161539   Payee 59                   Payroll                           217.99
 9/5/2018 Case
          CHECK8:18-bk-13311-CB
                 NO=0000022161757    Doc60127 Filed 10/22/18
                                    Payee                      Entered
                                                                Payroll 10/22/18 20:33:23   Desc     214.5
 9/5/2018 CHECK NO=0000022161389       Main
                                    Payee 61 Document   Page   6Payroll
                                                                 of 85                              209.01
 9/5/2018 CHECK NO=0000022161651    Payee 62                   Payroll                              207.84
 9/5/2018 CHECK NO=0000022161456    Payee 63                   Payroll                              201.79
 9/5/2018 CHECK NO=0000022161650    Payee 64                   Payroll                               197.9
 9/5/2018 CHECK NO=0000022161414    Payee 65                   Payroll                              188.88
 9/5/2018 CHECK NO=0000022161397    Payee 66                   Payroll                              187.86
 9/5/2018 CHECK NO=0000022161372    Payee 67                   Payroll                              170.69
 9/5/2018 CHECK NO=0000022161458    Payee 68                   Payroll                              163.74
 9/5/2018 CHECK NO=0000022161656    Payee 69                   Payroll                              162.09
 9/5/2018 CHECK NO=0000022161718    Payee 70                   Payroll                              162.01
 9/5/2018 CHECK NO=0000022161401    Payee 71                   Payroll                              159.65
 9/5/2018 CHECK NO=0000022161478    Payee 72                   Payroll                                 152
 9/5/2018 CHECK NO=0000022161497    Payee 73                   Payroll                              135.64
 9/5/2018 CHECK NO=0000022161451    Payee 74                   Payroll                              133.34
 9/5/2018 CHECK NO=0000022161763    Payee 75                   Payroll                              124.51
 9/5/2018 CHECK NO=0000022161652    Payee 76                   Payroll                              121.42
 9/5/2018 CHECK NO=0000022161487    Payee 77                   Payroll                              103.44
 9/5/2018 CHECK NO=0000022161488    Payee 78                   Payroll                              100.11
 9/5/2018 CHECK NO=0000022160837    Payee 79                   Payroll                                 100
 9/5/2018 CHECK NO=0000022161699    Payee 80                   Payroll                                59.6
 9/5/2018 Check Number 22161048.    Payee 81                   Payroll                                0.34
 9/6/2018 CHECK NO=0000022161044    Payee 82                   Payroll                             1148.82
 9/6/2018 CHECK NO=0000022161513    Payee 83                   Payroll                             1119.44
 9/6/2018 CHECK NO=0000022161598    Payee 84                   Payroll                             1022.68
 9/6/2018 CHECK NO=0000022161502    Payee 85                   Payroll                              719.96
 9/6/2018 CHECK NO=0000022161550    Payee 86                   Payroll                              571.48
 9/6/2018 CHECK NO=0000022160955    Payee 87                   Payroll                              448.68
 9/6/2018 CHECK NO=0000022161128    Payee 88                   Payroll                              431.22
 9/6/2018 CHECK NO=0000022161423    Payee 89                   Payroll                              375.97
 9/6/2018 CHECK NO=0000022161481    Payee 90                   Payroll                              354.64
 9/6/2018 CHECK NO=0000022161739    Payee 91                   Payroll                              353.18
 9/6/2018 CHECK NO=0000022161344    Payee 92                   Payroll                              339.73
 9/6/2018 CHECK NO=0000022160990    Payee 93                   Payroll                              292.82
 9/6/2018 CHECK NO=0000022161461    Payee 94                   Payroll                              262.74
 9/6/2018 CHECK NO=0000022161605    Payee 95                   Payroll                              230.93
 9/6/2018 CHECK NO=0000022161542    Payee 96                   Payroll                               222.8
 9/6/2018 CHECK NO=0000022161730    Payee 97                   Payroll                              212.29
 9/6/2018 CHECK NO=0000022161377    Payee 98                   Payroll                              211.57
 9/6/2018 CHECK NO=0000022161740    Payee 99                   Payroll                              181.73
 9/6/2018 CHECK NO=0000022161737    Payee 100                  Payroll                               140.5
 9/6/2018 CHECK NO=0000022161754    Payee 101                  Payroll                              122.14
 9/6/2018 CHECK NO=0000022161366    Payee 102                  Payroll                               59.79
 9/7/2018 CHECK NO=0000022161517    Payee 103                  Payroll                             1231.48
 9/7/2018 CHECK NO=0000022161614    Payee 104                  Payroll                             1195.14
 9/7/2018 CHECK NO=0000022161432    Payee 105                  Payroll                              753.57
 9/7/2018 CHECK NO=0000022161051    Payee 106                  Payroll                              460.83
 9/7/2018 CHECK NO=0000022161442    Payee 107                  Payroll                              427.32
 9/7/2018 CHECK NO=0000022161520    Payee 108                  Payroll                              410.04
 9/7/2018 CHECK NO=0000022161714    Payee 109                  Payroll                              379.94
 9/7/2018 CHECK NO=0000022161589    Payee 110                  Payroll                              289.83
 9/7/2018 CHECK NO=0000022161668    Payee 111                  Payroll                              282.54
 9/7/2018 CHECK NO=0000022161387    Payee 112                  Payroll                              263.43
 9/7/2018 CHECK NO=0000022161380    Payee 113                  Payroll                              256.64
 9/7/2018 CHECK NO=0000022161445    Payee 114                  Payroll                              238.77
 9/7/2018 CHECK NO=0000022161322    Payee 115                  Payroll                              205.31
 9/7/2018 CHECK NO=0000022161750    Payee 116                  Payroll                              197.74
 9/7/2018 CHECK NO=0000022161500    Payee 117                  Payroll                              169.51
 9/7/2018 CHECK NO=0000022161719    Payee 118                  Payroll                              169.29
 9/7/2018 CHECK NO=0000022161612    Payee 119                  Payroll                              147.11
 9/7/2018 CHECK NO=0000022161634    Payee 120                  Payroll                               79.59
 9/7/2018 CHECK NO=0000022161171    Payee 121                  Payroll                                  38
9/10/2018 CHECK NO=0000022161470    Payee 122                  Payroll                              864.78
9/10/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022160364    Doc123
                                   Payee  127 Filed 10/22/18   Entered
                                                                Payroll 10/22/18 20:33:23   Desc     785.6
9/10/2018 CHECK NO=0000022161437      Main
                                   Payee 124 Document   Page   7Payroll
                                                                 of 85                              485.57
9/10/2018 CHECK NO=0000022161662   Payee 125                   Payroll                              442.58
9/10/2018 CHECK NO=0000022161707   Payee 126                   Payroll                              423.62
9/10/2018 CHECK NO=0000022161648   Payee 127                   Payroll                              384.56
9/10/2018 CHECK NO=0000022160992   Payee 128                   Payroll                              378.88
9/10/2018 CHECK NO=0000022160508   Payee 129                   Payroll                              364.57
9/10/2018 CHECK NO=0000022161463   Payee 130                   Payroll                                 348
9/10/2018 CHECK NO=0000022161473   Payee 131                   Payroll                              343.67
9/10/2018 CHECK NO=0000022161184   Payee 132                   Payroll                               324.3
9/10/2018 CHECK NO=0000022160092   Payee 133                   Payroll                              249.73
9/10/2018 CHECK NO=0000022161523   Payee 134                   Payroll                              208.92
9/10/2018 CHECK NO=0000022161767   Payee 135                   Payroll                              206.86
9/10/2018 CHECK NO=0000022161583   Payee 136                   Payroll                              206.54
9/10/2018 CHECK NO=0000022161733   Payee 137                   Payroll                              204.89
9/10/2018 CHECK NO=0000022161533   Payee 138                   Payroll                              190.69
9/10/2018 CHECK NO=0000022161373   Payee 139                   Payroll                              185.26
9/10/2018 CHECK NO=0000022161625   Payee 140                   Payroll                              179.08
9/10/2018 CHECK NO=0000022161064   Payee 141                   Payroll                              178.44
9/10/2018 CHECK NO=0000022159667   Payee 142                   Payroll                              144.41
9/10/2018 CHECK NO=0000022160159   Payee 143                   Payroll                              142.94
9/10/2018 CHECK NO=0000022161556   Payee 144                   Payroll                              133.34
9/10/2018 CHECK NO=0000022161600   Payee 145                   Payroll                              130.25
9/10/2018 CHECK NO=0000022161126   Payee 146                   Payroll                              129.39
9/10/2018 CHECK NO=0000022161355   Payee 147                   Payroll                              126.98
9/10/2018 CHECK NO=0000022161453   Payee 148                   Payroll                              118.08
9/10/2018 CHECK NO=0000022161591   Payee 149                   Payroll                               91.04
9/10/2018 CHECK NO=0000022161558   Payee 150                   Payroll                               74.05
9/10/2018 CHECK NO=0000022161590   Payee 151                   Payroll                               46.71
9/10/2018 CHECK NO=0000022161486   Payee 152                   Payroll                               40.68
9/11/2018 CHECK NO=0000022161567   Payee 153                   Payroll                              451.63
9/11/2018 CHECK NO=0000022161752   Payee 154                   Payroll                              361.98
9/11/2018 CHECK NO=0000022161350   Payee 155                   Payroll                               339.5
9/11/2018 CHECK NO=0000022161342   Payee 156                   Payroll                              305.47
9/11/2018 CHECK NO=0000022161510   Payee 157                   Payroll                              284.38
9/11/2018 CHECK NO=0000022161708   Payee 158                   Payroll                              265.45
9/11/2018 CHECK NO=0000022160871   Payee 159                   Payroll                              252.97
9/11/2018 CHECK NO=0000022161313   Payee 160                   Payroll                               139.7
9/11/2018 CHECK NO=0000022161495   Payee 161                   Payroll                               95.49
9/11/2018 CHECK NO=0000022161443   Payee 162                   Payroll                                76.4
9/11/2018 CHECK NO=0000022161404   Payee 163                   Payroll                               64.61
9/12/2018 CHECK NO=0000022160856   Payee 164                   Payroll                              833.24
9/12/2018 CHECK NO=0000022161328   Payee 165                   Payroll                              593.79
9/12/2018 CHECK NO=0000022161636   Payee 166                   Payroll                              408.86
9/12/2018 CHECK NO=0000022159772   Payee 167                   Payroll                              348.04
9/12/2018 CHECK NO=0000022161602   Payee 168                   Payroll                              293.54
9/12/2018 CHECK NO=0000022161310   Payee 169                   Payroll                                 100
9/12/2018 CHECK NO=0000022161637   Payee 170                   Payroll                               73.08
9/12/2018 CHECK NO=0000022161578   Payee 171                   Payroll                               64.74
9/13/2018 CHECK NO=0000022162495   Payee 172                   Payroll                             1684.78
9/13/2018 CHECK NO=0000022161506   Payee 173                   Payroll                              965.04
9/13/2018 CHECK NO=0000022160896   Payee 174                   Payroll                              711.03
9/13/2018 CHECK NO=0000022161367   Payee 175                   Payroll                              644.51
9/13/2018 CHECK NO=0000022162501   Payee 176                   Payroll                              481.09
9/13/2018 CHECK NO=0000022161574   Payee 177                   Payroll                              421.97
9/13/2018 CHECK NO=0000022161525   Payee 178                   Payroll                              295.84
9/13/2018 CHECK NO=0000022161675   Payee 179                   Payroll                              275.93
9/13/2018 CHECK NO=0000022161381   Payee 180                   Payroll                              244.48
9/13/2018 CHECK NO=0000022161669   Payee 181                   Payroll                              235.66
9/14/2018 CHECK NO=0000022162565   Payee 182                   Payroll                             2027.25
9/14/2018 CHECK NO=0000022162450   Payee 183                   Payroll                             1634.26
9/14/2018 CHECK NO=0000022162239   Payee 184                   Payroll                             1417.44
9/14/2018 CHECK NO=0000022162656   Payee 185                   Payroll                             1377.04
9/14/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022162386    Doc186
                                   Payee  127 Filed 10/22/18   Entered
                                                                Payroll 10/22/18 20:33:23   Desc   1281.67
9/14/2018 CHECK NO=0000022162356      Main
                                   Payee 187 Document   Page   8Payroll
                                                                 of 85                              1116.3
9/14/2018 CHECK NO=0000022162254   Payee 188                   Payroll                             1088.39
9/14/2018 CHECK NO=0000022162274   Payee 189                   Payroll                              1081.3
9/14/2018 CHECK NO=0000022162539   Payee 190                   Payroll                              998.78
9/14/2018 CHECK NO=0000022162324   Payee 191                   Payroll                              987.74
9/14/2018 CHECK NO=0000022162602   Payee 192                   Payroll                              954.37
9/14/2018 CHECK NO=0000022162646   Payee 193                   Payroll                              919.33
9/14/2018 CHECK NO=0000022162484   Payee 194                   Payroll                              871.37
9/14/2018 CHECK NO=0000022162221   Payee 195                   Payroll                              859.91
9/14/2018 CHECK NO=0000022162232   Payee 196                   Payroll                              824.67
9/14/2018 CHECK NO=0000022162271   Payee 197                   Payroll                              813.29
9/14/2018 CHECK NO=0000022162331   Payee 198                   Payroll                              811.08
9/14/2018 CHECK NO=0000022162268   Payee 199                   Payroll                              806.05
9/14/2018 CHECK NO=0000022162549   Payee 200                   Payroll                              793.65
9/14/2018 CHECK NO=0000022162582   Payee 201                   Payroll                              787.26
9/14/2018 CHECK NO=0000022162402   Payee 202                   Payroll                              774.26
9/14/2018 CHECK NO=0000022162635   Payee 203                   Payroll                              762.23
9/14/2018 CHECK NO=0000022162464   Payee 204                   Payroll                              751.19
9/14/2018 CHECK NO=0000022162613   Payee 205                   Payroll                               678.8
9/14/2018 CHECK NO=0000022162350   Payee 206                   Payroll                              677.53
9/14/2018 CHECK NO=0000022162237   Payee 207                   Payroll                              676.25
9/14/2018 CHECK NO=0000022162349   Payee 208                   Payroll                              669.52
9/14/2018 CHECK NO=0000022162273   Payee 209                   Payroll                              668.19
9/14/2018 CHECK NO=0000022162550   Payee 210                   Payroll                              645.26
9/14/2018 CHECK NO=0000022162616   Payee 211                   Payroll                              600.73
9/14/2018 CHECK NO=0000022162597   Payee 212                   Payroll                              582.52
9/14/2018 CHECK NO=0000022162236   Payee 213                   Payroll                              573.77
9/14/2018 CHECK NO=0000022162304   Payee 214                   Payroll                              555.04
9/14/2018 CHECK NO=0000022162632   Payee 215                   Payroll                              532.95
9/14/2018 CHECK NO=0000022162618   Payee 216                   Payroll                              524.67
9/14/2018 CHECK NO=0000022162300   Payee 217                   Payroll                              485.89
9/14/2018 CHECK NO=0000022162538   Payee 218                   Payroll                              472.48
9/14/2018 CHECK NO=0000022162571   Payee 219                   Payroll                              471.54
9/14/2018 CHECK NO=0000022162524   Payee 220                   Payroll                              454.77
9/14/2018 CHECK NO=0000022161395   Payee 221                   Payroll                              450.17
9/14/2018 CHECK NO=0000022162568   Payee 222                   Payroll                              445.06
9/14/2018 CHECK NO=0000022162220   Payee 223                   Payroll                              427.72
9/14/2018 CHECK NO=0000022162401   Payee 224                   Payroll                              426.25
9/14/2018 CHECK NO=0000022162225   Payee 225                   Payroll                              415.35
9/14/2018 CHECK NO=0000022162430   Payee 226                   Payroll                              410.36
9/14/2018 CHECK NO=0000022162644   Payee 227                   Payroll                              405.98
9/14/2018 CHECK NO=0000022162650   Payee 228                   Payroll                              405.77
9/14/2018 CHECK NO=0000022162486   Payee 229                   Payroll                              402.13
9/14/2018 CHECK NO=0000022162257   Payee 230                   Payroll                              394.58
9/14/2018 CHECK NO=0000022162520   Payee 231                   Payroll                              390.41
9/14/2018 CHECK NO=0000022162388   Payee 232                   Payroll                               380.4
9/14/2018 CHECK NO=0000022162535   Payee 233                   Payroll                              362.91
9/14/2018 CHECK NO=0000022162262   Payee 234                   Payroll                               351.2
9/14/2018 CHECK NO=0000022162407   Payee 235                   Payroll                              334.72
9/14/2018 CHECK NO=0000022161570   Payee 236                   Payroll                               324.1
9/14/2018 CHECK NO=0000022162559   Payee 237                   Payroll                              317.74
9/14/2018 CHECK NO=0000022162247   Payee 238                   Payroll                               317.3
9/14/2018 CHECK NO=0000022162375   Payee 239                   Payroll                              310.62
9/14/2018 CHECK NO=0000022162393   Payee 240                   Payroll                              307.37
9/14/2018 CHECK NO=0000022162586   Payee 241                   Payroll                              294.32
9/14/2018 CHECK NO=0000022162428   Payee 242                   Payroll                              278.14
9/14/2018 CHECK NO=0000022162551   Payee 243                   Payroll                               277.9
9/14/2018 CHECK NO=0000022162246   Payee 244                   Payroll                              275.56
9/14/2018 CHECK NO=0000022161565   Payee 245                   Payroll                              270.58
9/14/2018 CHECK NO=0000022161097   Payee 246                   Payroll                              270.15
9/14/2018 CHECK NO=0000022162623   Payee 247                   Payroll                              249.58
9/14/2018 CHECK NO=0000022162302   Payee 248                   Payroll                              245.04
9/14/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022162645    Doc249
                                   Payee  127 Filed 10/22/18   Entered
                                                                Payroll 10/22/18 20:33:23   Desc    234.37
9/14/2018 CHECK NO=0000022162405      Main
                                   Payee 250 Document   Page   9Payroll
                                                                 of 85                              228.25
9/14/2018 CHECK NO=0000022162514   Payee 251                   Payroll                              221.97
9/14/2018 CHECK NO=0000022161642   Payee 252                   Payroll                              221.73
9/14/2018 CHECK NO=0000022162255   Payee 253                   Payroll                              220.47
9/14/2018 CHECK NO=0000022162504   Payee 254                   Payroll                              210.12
9/14/2018 CHECK NO=0000022162542   Payee 255                   Payroll                              202.44
9/14/2018 CHECK NO=0000022162569   Payee 256                   Payroll                              194.36
9/14/2018 CHECK NO=0000022162577   Payee 257                   Payroll                              188.74
9/14/2018 CHECK NO=0000022162326   Payee 258                   Payroll                              170.24
9/14/2018 CHECK NO=0000022161422   Payee 259                   Payroll                              165.67
9/14/2018 CHECK NO=0000022162456   Payee 260                   Payroll                              160.12
9/14/2018 CHECK NO=0000022160954   Payee 261                   Payroll                              157.87
9/14/2018 CHECK NO=0000022162505   Payee 262                   Payroll                              135.33
9/14/2018 CHECK NO=0000022162289   Payee 263                   Payroll                              133.24
9/14/2018 CHECK NO=0000022162285   Payee 264                   Payroll                              114.05
9/14/2018 CHECK NO=0000022162286   Payee 265                   Payroll                              113.66
9/14/2018 CHECK NO=0000022162252   Payee 266                   Payroll                              110.94
9/14/2018 CHECK NO=0000022162561   Payee 267                   Payroll                                  92
9/17/2018 CHECK NO=0000022162468   Payee 268                   Payroll                             1154.77
9/17/2018 CHECK NO=0000022162336   Payee 269                   Payroll                             1098.74
9/17/2018 CHECK NO=0000022162282   Payee 270                   Payroll                             1069.29
9/17/2018 CHECK NO=0000022162378   Payee 271                   Payroll                             1009.81
9/17/2018 CHECK NO=0000022162639   Payee 272                   Payroll                             1000.47
9/17/2018 CHECK NO=0000022162249   Payee 273                   Payroll                               930.5
9/17/2018 CHECK NO=0000022162457   Payee 274                   Payroll                              899.02
9/17/2018 CHECK NO=0000022162465   Payee 275                   Payroll                              893.98
9/17/2018 CHECK NO=0000022162343   Payee 276                   Payroll                              865.86
9/17/2018 CHECK NO=0000022162654   Payee 277                   Payroll                              864.27
9/17/2018 CHECK NO=0000022162525   Payee 278                   Payroll                              850.95
9/17/2018 CHECK NO=0000022162374   Payee 279                   Payroll                              845.55
9/17/2018 CHECK NO=0000022162320   Payee 280                   Payroll                               841.2
9/17/2018 CHECK NO=0000022162440   Payee 281                   Payroll                              827.48
9/17/2018 CHECK NO=0000022162231   Payee 282                   Payroll                              813.25
9/17/2018 CHECK NO=0000022162497   Payee 283                   Payroll                              791.19
9/17/2018 CHECK NO=0000022162267   Payee 284                   Payroll                              787.39
9/17/2018 CHECK NO=0000022162483   Payee 285                   Payroll                              779.39
9/17/2018 CHECK NO=0000022162546   Payee 286                   Payroll                              762.76
9/17/2018 CHECK NO=0000022162521   Payee 287                   Payroll                              741.77
9/17/2018 CHECK NO=0000022162452   Payee 288                   Payroll                              734.91
9/17/2018 CHECK NO=0000022162443   Payee 289                   Payroll                              726.94
9/17/2018 CHECK NO=0000022162578   Payee 290                   Payroll                              716.08
9/17/2018 CHECK NO=0000022162480   Payee 291                   Payroll                              714.45
9/17/2018 CHECK NO=0000022162313   Payee 292                   Payroll                               672.2
9/17/2018 CHECK NO=0000022162527   Payee 293                   Payroll                              657.13
9/17/2018 CHECK NO=0000022162398   Payee 294                   Payroll                              622.71
9/17/2018 CHECK NO=0000022162515   Payee 295                   Payroll                              620.41
9/17/2018 CHECK NO=0000022162222   Payee 296                   Payroll                              620.18
9/17/2018 CHECK NO=0000022162587   Payee 297                   Payroll                              617.86
9/17/2018 CHECK NO=0000022161586   Payee 298                   Payroll                              614.15
9/17/2018 CHECK NO=0000022162229   Payee 299                   Payroll                              613.36
9/17/2018 CHECK NO=0000022162630   Payee 300                   Payroll                              607.42
9/17/2018 CHECK NO=0000022162563   Payee 301                   Payroll                                 599
9/17/2018 CHECK NO=0000022162266   Payee 302                   Payroll                              589.31
9/17/2018 CHECK NO=0000022162570   Payee 303                   Payroll                              585.84
9/17/2018 CHECK NO=0000022162537   Payee 304                   Payroll                              581.56
9/17/2018 CHECK NO=0000022162389   Payee 305                   Payroll                              581.31
9/17/2018 CHECK NO=0000022162458   Payee 306                   Payroll                              580.64
9/17/2018 CHECK NO=0000022162451   Payee 307                   Payroll                              576.08
9/17/2018 CHECK NO=0000022162581   Payee 308                   Payroll                              574.21
9/17/2018 CHECK NO=0000022162508   Payee 309                   Payroll                              573.63
9/17/2018 CHECK NO=0000022162384   Payee 310                   Payroll                               573.4
9/17/2018 CHECK NO=0000022162657   Payee 311                   Payroll                              515.02
9/17/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022161618    Doc312
                                   Payee  127 Filed 10/22/18    Entered
                                                                 Payroll 10/22/18 20:33:23   Desc   511.57
9/17/2018 CHECK NO=0000022162258     Main
                                   Payee 313 Document   Page   10Payroll
                                                                   of 85                            508.96
9/17/2018 CHECK NO=0000022162330   Payee 314                    Payroll                             487.26
9/17/2018 CHECK NO=0000022162301   Payee 315                    Payroll                             482.11
9/17/2018 CHECK NO=0000022162647   Payee 316                    Payroll                             475.47
9/17/2018 CHECK NO=0000022162345   Payee 317                    Payroll                             475.06
9/17/2018 CHECK NO=0000022162376   Payee 318                    Payroll                             469.84
9/17/2018 CHECK NO=0000022162575   Payee 319                    Payroll                             449.26
9/17/2018 CHECK NO=0000022162536   Payee 320                    Payroll                             444.31
9/17/2018 CHECK NO=0000022162622   Payee 321                    Payroll                             429.47
9/17/2018 CHECK NO=0000022162244   Payee 322                    Payroll                             420.31
9/17/2018 CHECK NO=0000022162499   Payee 323                    Payroll                             415.25
9/17/2018 CHECK NO=0000022162598   Payee 324                    Payroll                             414.34
9/17/2018 CHECK NO=0000022162409   Payee 325                    Payroll                             411.38
9/17/2018 CHECK NO=0000022162340   Payee 326                    Payroll                             408.56
9/17/2018 CHECK NO=0000022162334   Payee 327                    Payroll                             408.08
9/17/2018 CHECK NO=0000022162555   Payee 328                    Payroll                              403.7
9/17/2018 CHECK NO=0000022162572   Payee 329                    Payroll                             401.19
9/17/2018 CHECK NO=0000022162420   Payee 330                    Payroll                              401.1
9/17/2018 CHECK NO=0000022161576   Payee 331                    Payroll                             400.98
9/17/2018 CHECK NO=0000022162541   Payee 332                    Payroll                             400.39
9/17/2018 CHECK NO=0000022162493   Payee 333                    Payroll                             395.03
9/17/2018 CHECK NO=0000022162589   Payee 334                    Payroll                             392.74
9/17/2018 CHECK NO=0000022162502   Payee 335                    Payroll                             391.21
9/17/2018 CHECK NO=0000022162453   Payee 336                    Payroll                             380.17
9/17/2018 CHECK NO=0000022161697   Payee 337                    Payroll                             377.83
9/17/2018 CHECK NO=0000022162351   Payee 338                    Payroll                             376.09
9/17/2018 CHECK NO=0000022162217   Payee 339                    Payroll                             374.91
9/17/2018 CHECK NO=0000022162260   Payee 340                    Payroll                             374.61
9/17/2018 CHECK NO=0000022162323   Payee 341                    Payroll                             366.25
9/17/2018 CHECK NO=0000022162369   Payee 342                    Payroll                             363.79
9/17/2018 CHECK NO=0000022162294   Payee 343                    Payroll                             362.21
9/17/2018 CHECK NO=0000022162526   Payee 344                    Payroll                             347.47
9/17/2018 CHECK NO=0000022161524   Payee 345                    Payroll                             339.52
9/17/2018 CHECK NO=0000022162348   Payee 346                    Payroll                             337.92
9/17/2018 CHECK NO=0000022162619   Payee 347                    Payroll                             337.03
9/17/2018 CHECK NO=0000022162317   Payee 348                    Payroll                             336.22
9/17/2018 CHECK NO=0000022162333   Payee 349                    Payroll                             334.32
9/17/2018 CHECK NO=0000022162605   Payee 350                    Payroll                             334.01
9/17/2018 CHECK NO=0000022162358   Payee 351                    Payroll                             332.37
9/17/2018 CHECK NO=0000022162403   Payee 352                    Payroll                             331.39
9/17/2018 CHECK NO=0000022162617   Payee 353                    Payroll                             324.64
9/17/2018 CHECK NO=0000022162279   Payee 354                    Payroll                              323.8
9/17/2018 CHECK NO=0000022162648   Payee 355                    Payroll                              323.6
9/17/2018 CHECK NO=0000022162425   Payee 356                    Payroll                             323.43
9/17/2018 CHECK NO=0000022162576   Payee 357                    Payroll                             319.28
9/17/2018 CHECK NO=0000022162596   Payee 358                    Payroll                             316.48
9/17/2018 CHECK NO=0000022162455   Payee 359                    Payroll                             313.91
9/17/2018 CHECK NO=0000022162523   Payee 360                    Payroll                             313.71
9/17/2018 CHECK NO=0000022162435   Payee 361                    Payroll                             310.67
9/17/2018 CHECK NO=0000022162235   Payee 362                    Payroll                             309.96
9/17/2018 CHECK NO=0000022162426   Payee 363                    Payroll                             309.15
9/17/2018 CHECK NO=0000022162353   Payee 364                    Payroll                             308.69
9/17/2018 CHECK NO=0000022162436   Payee 365                    Payroll                             304.61
9/17/2018 CHECK NO=0000022162431   Payee 366                    Payroll                             302.48
9/17/2018 CHECK NO=0000022162606   Payee 367                    Payroll                             300.15
9/17/2018 CHECK NO=0000022162314   Payee 368                    Payroll                             291.72
9/17/2018 CHECK NO=0000022162361   Payee 369                    Payroll                             285.48
9/17/2018 CHECK NO=0000022162292   Payee 370                    Payroll                             283.58
9/17/2018 CHECK NO=0000022162595   Payee 371                    Payroll                             281.14
9/17/2018 CHECK NO=0000022161234   Payee 372                    Payroll                             278.38
9/17/2018 CHECK NO=0000022162316   Payee 373                    Payroll                              277.6
9/17/2018 CHECK NO=0000022162296   Payee 374                    Payroll                             274.23
9/17/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022162248    Doc375
                                   Payee  127 Filed 10/22/18    Entered
                                                                 Payroll 10/22/18 20:33:23   Desc    270.74
9/17/2018 CHECK NO=0000022162496     Main
                                   Payee 376 Document   Page   11Payroll
                                                                   of 85                             268.18
9/17/2018 CHECK NO=0000022162444   Payee 377                    Payroll                              260.15
9/17/2018 CHECK NO=0000022162446   Payee 378                    Payroll                              257.24
9/17/2018 CHECK NO=0000022162416   Payee 379                    Payroll                              256.93
9/17/2018 CHECK NO=0000022162488   Payee 380                    Payroll                              255.87
9/17/2018 CHECK NO=0000022162259   Payee 381                    Payroll                              253.66
9/17/2018 CHECK NO=0000022162283   Payee 382                    Payroll                              243.68
9/17/2018 CHECK NO=0000022162460   Payee 383                    Payroll                               243.4
9/17/2018 CHECK NO=0000022160429   Payee 384                    Payroll                              243.24
9/17/2018 CHECK NO=0000002162562   Payee 385                    Payroll                              232.15
9/17/2018 CHECK NO=0000022162363   Payee 386                    Payroll                              230.96
9/17/2018 CHECK NO=0000022162264   Payee 387                    Payroll                               228.6
9/17/2018 CHECK NO=0000022162344   Payee 388                    Payroll                              228.37
9/17/2018 CHECK NO=0000022162585   Payee 389                    Payroll                              226.96
9/17/2018 CHECK NO=0000022162583   Payee 390                    Payroll                              223.92
9/17/2018 CHECK NO=0000022162287   Payee 391                    Payroll                              222.91
9/17/2018 CHECK NO=0000022162545   Payee 392                    Payroll                              222.76
9/17/2018 CHECK NO=0000022162608   Payee 393                    Payroll                              218.73
9/17/2018 CHECK NO=0000022162310   Payee 394                    Payroll                              215.97
9/17/2018 CHECK NO=0000022162288   Payee 395                    Payroll                              214.93
9/17/2018 CHECK NO=0000022162652   Payee 396                    Payroll                              213.81
9/17/2018 CHECK NO=0000022162256   Payee 397                    Payroll                              212.46
9/17/2018 CHECK NO=0000022162241   Payee 398                    Payroll                              207.51
9/17/2018 CHECK NO=0000022162594   Payee 399                    Payroll                              202.52
9/17/2018 CHECK NO=0000022159392   Payee 400                    Payroll                              202.41
9/17/2018 CHECK NO=0000022162243   Payee 401                    Payroll                              188.03
9/17/2018 CHECK NO=0000022162322   Payee 402                    Payroll                              187.72
9/17/2018 CHECK NO=0000022162427   Payee 403                    Payroll                              186.53
9/17/2018 CHECK NO=0000022161386   Payee 404                    Payroll                              178.12
9/17/2018 CHECK NO=0000022162626   Payee 405                    Payroll                              176.66
9/17/2018 CHECK NO=0000022162392   Payee 406                    Payroll                              172.92
9/17/2018 CHECK NO=0000022162621   Payee 407                    Payroll                              167.48
9/17/2018 CHECK NO=0000022162429   Payee 408                    Payroll                              165.21
9/17/2018 CHECK NO=0000022162437   Payee 409                    Payroll                              161.22
9/17/2018 CHECK NO=0000022162433   Payee 410                    Payroll                              160.53
9/17/2018 CHECK NO=0000022162227   Payee 411                    Payroll                              159.86
9/17/2018 CHECK NO=0000022162558   Payee 412                    Payroll                              158.77
9/17/2018 CHECK NO=0000022162412   Payee 413                    Payroll                              158.57
9/17/2018 CHECK NO=0000022162281   Payee 414                    Payroll                              149.23
9/17/2018 CHECK NO=0000022162522   Payee 415                    Payroll                              148.22
9/17/2018 CHECK NO=0000022162642   Payee 416                    Payroll                              140.44
9/17/2018 CHECK NO=0000022162400   Payee 417                    Payroll                              135.05
9/17/2018 CHECK NO=0000022160916   Payee 418                    Payroll                              134.76
9/17/2018 CHECK NO=0000022162372   Payee 419                    Payroll                              126.81
9/17/2018 CHECK NO=0000022162419   Payee 420                    Payroll                              126.58
9/17/2018 CHECK NO=0000022162470   Payee 421                    Payroll                              111.54
9/17/2018 CHECK NO=0000022162629   Payee 422                    Payroll                              109.73
9/17/2018 CHECK NO=0000022162447   Payee 423                    Payroll                              107.41
9/17/2018 CHECK NO=0000022162479   Payee 424                    Payroll                               97.33
9/17/2018 CHECK NO=0000022162454   Payee 425                    Payroll                               91.34
9/17/2018 CHECK NO=0000022162624   Payee 426                    Payroll                                  62
9/17/2018 CHECK NO=0000022162643   Payee 427                    Payroll                               54.36
9/17/2018 CHECK NO=0000022161755   Payee 428                    Payroll                                20.1
9/18/2018 CHECK NO=0000022162438   Payee 429                    Payroll                             1776.83
9/18/2018 CHECK NO=0000022162653   Payee 430                    Payroll                             1338.36
9/18/2018 CHECK NO=0000022162604   Payee 431                    Payroll                             1298.46
9/18/2018 CHECK NO=0000022161765   Payee 432                    Payroll                             1256.85
9/18/2018 CHECK NO=0000022162406   Payee 433                    Payroll                             1138.37
9/18/2018 CHECK NO=0000022162511   Payee 434                    Payroll                             1059.03
9/18/2018 CHECK NO=0000022162422   Payee 435                    Payroll                             1027.71
9/18/2018 CHECK NO=0000022162371   Payee 436                    Payroll                              934.72
9/18/2018 CHECK NO=0000022162507   Payee 437                    Payroll                              839.97
9/18/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022162478    Doc438
                                   Payee  127 Filed 10/22/18    Entered
                                                                 Payroll 10/22/18 20:33:23   Desc    788.1
9/18/2018 CHECK NO=0000022162404     Main
                                   Payee 439 Document   Page   12Payroll
                                                                   of 85                            780.09
9/18/2018 CHECK NO=0000022162269   Payee 440                    Payroll                             776.32
9/18/2018 CHECK NO=0000022162272   Payee 441                    Payroll                             618.94
9/18/2018 CHECK NO=0000022162270   Payee 442                    Payroll                              498.4
9/18/2018 CHECK NO=0000022162531   Payee 443                    Payroll                             438.15
9/18/2018 CHECK NO=0000022162315   Payee 444                    Payroll                             410.18
9/18/2018 CHECK NO=0000022162390   Payee 445                    Payroll                             407.17
9/18/2018 CHECK NO=0000022162519   Payee 446                    Payroll                              366.3
9/18/2018 CHECK NO=0000022162469   Payee 447                    Payroll                             349.79
9/18/2018 CHECK NO=0000022162223   Payee 448                    Payroll                             343.29
9/18/2018 CHECK NO=0000022162381   Payee 449                    Payroll                              343.1
9/18/2018 CHECK NO=0000022162614   Payee 450                    Payroll                             296.57
9/18/2018 CHECK NO=0000022162552   Payee 451                    Payroll                             294.01
9/18/2018 CHECK NO=0000022161469   Payee 452                    Payroll                             285.89
9/18/2018 CHECK NO=0000022161724   Payee 453                    Payroll                             284.06
9/18/2018 CHECK NO=0000022162631   Payee 454                    Payroll                              273.6
9/18/2018 CHECK NO=0000022162439   Payee 455                    Payroll                             264.65
9/18/2018 CHECK NO=0000022162391   Payee 456                    Payroll                             260.14
9/18/2018 CHECK NO=0000022162560   Payee 457                    Payroll                             253.47
9/18/2018 CHECK NO=0000022162609   Payee 458                    Payroll                                237
9/18/2018 CHECK NO=0000022162615   Payee 459                    Payroll                             236.29
9/18/2018 CHECK NO=0000022162373   Payee 460                    Payroll                             216.98
9/18/2018 CHECK NO=0000022162476   Payee 461                    Payroll                             214.44
9/18/2018 CHECK NO=0000022162357   Payee 462                    Payroll                             214.14
9/18/2018 CHECK NO=0000022162394   Payee 463                    Payroll                             212.73
9/18/2018 CHECK NO=0000022162492   Payee 464                    Payroll                             198.75
9/18/2018 CHECK NO=0000022162245   Payee 465                    Payroll                              190.4
9/18/2018 CHECK NO=0000022162291   Payee 466                    Payroll                             184.47
9/18/2018 CHECK NO=0000022162633   Payee 467                    Payroll                             161.17
9/18/2018 CHECK NO=0000022162432   Payee 468                    Payroll                             159.28
9/18/2018 CHECK NO=0000022162329   Payee 469                    Payroll                             150.74
9/18/2018 CHECK NO=0000022162318   Payee 470                    Payroll                             148.84
9/18/2018 CHECK NO=0000022162278   Payee 471                    Payroll                             140.38
9/18/2018 CHECK NO=0000022162627   Payee 472                    Payroll                             128.46
9/18/2018 CHECK NO=0000022162544   Payee 473                    Payroll                             111.38
9/18/2018 CHECK NO=0000022162573   Payee 474                    Payroll                             105.21
9/18/2018 CHECK NO=0000022162219   Payee 475                    Payroll                               94.1
9/18/2018 CHECK NO=0000022162306   Payee 476                    Payroll                              90.03
9/18/2018 CHECK NO=0000022162475   Payee 477                    Payroll                              87.92
9/18/2018 CHECK NO=0000022161639   Payee 478                    Payroll                              72.96
9/18/2018 CHECK NO=0000022162649   Payee 479                    Payroll                              72.31
9/18/2018 CHECK NO=0000022162218   Payee 480                    Payroll                              69.02
9/18/2018 CHECK NO=0000022161408   Payee 481                    Payroll                               52.1
9/18/2018 CHECK NO=0000022162600   Payee 482                    Payroll                              41.84
9/18/2018 CHECK NO=0000022162533   Payee 483                    Payroll                               38.2
9/19/2018 CHECK NO=0000022162566   Payee 484                    Payroll                             996.82
9/19/2018 CHECK NO=0000022162498   Payee 485                    Payroll                             896.89
9/19/2018 CHECK NO=0000022162534   Payee 486                    Payroll                             878.25
9/19/2018 CHECK NO=0000022162564   Payee 487                    Payroll                             763.48
9/19/2018 CHECK NO=0000022162395   Payee 488                    Payroll                             644.18
9/19/2018 CHECK NO=0000022162462   Payee 489                    Payroll                             602.94
9/19/2018 CHECK NO=0000022162628   Payee 490                    Payroll                             593.89
9/19/2018 CHECK NO=0000022162399   Payee 491                    Payroll                             569.84
9/19/2018 CHECK NO=0000022161357   Payee 492                    Payroll                             452.85
9/19/2018 CHECK NO=0000022162625   Payee 493                    Payroll                             450.04
9/19/2018 CHECK NO=0000022162448   Payee 494                    Payroll                              429.9
9/19/2018 CHECK NO=0000022162346   Payee 495                    Payroll                             420.23
9/19/2018 CHECK NO=0000022162290   Payee 496                    Payroll                              359.4
9/19/2018 CHECK NO=0000022162640   Payee 497                    Payroll                             357.52
9/19/2018 CHECK NO=0000022162233   Payee 498                    Payroll                             348.54
9/19/2018 CHECK NO=0000022162592   Payee 499                    Payroll                             315.34
9/19/2018 CHECK NO=0000022162364   Payee 500                    Payroll                             308.04
9/19/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022162459    Doc501
                                   Payee  127 Filed 10/22/18    Entered
                                                                 Payroll 10/22/18 20:33:23   Desc    306.29
9/19/2018 CHECK NO=0000022160609     Main
                                   Payee 502 Document   Page   13Payroll
                                                                   of 85                             257.73
9/19/2018 CHECK NO=0000022162517   Payee 503                    Payroll                              235.09
9/19/2018 CHECK NO=0000022161620   Payee 504                    Payroll                               215.6
9/19/2018 CHECK NO=0000022161721   Payee 505                    Payroll                              214.93
9/19/2018 CHECK NO=0000022162263   Payee 506                    Payroll                              186.83
9/19/2018 CHECK NO=0000022162607   Payee 507                    Payroll                              162.94
9/19/2018 CHECK NO=0000022162332   Payee 508                    Payroll                              161.51
9/19/2018 CHECK NO=0000022162638   Payee 509                    Payroll                              142.21
9/19/2018 CHECK NO=0000022162612   Payee 510                    Payroll                              137.92
9/19/2018 CHECK NO=0000022162543   Payee 511                    Payroll                              129.55
9/19/2018 CHECK NO=0000022162591   Payee 512                    Payroll                              126.49
9/19/2018 CHECK NO=0000022162362   Payee 513                    Payroll                               125.6
9/19/2018 CHECK NO=0000022162651   Payee 514                    Payroll                               124.8
9/19/2018 CHECK NO=0000022162397   Payee 515                    Payroll                              110.75
9/19/2018 CHECK NO=0000022162441   Payee 516                    Payroll                                97.6
9/19/2018 CHECK NO=0000022160562   Payee 517                    Payroll                               86.93
9/19/2018 CHECK NO=0000022161043   Payee 518                    Payroll                               81.48
9/20/2018 CHECK NO=0000022162347   Payee 519                    Payroll                              821.53
9/20/2018 CHECK NO=0000022162328   Payee 520                    Payroll                              799.13
9/20/2018 CHECK NO=0000022162510   Payee 521                    Payroll                              748.21
9/20/2018 CHECK NO=0000022162556   Payee 522                    Payroll                              716.59
9/20/2018 CHECK NO=0000022162481   Payee 523                    Payroll                              701.66
9/20/2018 CHECK NO=0000022162414   Payee 524                    Payroll                              678.72
9/20/2018 CHECK NO=0000022161393   Payee 525                    Payroll                              635.28
9/20/2018 CHECK NO=0000022162298   Payee 526                    Payroll                              571.63
9/20/2018 CHECK NO=0000022162299   Payee 527                    Payroll                              551.28
9/20/2018 CHECK NO=0000022162466   Payee 528                    Payroll                              420.54
9/20/2018 CHECK NO=0000022162487   Payee 529                    Payroll                              408.64
9/20/2018 CHECK NO=0000022162421   Payee 530                    Payroll                               406.1
9/20/2018 CHECK NO=0000022162396   Payee 531                    Payroll                              366.08
9/20/2018 CHECK NO=0000022162307   Payee 532                    Payroll                              311.72
9/20/2018 CHECK NO=0000022162620   Payee 533                    Payroll                              307.95
9/20/2018 CHECK NO=0000022162366   Payee 534                    Payroll                              289.06
9/20/2018 CHECK NO=0000022162599   Payee 535                    Payroll                              252.92
9/20/2018 CHECK NO=0000022162548   Payee 536                    Payroll                              209.61
9/20/2018 CHECK NO=0000022162293   Payee 537                    Payroll                              200.71
9/20/2018 CHECK NO=0000022162360   Payee 538                    Payroll                              179.34
9/20/2018 CHECK NO=0000022162355   Payee 539                    Payroll                               172.1
9/20/2018 CHECK NO=0000022162610   Payee 540                    Payroll                              155.67
9/21/2018 CHECK NO=0000022162230   Payee 541                    Payroll                              740.51
9/21/2018 CHECK NO=0000022162637   Payee 542                    Payroll                              633.64
9/21/2018 CHECK NO=0000022162359   Payee 543                    Payroll                              425.45
9/21/2018 CHECK NO=0000022162512   Payee 544                    Payroll                              368.49
9/21/2018 CHECK NO=0000022161434   Payee 545                    Payroll                              358.21
9/21/2018 CHECK NO=0000022161635   Payee 546                    Payroll                              303.04
9/21/2018 CHECK NO=0000022162482   Payee 547                    Payroll                              266.78
9/21/2018 CHECK NO=0000022162265   Payee 548                    Payroll                              256.38
9/21/2018 CHECK NO=0000022162284   Payee 549                    Payroll                               215.4
9/21/2018 CHECK NO=0000022162588   Payee 550                    Payroll                              182.24
9/21/2018 CHECK NO=0000022162477   Payee 551                    Payroll                              147.63
9/24/2018 CHECK NO=0000022162417   Payee 552                    Payroll                             1248.01
9/24/2018 CHECK NO=0000022162226   Payee 553                    Payroll                              913.96
9/24/2018 CHECK NO=0000022162518   Payee 554                    Payroll                              702.72
9/24/2018 CHECK NO=0000022162342   Payee 555                    Payroll                               506.5
9/24/2018 CHECK NO=0000022161392   Payee 556                    Payroll                              468.43
9/24/2018 CHECK NO=0000022162224   Payee 557                    Payroll                              467.06
9/24/2018 CHECK NO=0000022162557   Payee 558                    Payroll                              428.37
9/24/2018 CHECK NO=0000022162491   Payee 559                    Payroll                              425.08
9/24/2018 CHECK NO=0000022162308   Payee 560                    Payroll                              302.38
9/24/2018 CHECK NO=0000022161431   Payee 561                    Payroll                              288.72
9/24/2018 CHECK NO=0000022162238   Payee 562                    Payroll                              287.22
9/24/2018 CHECK NO=0000022162603   Payee 563                    Payroll                              234.42
9/24/2018 Case
          CHECK8:18-bk-13311-CB
                NO=0000022162554    Doc564
                                   Payee  127 Filed 10/22/18    Entered
                                                                 Payroll 10/22/18 20:33:23   Desc    222.25
9/24/2018 CHECK NO=0000022162250     Main
                                   Payee 565 Document   Page   14Payroll
                                                                   of 85                             206.89
9/24/2018 CHECK NO=0000022162280   Payee 566                    Payroll                              189.45
9/24/2018 CHECK NO=0000022162634   Payee 567                    Payroll                              186.26
9/24/2018 CHECK NO=0000022161575   Payee 568                    Payroll                              177.99
9/24/2018 CHECK NO=0000022162590   Payee 569                    Payroll                              174.34
9/24/2018 CHECK NO=0000022162303   Payee 570                    Payroll                              160.62
9/24/2018 CHECK NO=0000022162309   Payee 571                    Payroll                              157.86
9/24/2018 CHECK NO=0000022162500   Payee 572                    Payroll                              154.83
9/24/2018 CHECK NO=0000022162385   Payee 573                    Payroll                              146.22
9/24/2018 CHECK NO=0000022161082   Payee 574                    Payroll                              141.75
9/24/2018 CHECK NO=0000022162297   Payee 575                    Payroll                               120.2
9/24/2018 CHECK NO=0000022162295   Payee 576                    Payroll                              117.37
9/24/2018 CHECK NO=0000022161681   Payee 577                    Payroll                              104.51
9/24/2018 CHECK NO=0000022162216   Payee 578                    Payroll                                 100
9/24/2018 CHECK NO=0000022162593   Payee 579                    Payroll                               97.83
9/24/2018 CHECK NO=0000022162574   Payee 580                    Payroll                               93.75
9/24/2018 CHECK NO=0000022162415   Payee 581                    Payroll                               90.71
9/24/2018 CHECK NO=0000022162655   Payee 582                    Payroll                               80.89
9/24/2018 CHECK NO=0000022161400   Payee 583                    Payroll                               70.34
9/24/2018 CHECK NO=0000022162636   Payee 584                    Payroll                               53.45
9/24/2018 CHECK NO=0000022162321   Payee 585                    Payroll                               47.73
9/24/2018 CHECK NO=0000022162411   Payee 586                    Payroll                               40.59
9/24/2018 CHECK NO=0000022161551   Payee 587                    Payroll                               34.46
9/25/2018 CHECK NO=0000022161770   Payee 588                    Payroll                             1086.75
9/25/2018 CHECK NO=0000022162513   Payee 589                    Payroll                               745.9
9/25/2018 CHECK NO=0000002262341   Payee 590                    Payroll                              545.18
9/25/2018 CHECK NO=0000022162354   Payee 591                    Payroll                              316.35
9/25/2018 CHECK NO=0000022162337   Payee 592                    Payroll                              306.84
9/25/2018 CHECK NO=0000022161643   Payee 593                    Payroll                              175.03
9/25/2018 CHECK NO=0000022160634   Payee 594                    Payroll                               45.43
9/26/2018 CHECK NO=0000022162413   Payee 595                    Payroll                             1083.72
9/26/2018 CHECK NO=0000022160541   Payee 596                    Payroll                              398.78
9/26/2018 CHECK NO=0000022162601   Payee 597                    Payroll                               79.07
9/27/2018 CHECK NO=0000022162485   Payee 598                    Payroll                              672.28
9/27/2018 CHECK NO=0000022162325   Payee 599                    Payroll                              292.28
9/27/2018 CHECK NO=0000022162410   Payee 600                    Payroll                              260.52
9/27/2018 CHECK NO=0000022162383   Payee 601                    Payroll                              240.16
9/27/2018 CHECK NO=0000022162312   Payee 602                    Payroll                                 214
9/27/2018 CHECK NO=0000022156843   Payee 603                    Payroll                              128.69
9/27/2018 CHECK NO=0000022162339   Payee 604                    Payroll                              113.08
9/27/2018 CHECK NO=0000022162382   Payee 605                    Payroll                                61.8
9/27/2018 CHECK NO=0000022157349   Payee 606                    Payroll                               40.05
9/28/2018 CHECK NO=0000022161049   Payee 607                    Payroll                              436.53
9/28/2018 CHECK NO=0000022161607   Payee 608                    Payroll                              377.42
9/28/2018 CHECK NO=0000022162532   Payee 609                    Payroll                              346.35
9/28/2018 CHECK NO=0000022162418   Payee 610                    Payroll                              299.98
9/28/2018 CHECK NO=0000022162506   Payee 611                    Payroll                              252.13
9/28/2018 CHECK NO=0000022162338   Payee 612                    Payroll                               225.3
10/1/2018 CHECK NO=0000022161686   Payee 613                    Payroll                             1686.16
10/1/2018 CHECK NO=0000022162579   Payee 614                    Payroll                              1375.6
10/1/2018 CHECK NO=0000022162234   Payee 615                    Payroll                              737.11
10/1/2018 CHECK NO=0000022162275   Payee 616                    Payroll                              726.61
10/1/2018 CHECK NO=0000022161370   Payee 617                    Payroll                              715.06
10/1/2018 CHECK NO=0000022162509   Payee 618                    Payroll                              589.55
10/1/2018 CHECK NO=0000022162584   Payee 619                    Payroll                              546.22
10/1/2018 CHECK NO=0000022162377   Payee 620                    Payroll                              332.92
10/1/2018 CHECK NO=0000022160900   Payee 621                    Payroll                              267.95
10/1/2018 CHECK NO=0000022162461   Payee 622                    Payroll                              205.74
10/1/2018 CHECK NO=0000022162580   Payee 623                    Payroll                              107.25
10/1/2018 CHECK NO=0000022160843   Payee 624                    Payroll                               54.33
10/1/2018 CHECK NO=0000022162251   Payee 625                    Payroll                               38.98
10/2/2018 CHECK NO=0000022162408   Payee 626                    Payroll                              639.69
    10/2/2018 Case
              CHECK8:18-bk-13311-CB
                    NO=0000022162471                       Doc627
                                                          Payee  127 Filed 10/22/18 Entered
                                                                                      Payroll 10/22/18 20:33:23 Desc 441.29
    10/2/2018 CHECK NO=0000022161619                        Main
                                                          Payee 628 Document   Page 15Payroll
                                                                                        of 85                            434.38
    10/2/2018 CHECK NO=0000022162641                      Payee 629                   Payroll                            337.87
    10/2/2018 CHECK NO=0000022162553                      Payee 630                   Payroll                            315.17
    10/2/2018 CHECK NO=0000022161336                      Payee 631                   Payroll                            259.42
    10/2/2018 CHECK NO=0000022162327                      Payee 632                   Payroll                            224.54
    10/2/2018 CHECK NO=0000022162319                      Payee 633                   Payroll                             205.6
    10/2/2018 CHECK NO=0000022162528                      Payee 634                   Payroll                            201.39
    10/2/2018 CHECK NO=0000022162276                      Payee 635                   Payroll                            191.36
    10/2/2018 CHECK NO=0000022162611                      Payee 636                   Payroll                            176.62
    10/2/2018 CHECK NO=0000022162240                      Payee 637                   Payroll                            137.72
    10/2/2018 CHECK NO=0000022162242                      Payee 638                   Payroll                            120.48
    10/2/2018 CHECK NO=0000022162261                      Payee 639                   Payroll                             73.27
    10/3/2018 CHECK NO=0000022162567                      Payee 640                   Payroll                            240.75
    10/3/2018 CHECK NO=0000022162423                      Payee 641                   Payroll                            216.91
    10/3/2018 CHECK NO=0000022162277                      Payee 642                   Payroll                            126.59
    10/3/2018 CHECK NO=0000022162467                      Payee 643                   Payroll                             58.58
    10/4/2018 CHECK NO=0000022162365                      Payee 644                   Payroll                            338.89
    10/4/2018 CHECK NO=0000022162442                      Payee 645                   Payroll                            280.94
    10/4/2018 CHECK NO=0000022162547                      Payee 646                   Payroll                            174.79
    10/5/2018 CHECK NO=0000022162368                      Payee 647                   Payroll                            250.34
                                                                                   TOTAL DISBURSEMENTS THIS PERIOD: 265,482.93
[1] Employee's names will be given to UST upon request.
                Case 8:18-bk-13311-CB                         Doc 127 Filed
                                                                PAYROLL     10/22/18 Entered 10/22/18 20:33:23
                                                                         ACCOUNT                                      Desc
                                                               Main Document    Page 16 of 85
                                                                BANK RECONCILIATION

                            Bank statement Date:                                10/7/2018 Balance on Statement:   $7,938.44

Plus deposits in transit (a):
                                                                       Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                              0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date          Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                              0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                            $7,938.44

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
            Case 8:18-bk-13311-CB
                            I. CASHDoc 127 Filed
                                   RECEIPTS   AND10/22/18    Entered 10/22/18 20:33:23
                                                   DISBURSEMENTS                                               Desc
                                    Main Document      Page 17 of 85
                                     C. (AP ACCOUNT) [1]
              Date Range:             9/5/2018 to 10/7/2018

1. TOTAL RECEIPTS PER ALL PRIOR AP ACCOUNT REPORTS                                                               0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                                                   0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                               0

4. RECEIPTS DURING CURRENT PERIOD:                                                                          11,020.64
   (Transferred from General Account)

5. BALANCE:                                                                                                 11,020.64

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                                      11,020.64

7. ENDING BALANCE:                                                                                               0.00

8. AP Account Number(s):                                             xxxxxx2111
                                                                     JPMorgan Chase Bank
   Depository Name & Location:                                       Southwest Market, Columbus, OH 43218
[1] This account is not the DIP account but is being held open untill the migration is complete.
              Case 8:18-bk-13311-CB     Doc 127
                            TOTAL DISBURSEMENTS FROMFiled 10/22/18
                                                     AP ACCOUNT        Entered
                                                                FOR CURRENT     10/22/18 20:33:23
                                                                            PERIOD                              Desc
                                          Main Document       Page 18 of 85
  Date
mm/dd/yyyy           Check Number                     Payee                                 Purpose          Amount
  9/5/2018   CHECK NO=0000000127834   ROBERT E HARRIS INS. AGENCY, INC.     General Insurance Liability         9616.64
  9/6/2018   CHECK NO=0000000127832   VERIZON WIRELESS LA                   Telephone Bill                        714.53
  9/6/2018   CHECK NO=0000000127765   MARGARET M YAGO MD INC                Founder Medical                          110
  9/6/2018   CHECK NO=0000000127745   Payee 1                               Payroll                                54.19
 9/10/2018   CHECK NO=0000000127836   Payee 2                               Payroll                               318.86
 9/10/2018   CHECK NO=0000000127837   Payee 3                               Payroll                               206.42
                                                                          TOTAL DISBURSEMENTS THIS PERIOD:    11,020.64
               Case 8:18-bk-13311-CB    Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23
                                   AP ACCOUNT                                              Desc
                                         Main Document
                               BANK RECONCILIATION        Page 19 of 85
                   Bank statement Date:         10/7/2018 Balance on Statement:   $0.00

Plus deposits in transit (a):
                                          Deposit Date        Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                          0.00

Less Outstanding Checks (a):
                    Check Number          Check Date           Check Amount
                  124905                        4/7/2017                556.75
                  124946                       4/12/2017              1,538.30
                  124978                       4/21/2017                333.48
                  124981                       4/24/2017                323.67
                  124985                       4/26/2017                356.91
                  125052                        5/3/2017                 69.55
                  125268                       6/16/2017                 82.57
                  125391                       6/28/2017                455.09
                  125392                       6/28/2017                219.99
                  125403                       6/28/2017                113.97
                  125447                       6/28/2017                227.94
                  125469                       6/28/2017                113.97
                  125514                       6/28/2017                560.33
                  125531                       6/28/2017                113.97
                  125555                       6/28/2017                113.97
                  125597                       6/28/2017                113.97
                  125641                       6/29/2017                 73.47
                  125779                       7/27/2017                166.91
                  125836                        8/4/2017              1,864.53
                  125855                        8/9/2017                125.00
                  125944                       8/29/2017                234.51
                  126017                       9/13/2017              1,011.50
                  126377                      11/28/2017                 93.55
                  126405                      11/29/2017                 55.00
                  126467                      12/19/2017                119.52
                  126518                      12/31/2017                114.65
                  126526                      12/31/2017                462.63
                  126527                      12/31/2017                223.64
                  126537                      12/31/2017                115.86
                  126580                      12/31/2017                230.91
                  126597                      12/31/2017                231.72
                  126634                      12/31/2017                225.25
                  126662                      12/31/2017                115.86
                  126668                      12/31/2017                569.62
                  126670                      12/31/2017                231.72
                  126689                      12/31/2017                115.86
                  126705                      12/31/2017                231.72
                    126726                    12/31/2017                230.11
                    126735                    12/31/2017                231.72
                    126741                    12/31/2017                223.64
                    126742                    12/31/2017                459.40
                    126763                    12/31/2017                115.86
                    126764                    12/31/2017                115.86
                    126766                    12/31/2017                115.86
                    126780                    12/31/2017                223.64
                    126784                    12/31/2017                230.11
                    126801                    12/31/2017                345.97
                    126841                      1/8/2018                 82.05
                    127032                     2/20/2018                 61.73
                    127093                      3/6/2018                 21.01
                     Case
                       1273338:18-bk-13311-CB                                Doc 127 Filed 372.02
                                                                           4/30/2018       10/22/18      Entered 10/22/18 20:33:23   Desc
                            127373                                            Main Document 51.95Page
                                                                            5/9/2018                    20 of 85
                            127462                                         5/31/2018        52.46
                            127492                                          6/6/2018       430.44
                            127510                                         6/13/2018        63.15
                            127556                                         6/20/2018       204.55
                            127567                                         6/27/2018        82.53
                            127637                                         7/11/2018       100.68
                            127700                                         7/25/2018     1,914.77
                            127716                                         7/31/2018       229.27
                            127717                                         7/31/2018       154.15
                            127756                                          8/8/2018        17.00
                            APPLY CR                                       9/11/2018
TOTAL OUTSTANDING CHECKS:                                                                                  18,037.79

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                    ($18,037.79)

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
               Case 8:18-bk-13311-CBI. DDoc 127 Filed
                                        SUMMARY       10/22/18OF Entered
                                                  SCHEDULE       CASH 10/22/18 20:33:23                                              Desc
                                         Main Document    Page 21 of 85
ENDING BALANCES FOR THE PERIOD:
                               (Provide a copy of monthly account statements for each of the below)


                                                                       General Account:                                  361.68
                                                                       Payroll Account:                                7,938.44
                                                                          AP Account:                                      0.00
    *Other Accounts:


       *Other Monies:
                                                         **Petty Cash (from below):                                           0.00

TOTAL CASH AVAILABLE:                                                                                                                8,300.12



Petty Cash Transactions:
        Date                                 Purpose                                                            Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                           0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions
            Case 8:18-bk-13311-CB  DocSTATES
                               UNITED  127 Filed 10/22/18 Entered
                                             DEPARTMENT            10/22/18 20:33:23
                                                           OF JUSTICE                                                    Desc
                                    Main Document    Page 22 of 85
                               OFFICE OF THE UNITED STATES TRUSTEE
                                  CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                   CHAPTER 11 (BUSINESS)

   Ruby's Diner Inc.                                                     Case Number:                                8:2018bk13311
                                                                         Operating Report Number:                           1
                                                         Debtor(s).      For the Period Ending:                      October 07, 2018

                                         I. CASH RECEIPTS AND DISBURSEMENTS
                                                A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                           0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                             0.00

4. RECEIPTS DURING CURRENT PERIOD:
   TOTAL RECEIPTS THIS PERIOD: [2]                                                                                          522,754.72

5. BALANCE:                                                                                                                 522,754.72

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                214,586.44
   Disbursements (from page 2)                                                                  168,947.95

   TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                      383,534.39

7. ENDING BALANCE: [1]                                                                                                      139,220.33

8. General Account Number(s):                                            xxxxxx1613
   Depository Name & Location:                                           EastWestBank
                                                                         9300 Flair Drive Suite 106, El Monte, CA 91731
[1] The Ending Balance does not reflect unused balances of retainers held by professionals employed by the Debtor.
[2] Intercompany transfers, primarily reimbursements for payroll and G&A fees.
                    Case 8:18-bk-13311-CBTOTALDoc   127 Filed 10/22/18 Entered 10/22/18 20:33:23
                                              DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD
                                                                                                                                                     Desc
  Date                                         Main Document                 Page 23 of 85          *Amount                                       **Amount
mm/dd/yyyy                 Check Number                                       Description                 Purpose                  Transfered     Disbursed       Amount
  9/14/2018   Misc. Fees                             OUTGOING WIRE                          Wire Fees                                                   12.00         12.00
  9/14/2018   Outgoing Money Transfer                AFP Saddington LLP                     Tax Services                                             5,000.00      5,000.00
  9/14/2018   Pre-authorized ACH Debit 00000000000   US FOODSERVICE VENDOR PAY              Food Items (COGS)                                       10,806.08     10,806.08
  9/17/2018   Pre-authorized ACH Debit 00000000000   UNION BANK CARD ONLINE PAY             Credit Card Payment                                      1,200.00      1,200.00
  9/18/2018   Individual Automatic Transfer Debit    Transfer                               Transfer to AP Account (1627)              2,000.00                    2,000.00
  9/18/2018   Pre-authorized ACH Debit 00000000000   UNION BANK CARD ONLINE PAY             Credit Card Payment                                      2,000.00      2,000.00
  9/19/2018   Individual Automatic Transfer Debit    Transfer                               Transfer to AP Account (1627)              2,000.00                    2,000.00
  9/19/2018   Pre-authorized ACH Debit 00000000000   IRS USATAXPYMT                         Futa Payment                                            12,050.00     12,050.00
  9/20/2018   Individual Automatic Transfer Debit    Transfer                               Transfer to AP Account (1627)            10,000.00                    10,000.00
  9/24/2018   Pre-authorized ACH Debit 00000000000   US FOODSERVICE VENDOR PAY              Food Items (COGS)                                        9,342.62      9,342.62
  9/25/2018   Individual Automatic Transfer Debit    Transfer                               Transfer to AP Account (1627)              5,000.00                    5,000.00
  9/25/2018   Pre-authorized ACH Debit 00000000000   CA DEPT TAX FEE CDTFA EPMT             Sale Tax Payment to taxing authority                    10,372.00     10,372.00
  9/25/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  9/27/2018                                          Transfer                               Transfer to AP Account (1627)              4,903.63                    4,903.63
  9/27/2018   Misc. Fees                             OUTGOING WIRE                          Wire Fees                                                   12.00         12.00
  9/27/2018   Outgoing Money Transfer                Paycom Payroll LLC                     Payroll                                                117,413.50    117,413.50
  9/27/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  9/27/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  9/27/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  9/27/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  9/27/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  9/27/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  9/28/2018                                          Transfer                               Transfer to AP Account (1627)             2,665.00                     2,665.00
  9/28/2018                                          Transfer                               Transfer to Payroll Account (1620)        1,001.57                     1,001.57
  10/1/2018                                          Transfer                               Transfer to AP Account (1627)            34,448.08                    34,448.08
  10/1/2018                                          Transfer                               Transfer to Payroll Account (1620)       72,469.15                    72,469.15
  10/1/2018   Misc. Fees                             DEPOSIT BRIDGE                         Bank Fees                                                    1.25          1.25
  10/1/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  10/2/2018                                          Transfer                               Transfer to AP Account (1627)             5,993.14                     5,993.14
  10/2/2018                                          Transfer                               Transfer to Payroll Account (1620)       36,267.78                    36,267.78
  10/2/2018   Misc. Fees                             BB PREMIER MONTHLY MAINTENANCE         Bank Fees                                                 276.00         276.00
  10/2/2018   Misc. Fees                             DEPBRIDGE+ MONTHLY MAINT.              Bank Fees                                                 140.00         140.00
  10/2/2018   Misc. Fees                             DEPBRIDGE+ W/S SETUP 1ST TIME          Bank Fees                                                 120.00         120.00
  10/2/2018   Misc. Fees                             DEPBRIDGE+ EQUIPMENT                   Bank Fees                                                  50.00          50.00
  10/2/2018   Misc. Fees                             BB PREMIER WIRE MODULE                 Bank Fees                                                  30.00          30.00
  10/2/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                  10.00          10.00
  10/3/2018                                          Transfer                               Transfer to AP Account (1627)             2,700.75                     2,700.75
  10/3/2018                                          Transfer                               Transfer to Payroll Account (1620)       14,495.46                    14,495.46
  10/4/2018                                          Transfer                               Transfer to Payroll Account (1620)        7,102.12                     7,102.12
  10/4/2018                                          Transfer                               Transfer to AP Account (1627)             5,391.66                     5,391.66
  10/5/2018                                          Transfer                               Transfer to AP Account (1627)             1,448.74                     1,448.74
  10/5/2018                                          Transfer                               Transfer to Payroll Account (1620)        6,699.36                     6,699.36
  10/5/2018   Misc. Fees                             DEPOSIT BRIDGE                         Bank Fees                                                    1.25          1.25
  10/5/2018   Misc. Fees                             DEPOSIT BRIDGE                         Bank Fees                                                    1.25          1.25
  10/5/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  10/5/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
  10/5/2018   Misc. Fees                             WIRE TRANS-IN                          Wire Fees                                                   10.00         10.00
                                                                                            TOTAL DISBURSEMENTS THIS PERIOD:        214,586.44     168,947.95   $383,534.39
           Case 8:18-bk-13311-CB           Doc GENERAL
                                               127 FiledACCOUNT
                                                         10/22/18 Entered 10/22/18 20:33:23     Desc
                                            Main Document    Page 24 of 85
                                             BANK RECONCILIATION

                    Bank statement Date:               10/7/2018   Balance on Statement:      $139,220.33

Plus deposits in transit (a):
                                                 Deposit Date         Deposit Amount
                                                       10/2/2018             $3,103.46
                                                       10/3/2018                404.36
                                                       10/4/2018              2,804.35
                                                       10/5/2018              4,060.32
                                                       10/5/2018                441.28
                                                       10/6/2018              6,920.93
                                                       10/6/2018                380.68
                                                       10/7/2018              6,343.01
TOTAL DEPOSITS IN TRANSIT                                                                       24,458.39
Less Outstanding Checks (a):
                    Check Number                 Check Date            Check Amount




TOTAL OUTSTANDING CHECKS:                                                                            0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                        $163,678.72
        Case 8:18-bk-13311-CB
                         I. CASH Doc  127 Filed
                                 RECEIPTS AND 10/22/18   Entered 10/22/18 20:33:23
                                                DISBURSEMENTS                            Desc
                                  Main Document    Page 25 of 85
                                 B. (PAYROLL ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                                   0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                                        0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                     0.00

4. RECEIPTS DURING CURRENT PERIOD:                                                 138,035.44
   (Transferred from General Account)

5. BALANCE:                                                                        138,035.44

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                             138,035.44

7. ENDING BALANCE:                                                                        0.00

8. PAYROLL Account Number(s):                 xxxxxx1620
                                              EastWestBank
  Depository Name & Location:                 9300 Flair Drive Suite 106, El Monte, CA 91731
          Case 8:18-bk-13311-CB   Doc 127
                   TOTAL DISBURSEMENTS FROMFiled 10/22/18
                                            PAYROLL        Entered
                                                     ACCOUNT       10/22/18PERIOD
                                                              FOR CURRENT    20:33:23   Desc
                                   Main Document     Page 26 of 85
  Date
mm/dd/yyyy         Check Number     Check #          Payee [1]             Purpose        Amount
  10/5/2018   Check Paid 22162707   22162707   Payee 1           Payroll                      189.86
  10/5/2018   Check Paid 22162666   22162666   Payee 2           Payroll                      489.23
  10/5/2018   Check Paid 22163062   22163062   Payee 3           Payroll                      361.24
  10/5/2018   Check Paid 22162984   22162984   Payee 4           Payroll                      182.19
  10/5/2018   Check Paid 22162982   22162982   Payee 5           Payroll                         281
  10/5/2018   Check Paid 22162978   22162978   Payee 6           Payroll                      308.47
  10/5/2018   Check Paid 22162946   22162946   Payee 7           Payroll                      987.09
  10/5/2018   Check Paid 22162941   22162941   Payee 8           Payroll                       63.23
  10/5/2018   Check Paid 22162928   22162928   Payee 9           Payroll                      288.58
  10/5/2018   Check Paid 22162906   22162906   Payee 10          Payroll                     1205.79
  10/5/2018   Check Paid 22162887   22162887   Payee 11          Payroll                      443.96
  10/5/2018   Check Paid 22162883   22162883   Payee 12          Payroll                       67.46
  10/5/2018   Check Paid 22162806   22162806   Payee 13          Payroll                      336.92
  10/5/2018   Check Paid 22162775   22162775   Payee 14          Payroll                      246.24
  10/5/2018   Check Paid 22162773   22162773   Payee 15          Payroll                      108.63
  10/5/2018   Check Paid 22162764   22162764   Payee 16          Payroll                      411.08
  10/5/2018   Check Paid 22162759   22162759   Payee 17          Payroll                      153.74
  10/5/2018   Check Paid 22162745   22162745   Payee 18          Payroll                      574.65
  10/4/2018   Check Paid 22163079   22163079   Payee 19          Payroll                       81.88
  10/4/2018   Check Paid 22163052   22163052   Payee 20          Payroll                       297.4
  10/4/2018   Check Paid 22163043   22163043   Payee 21          Payroll                       295.9
  10/4/2018   Check Paid 22163037   22163037   Payee 22          Payroll                      166.76
  10/4/2018   Check Paid 22162691   22162691   Payee 23          Payroll                      314.71
  10/4/2018   Check Paid 22162689   22162689   Payee 24          Payroll                      137.06
  10/4/2018   Check Paid 22162829   22162829   Payee 25          Payroll                      245.71
  10/4/2018   Check Paid 22163028   22163028   Payee 26          Payroll                      126.71
  10/4/2018   Check Paid 22163004   22163004   Payee 27          Payroll                      990.12
  10/4/2018   Check Paid 22162991   22162991   Payee 28          Payroll                      436.24
  10/4/2018   Check Paid 22162968   22162968   Payee 29          Payroll                      146.16
  10/4/2018   Check Paid 22162967   22162967   Payee 30          Payroll                      387.32
  10/4/2018   Check Paid 22162918   22162918   Payee 31          Payroll                      456.14
  10/4/2018   Check Paid 22162905   22162905   Payee 32          Payroll                      465.55
  10/4/2018   Check Paid 22162881   22162881   Payee 33          Payroll                      261.76
  10/4/2018   Check Paid 22162880   22162880   Payee 34          Payroll                      213.08
  10/4/2018   Check Paid 22162835   22162835   Payee 35          Payroll                      275.68
  10/4/2018   Check Paid 22162822   22162822   Payee 36          Payroll                      159.65
  10/4/2018   Check Paid 22162815   22162815   Payee 37          Payroll                      704.36
  10/4/2018   Check Paid 22162805   22162805   Payee 38          Payroll                      357.04
  10/4/2018   Check Paid 22162763   22162763   Payee 39          Payroll                       72.69
  10/4/2018   Check Paid 22162719   22162719   Payee 40          Payroll                      118.41
  10/4/2018   Check Paid 22162702   22162702   Payee 41          Payroll                      391.79
  10/3/2018   Check Paid 22163078   22163078   Payee 42          Payroll                      430.12
  10/3/2018   Check Paid 22163076   22163076   Payee 43          Payroll                      376.64
  10/3/2018   Check Paid 22163074   22163074   Payee 44          Payroll                       93.74
  10/3/2018   Check Paid 22163070   22163070   Payee 45          Payroll                      253.72
  10/3/2018   Check Paid 22163014   22163014   Payee 46          Payroll                      324.38
  10/3/2018   Check Paid 22163005   22163005   Payee 47          Payroll                      266.44
  10/3/2018   Check Paid 22163002   22163002   Payee 48          Payroll                      778.73
  10/3/2018   Check Paid 22162994   22162994   Payee 49          Payroll                      334.47
  10/3/2018   Check Paid 22162983   22162983   Payee 50          Payroll                      709.95
  10/3/2018   Check Paid 22162980   22162980   Payee 51          Payroll                      223.07
  10/3/2018   Check Paid 22162974   22162974   Payee 52          Payroll                      575.04
  10/3/2018   Check Paid 22162971   22162971   Payee 53          Payroll                      936.82
10/3/2018Case
          Check8:18-bk-13311-CB
                Paid 22162959      Doc 127
                                22162959       Filed 10/22/18Payroll
                                         Payee 54                Entered 10/22/18 20:33:23   Desc    165.43
10/3/2018 Check Paid 22162947       Main  Document
                                22162947 Payee 55        PagePayrollof 85
                                                               27                                    311.69
10/3/2018 Check Paid 22162942   22162942 Payee 56            Payroll                                 341.47
10/3/2018 Check Paid 22162936   22162936 Payee 57            Payroll                                  69.32
10/3/2018 Check Paid 22162903   22162903 Payee 58            Payroll                                 880.28
10/3/2018 Check Paid 22162900   22162900 Payee 59            Payroll                                 572.81
10/3/2018 Check Paid 22162844   22162844 Payee 60            Payroll                                 699.78
10/3/2018 Check Paid 22162836   22162836 Payee 61            Payroll                                 636.76
10/3/2018 Check Paid 22162830   22162830 Payee 62            Payroll                                 361.14
10/3/2018 Check Paid 22162819   22162819 Payee 63            Payroll                                 926.59
10/3/2018 Check Paid 22162787   22162787 Payee 64            Payroll                                 562.23
10/3/2018 Check Paid 22162750   22162750 Payee 65            Payroll                                  33.36
10/3/2018 Check Paid 22162749   22162749 Payee 66            Payroll                                 270.98
10/3/2018 Check Paid 22162735   22162735 Payee 67            Payroll                                 297.35
10/3/2018 Check Paid 22162729   22162729 Payee 68            Payroll                                 208.82
10/3/2018 Check Paid 22162685   22162685 Payee 69            Payroll                                  362.3
10/3/2018 Check Paid 22162684   22162684 Payee 70            Payroll                                 151.65
10/3/2018 Check Paid 22162680   22162680 Payee 71            Payroll                                  601.7
10/3/2018 Check Paid 22162676   22162676 Payee 72            Payroll                                 770.85
10/3/2018 Check Paid 22162673   22162673 Payee 73            Payroll                                 196.15
10/3/2018 Check Paid 22162670   22162670 Payee 74            Payroll                                 771.68
10/2/2018 Check Paid 22163054   22163054 Payee 75            Payroll                                 486.58
10/2/2018 Check Paid 22163090   22163090 Payee 76            Payroll                                1251.64
10/2/2018 Check Paid 22163086   22163086 Payee 77            Payroll                                  155.8
10/2/2018 Check Paid 22163084   22163084 Payee 78            Payroll                                 487.67
10/2/2018 Check Paid 22163075   22163075 Payee 79            Payroll                                 850.87
10/2/2018 Check Paid 22163065   22163065 Payee 80            Payroll                                  413.7
10/2/2018 Check Paid 22163064   22163064 Payee 81            Payroll                                  149.9
10/2/2018 Check Paid 22163058   22163058 Payee 82            Payroll                                 208.87
10/2/2018 Check Paid 22162782   22162782 Payee 83            Payroll                                 505.78
10/2/2018 Check Paid 22162663   22162663 Payee 84            Payroll                                 117.53
10/2/2018 Check Paid 22162774   22162774 Payee 85            Payroll                                 365.28
10/2/2018 Check Paid 22162771   22162771 Payee 86            Payroll                                 518.45
10/2/2018 Check Paid 22162769   22162769 Payee 87            Payroll                                 708.67
10/2/2018 Check Paid 22162768   22162768 Payee 88            Payroll                                 101.58
10/2/2018 Check Paid 22162760   22162760 Payee 89            Payroll                                 211.04
10/2/2018 Check Paid 22162758   22162758 Payee 90            Payroll                                 263.48
10/2/2018 Check Paid 22162756   22162756 Payee 91            Payroll                                 493.38
10/2/2018 Check Paid 22162755   22162755 Payee 92            Payroll                                 167.43
10/2/2018 Check Paid 22162754   22162754 Payee 93            Payroll                                 673.13
10/2/2018 Check Paid 22162751   22162751 Payee 94            Payroll                                 138.24
10/2/2018 Check Paid 22162748   22162748 Payee 95            Payroll                                 284.21
10/2/2018 Check Paid 22162747   22162747 Payee 96            Payroll                                  47.53
10/2/2018 Check Paid 22162732   22162732 Payee 97            Payroll                                 155.88
10/2/2018 Check Paid 22162726   22162726 Payee 98            Payroll                                 145.56
10/2/2018 Check Paid 22162724   22162724 Payee 99            Payroll                                 210.59
10/2/2018 Check Paid 22162717   22162717 Payee 100           Payroll                                 614.12
10/2/2018 Check Paid 22162716   22162716 Payee 101           Payroll                                 825.02
10/2/2018 Check Paid 22162711   22162711 Payee 102           Payroll                                  593.8
10/2/2018 Check Paid 22162696   22162696 Payee 103           Payroll                                 157.77
10/2/2018 Check Paid 22162693   22162693 Payee 104           Payroll                                 740.77
10/2/2018 Check Paid 22162678   22162678 Payee 105           Payroll                                 728.38
10/2/2018 Check Paid 22162677   22162677 Payee 106           Payroll                                 171.46
10/2/2018 Check Paid 22162667   22162667 Payee 107           Payroll                                 334.03
10/2/2018 Check Paid 22162890   22162890 Payee 108           Payroll                                 588.94
10/2/2018 Check Paid 22162889   22162889 Payee 109           Payroll                                 523.92
10/2/2018 Check Paid 22162878   22162878 Payee 110           Payroll                                 133.89
10/2/2018Case
          Check8:18-bk-13311-CB
                Paid 22162871      Doc 127
                                22162871       Filed 10/22/18Payroll
                                         Payee 111               Entered 10/22/18 20:33:23   Desc    167.78
10/2/2018 Check Paid 22162866       Main  Document
                                22162866 Payee 112       PagePayrollof 85
                                                               28                                    189.78
10/2/2018 Check Paid 22162865   22162865 Payee 113           Payroll                                 211.62
10/2/2018 Check Paid 22162863   22162863 Payee 114           Payroll                                1043.45
10/2/2018 Check Paid 22162856   22162856 Payee 115           Payroll                                   92.2
10/2/2018 Check Paid 22162846   22162846 Payee 116           Payroll                                 957.83
10/2/2018 Check Paid 22162842   22162842 Payee 117           Payroll                                 644.48
10/2/2018 Check Paid 22162839   22162839 Payee 118           Payroll                                 556.99
10/2/2018 Check Paid 22162832   22162832 Payee 119           Payroll                                 382.47
10/2/2018 Check Paid 22162831   22162831 Payee 120           Payroll                                 351.76
10/2/2018 Check Paid 22162825   22162825 Payee 121           Payroll                                 427.73
10/2/2018 Check Paid 22162812   22162812 Payee 122           Payroll                                 756.47
10/2/2018 Check Paid 22162800   22162800 Payee 123           Payroll                                 460.92
10/2/2018 Check Paid 22162799   22162799 Payee 124           Payroll                                 328.25
10/2/2018 Check Paid 22162798   22162798 Payee 125           Payroll                                 121.03
10/2/2018 Check Paid 22162792   22162792 Payee 126           Payroll                                 319.42
10/2/2018 Check Paid 22162789   22162789 Payee 127           Payroll                                 300.38
10/2/2018 Check Paid 22162786   22162786 Payee 128           Payroll                                 229.44
10/2/2018 Check Paid 22162964   22162964 Payee 129           Payroll                                 121.95
10/2/2018 Check Paid 22162961   22162961 Payee 130           Payroll                                 727.21
10/2/2018 Check Paid 22162958   22162958 Payee 131           Payroll                                 118.47
10/2/2018 Check Paid 22162943   22162943 Payee 132           Payroll                                 689.29
10/2/2018 Check Paid 22162934   22162934 Payee 133           Payroll                                 208.29
10/2/2018 Check Paid 22162933   22162933 Payee 134           Payroll                                 942.04
10/2/2018 Check Paid 22162931   22162931 Payee 135           Payroll                                 209.29
10/2/2018 Check Paid 22162927   22162927 Payee 136           Payroll                                 461.09
10/2/2018 Check Paid 22162925   22162925 Payee 137           Payroll                                 472.62
10/2/2018 Check Paid 22162923   22162923 Payee 138           Payroll                                 200.52
10/2/2018 Check Paid 22162917   22162917 Payee 139           Payroll                                 667.37
10/2/2018 Check Paid 22162914   22162914 Payee 140           Payroll                                 723.71
10/2/2018 Check Paid 22162913   22162913 Payee 141           Payroll                                 130.15
10/2/2018 Check Paid 22162912   22162912 Payee 142           Payroll                                 170.61
10/2/2018 Check Paid 22162911   22162911 Payee 143           Payroll                                 113.62
10/2/2018 Check Paid 22162909   22162909 Payee 144           Payroll                                 360.98
10/2/2018 Check Paid 22162899   22162899 Payee 145           Payroll                                 350.16
10/2/2018 Check Paid 22162897   22162897 Payee 146           Payroll                                  383.9
10/2/2018 Check Paid 22162895   22162895 Payee 147           Payroll                                 883.45
10/2/2018 Check Paid 22162894   22162894 Payee 148           Payroll                                 159.55
10/2/2018 Check Paid 22163048   22163048 Payee 149           Payroll                                     96
10/2/2018 Check Paid 22163047   22163047 Payee 150           Payroll                                 114.69
10/2/2018 Check Paid 22163046   22163046 Payee 151           Payroll                                 265.32
10/2/2018 Check Paid 22163045   22163045 Payee 152           Payroll                                 122.45
10/2/2018 Check Paid 22163042   22163042 Payee 153           Payroll                                1375.84
10/2/2018 Check Paid 22163036   22163036 Payee 154           Payroll                                 388.15
10/2/2018 Check Paid 22163025   22163025 Payee 155           Payroll                                 627.24
10/2/2018 Check Paid 22163013   22163013 Payee 156           Payroll                                  487.6
10/2/2018 Check Paid 22162999   22162999 Payee 157           Payroll                                 251.29
10/2/2018 Check Paid 22162998   22162998 Payee 158           Payroll                                 307.45
10/2/2018 Check Paid 22162995   22162995 Payee 159           Payroll                                 116.52
10/2/2018 Check Paid 22162990   22162990 Payee 160           Payroll                                 303.75
10/2/2018 Check Paid 22162981   22162981 Payee 161           Payroll                                 133.45
10/2/2018 Check Paid 22162976   22162976 Payee 162           Payroll                                 891.15
10/2/2018 Check Paid 22162973   22162973 Payee 163           Payroll                                 200.51
10/2/2018 Check Paid 22162972   22162972 Payee 164           Payroll                                 425.21
10/1/2018 Check Paid 22163094   22163094 Payee 165           Payroll                                 339.29
10/1/2018 Check Paid 22163093   22163093 Payee 166           Payroll                                1474.13
10/1/2018 Check Paid 22163091   22163091 Payee 167           Payroll                                 1141.2
10/1/2018Case
          Check8:18-bk-13311-CB
                Paid 22163088      Doc 127
                                22163088       Filed 10/22/18Payroll
                                         Payee 168               Entered 10/22/18 20:33:23   Desc    128.31
10/1/2018 Check Paid 22163087       Main  Document
                                22163087 Payee 169       PagePayrollof 85
                                                               29                                    347.27
10/1/2018 Check Paid 22163085   22163085 Payee 170           Payroll                                 286.61
10/1/2018 Check Paid 22163083   22163083 Payee 171           Payroll                                 939.69
10/1/2018 Check Paid 22163082   22163082 Payee 172           Payroll                                 301.62
10/1/2018 Check Paid 22163081   22163081 Payee 173           Payroll                                 362.26
10/1/2018 Check Paid 22163077   22163077 Payee 174           Payroll                                 572.78
10/1/2018 Check Paid 22163072   22163072 Payee 175           Payroll                                 111.89
10/1/2018 Check Paid 22163071   22163071 Payee 176           Payroll                                 663.87
10/1/2018 Check Paid 22163068   22163068 Payee 177           Payroll                                 235.11
10/1/2018 Check Paid 22163067   22163067 Payee 178           Payroll                                 253.15
10/1/2018 Check Paid 22163066   22163066 Payee 179           Payroll                                  584.3
10/1/2018 Check Paid 22163063   22163063 Payee 180           Payroll                                 355.91
10/1/2018 Check Paid 22163060   22163060 Payee 181           Payroll                                    183
10/1/2018 Check Paid 22163055   22163055 Payee 182           Payroll                                 482.66
10/1/2018 Check Paid 22163053   22163053 Payee 183           Payroll                                  584.4
10/1/2018 Check Paid 22163051   22163051 Payee 184           Payroll                                 510.09
10/1/2018 Check Paid 22163049   22163049 Payee 185           Payroll                                 109.23
10/1/2018 Check Paid 22163041   22163041 Payee 186           Payroll                                  87.32
10/1/2018 Check Paid 22163040   22163040 Payee 187           Payroll                                 347.79
10/1/2018 Check Paid 22163038   22163038 Payee 188           Payroll                                  63.07
10/1/2018 Check Paid 22163035   22163035 Payee 189           Payroll                                 595.07
10/1/2018 Check Paid 22163034   22163034 Payee 190           Payroll                                 297.78
10/1/2018 Check Paid 22163033   22163033 Payee 191           Payroll                                 410.84
10/1/2018 Check Paid 22163032   22163032 Payee 192           Payroll                                 248.55
10/1/2018 Check Paid 22163031   22163031 Payee 193           Payroll                                  76.99
10/1/2018 Check Paid 22163030   22163030 Payee 194           Payroll                                 187.67
10/1/2018 Check Paid 22163024   22163024 Payee 195           Payroll                                 284.84
10/1/2018 Check Paid 22163023   22163023 Payee 196           Payroll                                 268.55
10/1/2018 Check Paid 22163022   22163022 Payee 197           Payroll                                 570.24
10/1/2018 Check Paid 22163021   22163021 Payee 198           Payroll                                 187.63
10/1/2018 Check Paid 22163020   22163020 Payee 199           Payroll                                  662.8
10/1/2018 Check Paid 22163019   22163019 Payee 200           Payroll                                 766.65
10/1/2018 Check Paid 22163018   22163018 Payee 201           Payroll                                 116.79
10/1/2018 Check Paid 22163017   22163017 Payee 202           Payroll                                1679.65
10/1/2018 Check Paid 22163016   22163016 Payee 203           Payroll                                 611.48
10/1/2018 Check Paid 22163015   22163015 Payee 204           Payroll                                 250.78
10/1/2018 Check Paid 22163011   22163011 Payee 205           Payroll                                 255.93
10/1/2018 Check Paid 22163010   22163010 Payee 206           Payroll                                 246.28
10/1/2018 Check Paid 22163008   22163008 Payee 207           Payroll                                 522.62
10/1/2018 Check Paid 22163007   22163007 Payee 208           Payroll                                 316.43
10/1/2018 Check Paid 22163006   22163006 Payee 209           Payroll                                 448.77
10/1/2018 Check Paid 22163001   22163001 Payee 210           Payroll                                 558.98
10/1/2018 Check Paid 22162996   22162996 Payee 211           Payroll                                 246.42
10/1/2018 Check Paid 22162992   22162992 Payee 212           Payroll                                 290.23
10/1/2018 Check Paid 22162987   22162987 Payee 213           Payroll                                 722.58
10/1/2018 Check Paid 22162986   22162986 Payee 214           Payroll                                 804.27
10/1/2018 Check Paid 22162985   22162985 Payee 215           Payroll                                  207.7
10/1/2018 Check Paid 22162963   22162963 Payee 216           Payroll                                 607.39
10/1/2018 Check Paid 22162962   22162962 Payee 217           Payroll                                 257.39
10/1/2018 Check Paid 22162960   22162960 Payee 218           Payroll                                 395.78
10/1/2018 Check Paid 22162956   22162956 Payee 219           Payroll                                  92.72
10/1/2018 Check Paid 22162954   22162954 Payee 220           Payroll                                 507.03
10/1/2018 Check Paid 22162953   22162953 Payee 221           Payroll                                 234.66
10/1/2018 Check Paid 22162949   22162949 Payee 222           Payroll                                 278.61
10/1/2018 Check Paid 22162948   22162948 Payee 223           Payroll                                  726.8
10/1/2018 Check Paid 22162945   22162945 Payee 224           Payroll                                 653.46
10/1/2018Case
          Check8:18-bk-13311-CB
                Paid 22162944      Doc 127
                                22162944       Filed 10/22/18Payroll
                                         Payee 225               Entered 10/22/18 20:33:23   Desc    557.11
10/1/2018 Check Paid 22162940       Main  Document
                                22162940 Payee 226       PagePayrollof 85
                                                               30                                    217.34
10/1/2018 Check Paid 22162938   22162938 Payee 227           Payroll                                 353.35
10/1/2018 Check Paid 22162935   22162935 Payee 228           Payroll                                 260.91
10/1/2018 Check Paid 22162932   22162932 Payee 229           Payroll                                 752.81
10/1/2018 Check Paid 22162930   22162930 Payee 230           Payroll                                 1600.6
10/1/2018 Check Paid 22162922   22162922 Payee 231           Payroll                                 367.44
10/1/2018 Check Paid 22162920   22162920 Payee 232           Payroll                                 883.09
10/1/2018 Check Paid 22162919   22162919 Payee 233           Payroll                                 743.15
10/1/2018 Check Paid 22162916   22162916 Payee 234           Payroll                                 627.03
10/1/2018 Check Paid 22162915   22162915 Payee 235           Payroll                                  73.77
10/1/2018 Check Paid 22162908   22162908 Payee 236           Payroll                                   61.6
10/1/2018 Check Paid 22162907   22162907 Payee 237           Payroll                                 321.91
10/1/2018 Check Paid 22162902   22162902 Payee 238           Payroll                                 693.45
10/1/2018 Check Paid 22162896   22162896 Payee 239           Payroll                                 533.03
10/1/2018 Check Paid 22162893   22162893 Payee 240           Payroll                                 204.06
10/1/2018 Check Paid 22162891   22162891 Payee 241           Payroll                                 348.04
10/1/2018 Check Paid 22162888   22162888 Payee 242           Payroll                                1627.29
10/1/2018 Check Paid 22162886   22162886 Payee 243           Payroll                                 108.93
10/1/2018 Check Paid 22162885   22162885 Payee 244           Payroll                                 230.51
10/1/2018 Check Paid 22162882   22162882 Payee 245           Payroll                                 687.57
10/1/2018 Check Paid 22162879   22162879 Payee 246           Payroll                                 821.75
10/1/2018 Check Paid 22162877   22162877 Payee 247           Payroll                                1776.83
10/1/2018 Check Paid 22162876   22162876 Payee 248           Payroll                                 190.17
10/1/2018 Check Paid 22162875   22162875 Payee 249           Payroll                                  48.71
10/1/2018 Check Paid 22162874   22162874 Payee 250           Payroll                                 246.27
10/1/2018 Check Paid 22162872   22162872 Payee 251           Payroll                                 107.76
10/1/2018 Check Paid 22162870   22162870 Payee 252           Payroll                                 230.89
10/1/2018 Check Paid 22162869   22162869 Payee 253           Payroll                                 357.74
10/1/2018 Check Paid 22162868   22162868 Payee 254           Payroll                                 394.23
10/1/2018 Check Paid 22162867   22162867 Payee 255           Payroll                                 220.81
10/1/2018 Check Paid 22162861   22162861 Payee 256           Payroll                                  404.6
10/1/2018 Check Paid 22162857   22162857 Payee 257           Payroll                                 310.98
10/1/2018 Check Paid 22162852   22162852 Payee 258           Payroll                                 176.33
10/1/2018 Check Paid 22162851   22162851 Payee 259           Payroll                                 123.58
10/1/2018 Check Paid 22162849   22162849 Payee 260           Payroll                                 394.93
10/1/2018 Check Paid 22162847   22162847 Payee 261           Payroll                                 341.05
10/1/2018 Check Paid 22162845   22162845 Payee 262           Payroll                                 225.51
10/1/2018 Check Paid 22162843   22162843 Payee 263           Payroll                                  229.7
10/1/2018 Check Paid 22162841   22162841 Payee 264           Payroll                                 511.67
10/1/2018 Check Paid 22162840   22162840 Payee 265           Payroll                                  124.9
10/1/2018 Check Paid 22162838   22162838 Payee 266           Payroll                                 492.37
10/1/2018 Check Paid 22162834   22162834 Payee 267           Payroll                                  235.4
10/1/2018 Check Paid 22162833   22162833 Payee 268           Payroll                                 244.66
10/1/2018 Check Paid 22162827   22162827 Payee 269           Payroll                                1129.34
10/1/2018 Check Paid 22162824   22162824 Payee 270           Payroll                                 203.97
10/1/2018 Check Paid 22162816   22162816 Payee 271           Payroll                                 291.13
10/1/2018 Check Paid 22162810   22162810 Payee 272           Payroll                                 389.16
10/1/2018 Check Paid 22162807   22162807 Payee 273           Payroll                                 196.67
10/1/2018 Check Paid 22162804   22162804 Payee 274           Payroll                                 227.08
10/1/2018 Check Paid 22162803   22162803 Payee 275           Payroll                                  92.63
10/1/2018 Check Paid 22162797   22162797 Payee 276           Payroll                                1369.23
10/1/2018 Check Paid 22162794   22162794 Payee 277           Payroll                                 222.98
10/1/2018 Check Paid 22162791   22162791 Payee 278           Payroll                                 612.44
10/1/2018 Check Paid 22162785   22162785 Payee 279           Payroll                                 465.19
10/1/2018 Check Paid 22162784   22162784 Payee 280           Payroll                                 661.82
10/1/2018 Check Paid 22162783   22162783 Payee 281           Payroll                                 376.11
    10/1/2018Case
              Check8:18-bk-13311-CB
                     Paid 22162781     Doc 127
                                    22162781       Filed 10/22/18Payroll
                                             Payee 282               Entered 10/22/18 20:33:23 Desc 315.51
    10/1/2018 Check Paid 22162777       Main  Document
                                    22162777 Payee 283       PagePayrollof 85
                                                                   31                                1017.91
    10/1/2018 Check Paid 22162772   22162772 Payee 284           Payroll                               761.21
    10/1/2018 Check Paid 22162765   22162765 Payee 285           Payroll                               845.02
    10/1/2018 Check Paid 22162757   22162757 Payee 286           Payroll                               181.27
    10/1/2018 Check Paid 22162752   22162752 Payee 287           Payroll                               157.85
    10/1/2018 Check Paid 22162744   22162744 Payee 288           Payroll                               289.38
    10/1/2018 Check Paid 22162743   22162743 Payee 289           Payroll                               361.94
    10/1/2018 Check Paid 22162737   22162737 Payee 290           Payroll                                331.6
    10/1/2018 Check Paid 22162736   22162736 Payee 291           Payroll                               138.76
    10/1/2018 Check Paid 22162723   22162723 Payee 292           Payroll                             1061.47
    10/1/2018 Check Paid 22162722   22162722 Payee 293           Payroll                               164.33
    10/1/2018 Check Paid 22162721   22162721 Payee 294           Payroll                                298.4
    10/1/2018 Check Paid 22162713   22162713 Payee 295           Payroll                               779.69
    10/1/2018 Check Paid 22162710   22162710 Payee 296           Payroll                               755.16
    10/1/2018 Check Paid 22162709   22162709 Payee 297           Payroll                               820.09
    10/1/2018 Check Paid 22162708   22162708 Payee 298           Payroll                               607.45
    10/1/2018 Check Paid 22162706   22162706 Payee 299           Payroll                               185.89
    10/1/2018 Check Paid 22162705   22162705 Payee 300           Payroll                               359.24
    10/1/2018 Check Paid 22162704   22162704 Payee 301           Payroll                               238.46
    10/1/2018 Check Paid 22162701   22162701 Payee 302           Payroll                               385.27
    10/1/2018 Check Paid 22162700   22162700 Payee 303           Payroll                               277.29
    10/1/2018 Check Paid 22162699   22162699 Payee 304           Payroll                               364.64
    10/1/2018 Check Paid 22162698   22162698 Payee 305           Payroll                             1091.04
    10/1/2018 Check Paid 22162695   22162695 Payee 306           Payroll                                43.16
    10/1/2018 Check Paid 22162690   22162690 Payee 307           Payroll                                277.7
    10/1/2018 Check Paid 22162688   22162688 Payee 308           Payroll                               328.22
    10/1/2018 Check Paid 22162687   22162687 Payee 309           Payroll                                93.87
    10/1/2018 Check Paid 22162683   22162683 Payee 310           Payroll                             1296.79
    10/1/2018 Check Paid 22162682   22162682 Payee 311           Payroll                                145.3
    10/1/2018 Check Paid 22162681   22162681 Payee 312           Payroll                               733.34
    10/1/2018 Check Paid 22162675   22162675 Payee 313           Payroll                               710.69
    10/1/2018 Check Paid 22162671   22162671 Payee 314           Payroll                                212.9
    10/1/2018 Check Paid 22162669   22162669 Payee 315           Payroll                               254.67
    10/1/2018 Check Paid 22162668   22162668 Payee 316           Payroll                               349.69
    10/1/2018 Check Paid 22162665   22162665 Payee 317           Payroll                                876.6
    10/1/2018 Check Paid 22162679   22162679 Payee 318           Payroll                               504.67
    10/1/2018 Check Paid 22162664   22162664 Payee 319           Payroll                               394.99
    10/1/2018 Check Paid 22162662   22162662 Payee 320           Payroll                                80.69
    10/1/2018 Check Paid 22162661   22162661 Payee 321           Payroll                               357.82
    10/1/2018 Check Paid 2262975    22162975 Payee 322           Payroll                               418.37
    10/1/2018 Check Paid 22163003   22163003 Payee 323           Payroll                             1829.92
    9/28/2018 Misc. Fees                     Payee 324                                                     14
    9/28/2018 Check Paid 22162937   22162937 Payee 325           Payroll                               205.99
    9/28/2018 Check Paid 22162761   22162761 Payee 326           Payroll                               795.58
                                                             TOTAL DISBURSEMENTS THIS PERIOD:     138,035.44
[1] Employee's names will be given to UST upon request.
               Case 8:18-bk-13311-CB                       Doc 127  Filed ACCOUNT
                                                                PAYROLL   10/22/18 Entered 10/22/18 20:33:23        Desc
                                                            Main Document     Page 32 of 85
                                                             BANK RECONCILIATION

                            Bank statement Date:                                10/7/2018   Balance on Statement:          $0.00

Plus deposits in transit (a):
                                                                       Deposit Date            Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                   0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                   0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                                     $0.00

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
         Case 8:18-bk-13311-CB
                          I. CASHDoc 127 Filed
                                  RECEIPTS  AND10/22/18  Entered 10/22/18 20:33:23
                                                DISBURSEMENTS                                 Desc
                                  Main Document    Page 33 of 85
                                     C. (AP ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR AP ACCOUNT REPORTS                                              0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                                  0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                0

4. RECEIPTS DURING CURRENT PERIOD: [1]                                                     79,046.46
   (Transferred from General Account)

5. BALANCE:                                                                                79,046.46

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                     79,046.46

7. ENDING BALANCE:                                                                              0.00

8. AP Account Number(s):                            xxxxxx1627
                                                    EastWestBank
    Depository Name & Location:                     9300 Flair Drive Suite 106, El Monte, CA 91731
[1] Amount of $2,495.46 included as return items.
              Case 8:18-bk-13311-CB     Doc 127 FROM
                             TOTAL DISBURSEMENTS FiledAP10/22/18   Entered
                                                         ACCOUNT FOR       10/22/18
                                                                     CURRENT PERIOD 20:33:23                Desc
                                         Main Document      Page 34 of 85
  Date
mm/dd/yyyy           Check Number                          Payee                               Purpose          Amount
  10/5/2018   Check Paid 122066             JAMES S ELLIOTT                   Professional Fees                         850
  10/5/2018   Check Paid 122021             RUBYS DINER IRVINE                Petty Cash                              176.3
  10/5/2018   Check Paid 122003             RUBYS DINER IRVINE                Petty Cash                             422.44
  10/4/2018   Check Paid 122047             SOCAL OFFICE TECH INC DBA         Copier - Maintenance & Supplies        869.43
  10/4/2018   Check Paid 122043             PREMIER ACCESS INSURANCE CO       Dental Insurance                     2667.55
  10/4/2018   Check Paid 122042             METLIFE GROUP BENEFITS            Life Insurance                         1800.8
  10/4/2018   Check Paid 122056             ANCHOR PRINTING                   Marketing                               53.88
  10/3/2018   Check Paid 122059             DAPHNE MALINSKY                   Professional Fees                        1395
  10/3/2018   Check Paid 122050             UPS INC                           Delivery Expenses                       99.23
  10/3/2018   Check Paid 122045             RACKSPACE HOSTING, INC.           Office Supplies                        842.52
  10/3/2018   Check Paid 122038             IRVINE RANCH WATER DISTRICT       Ulitity Expense                        258.16
  10/3/2018   Check Paid 122033             FEDERAL EXPRESS                   Shipping Fees                          105.84
  10/2/2018   Check Paid 122068             THE PAPER COMPANY                 Office Supplies                        314.09
  10/2/2018   Check Paid 122051             DBA XEROX FINANCIAL SERVICES LLC  Copier - Maintenance & Supplies        615.63
  10/2/2018   Check Paid 122049             TPX COMMUNICATIONS                IT Expenses                            435.97
  10/2/2018   Check Paid 122048             TIGER INC                         Ulitity Expense                        733.08
  10/2/2018   Check Paid 122037             HOT SCHEDULES INC                 Workforce Scheduling                    134.2
  10/2/2018   Check Paid 122030             CALIFORNIA RESTAURANT MUTUAL      Workers Compensation                 3760.17
  10/1/2018   Check Paid 122054             PURITAN BAKERY                    Bread (COGS)                           372.26
  10/1/2018   Check Paid 122046             RONALD SURAK                      Professional Fees                        3330
  10/1/2018   Check Paid 122035             HEALTH NET                        Medical Insurance                   19691.28
  10/1/2018   Check Paid 122034             G & G BOOKKEEPING, INC.           Accounting Fees                           700
  10/1/2018   Check Paid 122029             ACCOUNTEMPS                       Professional Fees                        2304
  10/1/2018   Check Paid 122027             RONALD SURAK                      Professional Fees                        2520
  10/1/2018   Check Paid 122023             RONALD SURAK                      Professional Fees                        3510
  10/1/2018   Check Paid 122022             RALPH KOSMIDES_S                  Interest Expense                     2006.54
  9/28/2018   Misc. Fees                                                      Bank Fee                                   14
  9/28/2018   Check Paid 122039             JAMES S ELLIOTT                   Professional Fees                        1000
  9/28/2018   Check Paid 122031             DAPHNE MALINSKY                   Professional Fees                        1665
  9/27/2018   Check Paid 122036             HMWC CPAS & BUSINESS ADV INC      Accounting Fees                           138
  9/27/2018   Check Paid 122028             COX COMMUNICATION                 Telephone Expense                      399.62
  9/27/2018   Check Paid 122024             UPS INC                           Delivery Expenses                      135.21
  9/27/2018   Check Paid 122019             LIFE STORAGE                      Rent Storage Expense                   353.05
  9/27/2018   Check Paid 122007             SOUTHERN CALIFORNIA EDISON        Ulitity Expense                      3899.21
  9/27/2018   Return Item Fee 00000000000                                     Bank Fee                                   32
  9/26/2018   Check Paid 122044             PURITAN BAKERY                    Bread (COGS)                           244.44
  9/26/2018   Check Paid 122032             FAMILY TREE PRODUCE               Diary Product (COGS)                   488.92
  9/26/2018   Check Paid 122016             FEDERAL EXPRESS                   Delivery Expenses                       35.09
  9/26/2018   Return Item Fee 00000000000                                     Bank Fee                                   32
  9/25/2018   Check Paid 122041             LOGMEIN INC                       IT Expenses                            958.75
  9/25/2018   Check Paid 122022                                               Interest Expense                     2006.54
  9/25/2018   Overdraft Fee 00000000000                                       Bank Fee                                   32
  9/25/2018   Overdraft Fee 00000000000                                       Bank Fee                                   32
  9/24/2018   Check Paid 122017             G & G BOOKKEEPING, INC.           Accounting Fees                          1600
  9/24/2018   Check Paid 122012             ANCHOR PRINTING                   Marketing                                 431
  9/24/2018   Check Paid 122040             LINDA PEZZIN                      Employee Incentive                      14.78
  9/24/2018   Check Paid 122020             NEXTIVA INC                       Telephone Expense                      551.79
  9/24/2018   Check Paid 122011             ACCOUNTEMPS                       Professional Fees                        2880
  9/21/2018   Check Paid 122013             CALIFORNIA RESTAURANT MUTUAL      Workers Compensation                 6813.79
  9/21/2018   Check Paid 122008             SOCALGAS                          Ulitity Expense                        348.54
  9/20/2018   Check Paid 122026             JAMES S ELLIOTT                   Professional Fees                         550
  9/20/2018   Overdraft Fee 00000000000                                       Bank Fee                                   32
  9/19/2018   Check Paid 122025             DAPHNE MALINSKY                   Professional Fees                        1620
  9/19/2018   Overdraft Fee 00000000000                                       Bank Fee                                   32
  9/18/2018   Check Paid 122018             JAMES S ELLIOTT                   Professional Fees                         850
  9/18/2018   Check Paid 122002             THE PAPER COMPANY                 Office Supplies                        337.61
  9/18/2018   Overdraft Fee 00000000000                                       Bank Fee                                   32
  9/17/2018   Check Paid 122014             DAPHNE MALINSKY                   Professional Fees                    1518.75
                                                                           TOTAL DISBURSEMENTS THIS PERIOD:      79,046.46
           Case 8:18-bk-13311-CB       Doc 127 APFiled 10/22/18 Entered 10/22/18 20:33:23
                                                   ACCOUNT                                  Desc
                                        Main Document      Page 35 of 85
                                         BANK RECONCILIATION

                    Bank statement Date:            10/7/2018   Balance on Statement:              $0.00

Plus deposits in transit (a):
                                              Deposit Date         Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                           0.00

Less Outstanding Checks (a):
                    Check Number              Check Date            Check Amount
                  122052                           9/19/2018                 329.33
                  122053                           9/19/2018               4,702.39
                  122055                           9/26/2018               2,934.00
                  122057                           9/26/2018               1,480.16
                  122058                           9/26/2018                   4.00
                  122060                           9/26/2018                 816.29
                  122061                           9/26/2018                 876.01
                  122062                           9/26/2018                  35.58
                  122063                           9/26/2018               3,090.90
                  122064                           9/26/2018                 156.11
                  122065                           9/26/2018                 134.20
                  122067                           9/26/2018                 307.00
                  122069                           9/26/2018                 182.07
                  122070                           9/26/2018               3,420.00
                  122071                           9/26/2018                  40.50
                  122073                           10/1/2018                 398.15
                  122074                           10/2/2018                 213.03
                  122107                           10/4/2018               2,934.00
                  122108                           10/4/2018                 399.62
                  122109                           10/4/2018               1,766.25
                  122110                           10/4/2018               4,773.69
                  122111                           10/4/2018                 125.00
                  122112                           10/4/2018                 174.89
                  122113                           10/4/2018                 700.00
                  122114                           10/4/2018                 268.40
                  122115                           10/4/2018                 950.00
                  122116                           10/4/2018                   5.89
                  122117                           10/4/2018                 552.82
                  122118                           10/4/2018                 247.19
                  122119                           10/4/2018                  74.35
                  122120                           10/4/2018               2,006.54
                  122121                           10/4/2018                  61.64
               Case 8:18-bk-13311-CB
                       122122                              Doc 127 Filed 10/22/18 Entered 10/22/18
                                                                       10/4/2018            3,420.00 20:33:23   Desc
                                                            Main Document     Page 36 of 85
                             122123                                    10/4/2018               55.00
                             122124                                    10/4/2018               28.83
                             122125                                    10/4/2018              716.50
                             122126                                    10/4/2018              563.35
                            EW OP ACCT ACTIVITY                        10/4/2018              666.28
                            EW OP ACCT ACTIVITY                        10/4/2018              136.78
                            EW OP ACCT ACTIVITY                        10/4/2018              352.28
                            EW OP ACCT ACTIVITY                        10/4/2018              120.00
                            EW OP ACCT ACTIVITY                        10/4/2018              182.76
                            EW OP ACCT ACTIVITY                        10/4/2018              675.00
                            EW OP ACCT ACTIVITY                        10/4/2018               79.60
                            EW OP ACCT ACTIVITY                        10/4/2018              279.91
                            EW OP ACCT ACTIVITY                        10/4/2018              238.15
                            EW OP ACCT ACTIVITY                        10/4/2018               71.69
                            EW OP ACCT ACTIVITY                        10/4/2018            4,046.92
                            EW OP ACCT ACTIVITY                        10/4/2018               10.00
                            EW OP ACCT ACTIVITY                        10/4/2018              273.20
                            EW OP ACCT ACTIVITY                        10/4/2018              157.24
                            EW OP ACCT ACTIVITY                        10/4/2018              208.11
                            EW OP ACCT ACTIVITY                        10/4/2018            1,337.30
                            EW OP ACCT ACTIVITY                        10/4/2018               75.16
                            EW OP ACCT ACTIVITY                        10/4/2018              160.21
                            EW OP ACCT ACTIVITY                        10/4/2018              441.00
                            EW OP ACCT ACTIVITY                        10/4/2018              219.30
                            EW OP ACCT ACTIVITY                        10/4/2018               50.00
                            EW OP ACCT ACTIVITY                        10/4/2018              164.09
                            EW OP ACCT ACTIVITY                        10/4/2018              502.00
                            EW OP ACCT ACTIVITY                        10/4/2018               68.36
                            EW OP ACCT ACTIVITY                        10/4/2018            3,049.77
                            EW OP ACCT ACTIVITY                        10/4/2018              502.84
                            EW OP ACCT ACTIVITY                        10/4/2018               71.80
                            EW OP ACCT ACTIVITY                        10/4/2018               98.80
TOTAL OUTSTANDING CHECKS:                                                                                        53,182.23

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                          ($53,182.23)

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
               Case 8:18-bk-13311-CBI. DDoc 127 Filed
                                        SUMMARY       10/22/18OF Entered
                                                  SCHEDULE       CASH 10/22/18 20:33:23                                               Desc
                                         Main Document    Page 37 of 85
ENDING BALANCES FOR THE PERIOD:
                               (Provide a copy of monthly account statements for each of the below)


                                                                       General Account:                            139,220.33
                                                                       Payroll Account:                                  0.00
                                                                          AP Account:                                    0.00
    *Other Accounts:


       *Other Monies:
                                                         **Petty Cash (from below):                                           0.00

TOTAL CASH AVAILABLE:                                                                                                                139,220.33



Petty Cash Transactions:
        Date                                 Purpose                                                            Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                             0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions
        Case 8:18-bk-13311-CB   Doc 127 Filed
                  II. STATUS OF PAYMENTS      10/22/18 CREDITORS,
                                          TO SECURED    Entered 10/22/18 20:33:23
                                                                    LESSORS            Desc
                                 Main Document    Page 38 of 85
                        AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                      Post-Petition
                         Frequency of Payments                     payments not made
Creditor, Lessor, Etc.         (Mo/Qtr)          Amount of Payment     (Number)        Total Due




                                                                        TOTAL DUE:                 0.00
             Case 8:18-bk-13311-CB       Doc 127
                       II. STATUS OF PAYMENTS        FiledCREDITORS,
                                              TO SECURED   10/22/18 LESSORS
                                                                      Entered 10/22/18 20:33:23                                      Desc
                                          MainTODocument
                             AND OTHER PARTIES                 Page 39 of 85
                                                  EXECUTORY CONTRACTS

                                                                                          Post-Petition
                                                                                       payments not made
 Creditor, Lessor, Etc.        Frequency of Payments (Mo/Qtr)        Amount of Payment     (Number)                  Total Due
IRS                        Monthly                                                 12050                                 67,023.00




                                                                                                TOTAL DUE:               67,023.00



                                                    III. TAX LIABILITIES [1]

FOR THE REPORTING PERIOD:
                                                                             Gross Sales Subject to Sales Tax:
                                                                                           Total Wages Paid:

                                                                      Total Post-Petition                        Date Delinquent
                                                                       Amounts Owing Amount Delinquent            Amount Due
                           Federal Withholding
                           State Withholding
                           FICA- Employer's Share
                           FICA- Employee's Share
                           Federal Unemployment                                  67,023             67,023.00
                           Sales and Use
                           Real Property
                  Other:
                                                           TOTAL:              67,023.00              67,023.00
[1] Tax amounts were owed at the end of the period, but the timing of the periods is the only reason. No amount was dilinquent.
            Case 8:18-bk-13311-CB   Doc
                            IV. AGING OF 127 FiledPAYABLE
                                         ACCOUNTS  10/22/18AND
                                                             Entered 10/22/18 20:33:23
                                                               RECEIVABLE                                            Desc
                                     Main Document     Page 40 of 85
                                                                               Accounts Payable         Accounts Receivable [1]
                                                                                  Post-Petition      Pre-Petition      Post-Petition
                                                              30 days or less          95,117.51                             5,369.20
                                                                31 - 60 days                             21,937.16
                                                                61 - 90 days
                                                               91 - 120 days
                                                              Over 120 days
                                                                    TOTAL:             95,117.51         21,937.16           5,369.20
                                                                              [1] Net of Allowance for Doubtful Receivables.

                                                     V. INSURANCE COVERAGE

                                                                                   Amount of     Policy Expiration   Premium Paid
                                                  Name of Carrier                  Coverage            Date          Through (Date)
                    General Liability   First Insurance                         $2M                      8/31/2019
              Worker's Compensation     California Restaurant Mutual            $1.833 M                12/31/2018
                            Casualty    First Insurance                         $25M                     8/31/2019
                             Vehicle    N/A
            Others:


                                        VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                     (TOTAL PAYMENTS)

Quarterly Period         Total                                                                                       Quarterly Fees
    Ending           Disbursements                 Quarterly Fees                   Date Paid      Amount Paid        Still Owing
Quarter 3                                                              325.00                                                 325.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                                                                                0.00
                                                                       325.00                                 0.00            325.00
               Case 8:18-bk-13311-CB  Doc 127
                             VII SCHEDULE      Filed 10/22/18 PAID
                                          OF COMPENSATION      Entered  10/22/18 20:33:23
                                                                    TO INSIDERS                                               Desc
                                       Main Document     Page 41 of 85

                                                            Date of Order                                                     Gross
                                                             Authorizing                                                 Compensation Paid
             Name of Insider                                Compensation                  *Authorized Gross Compensation During the Month




                                      VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                            Date of Order
                                                             Authorizing                                                  Amount Paid
             Name of Insider                                Compensation                           Description           During the Month




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
Case 8:18-bk-13311-CB  Doc 127
              VII SCHEDULE      Filed 10/22/18 PAID
                           OF COMPENSATION      Entered  10/22/18 20:33:23
                                                     TO INSIDERS                 Desc
                        Main Document     Page 42 of 85

                            Date of Order                                        Gross
                             Authorizing                                    Compensation Paid
Name of Insider             Compensation    Authorized Gross Compensation   During the Month




                  VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                            Date of Order
                             Authorizing                                     Amount Paid
Name of Insider             Compensation             Description            During the Month
          Case 8:18-bk-13311-CB        Doc
                                        IX. 127  Filed
                                            PROFIT AND 10/22/18  Entered 10/22/18 20:33:23
                                                        LOSS STATEMENT                            Desc
                                        Main Document      Page 43 of 85
                                                 (ACCRUAL BASIS ONLY)

                                                            Current Month       Cumulative Post-Petition
Sales/Revenue:                                           Partial Period 9 [1]
    Gross Sales/Revenue                                             36,379.28                 36,379.28
    Less: Returns/Discounts                                            982.58                    982.58
                                       Net Sales/Revenue            35,396.70                 35,396.70

Cost of Goods Sold:
    Beginning Inventory at cost
    Purchases
    Less: Ending Inventory at cost
                               Cost of Goods Sold (COGS)            6,111.81                   6,111.81

Gross Profit                                                       29,284.89                  29,284.89

    Other Operating Income (Itemize)

Operating Expenses:
   Payroll - Insiders                                                   0.00                       0.00
   Payroll - Other Employees                                        5,986.76                   5,986.76
   Payroll Taxes                                                    5,628.70                   5,628.70
   Other Taxes (Itemize)                                                0.00                       0.00
   Depreciation and Amortization                                        0.00                       0.00
   Rent Expense - Real Property                                     3,024.33                   3,024.33
   Lease Expense - Personal Property                                    0.00                       0.00
   Insurance                                                       24,575.63                  24,575.63
   Real Property Taxes                                                  0.00                       0.00
   Telephone and Utilities                                          1,587.67                   1,587.67
   Repairs and Maintenance                                             61.29                      61.29
   Travel and Entertainment (Itemize)                                 447.20                     447.20
   Miscellaneous Operating Expenses (Itemize)                      35,041.03                  35,041.03
                                Total Operating Expenses           76,352.61                  76,352.61
                         Net Gain/(Loss) from Operations          (47,067.72)                (47,067.72)

Non-Operating Income:
   Interest Income
   Net Gain on Sale of Assets (Itemize)
   Other (Itemize)
                             Total Non-Operating income                 0.00                       0.00

Non-Operating Expenses:
   Interest Expense                                                   443.03                     443.03
   Legal and Professional (Itemize)                                12,438.44                  12,438.44
   Other (Itemize)                                                      0.00                       0.00
                            Total Non-Operating Expenses           12,881.47                  12,881.47

NET INCOME/(LOSS)                                                 (59,949.19)                (59,949.19)


[1] Schedule Date Range: 9/5/2018 to 9/9/2018.
   Case 8:18-bk-13311-CB       Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23   Desc
                                Main Document    Page 44 of 85



Row Labels                                    Sum of Current
 Miscellaneous Operating Expenses (Itemize)           35,041
    ACCOUNTING                                         1,038
    AUTO                                                    33
    BUSINESS MEETINGS                                    208
    CASH OVER OR SHORT                                   169
    CONTRACT MAINTENANCE                                 563
    COSTCO GIFT CARD DISCOUNTS                        14,133
    EMP INCENTIVE-CONTROLLABLE                               4
    FLOWERS & DECORATIONS                                 -
    KIDS MEALS                                              70
    LEGAL                                                   20
    MENU TESTING                                         152
    MENUS                                                 -
    MISC OPERATING EXPENSE                               707
    OFFICE SUPPLIES                                      431
    OUTSIDE SERVICES                                  15,301
    POSTAGE                                              273
    Total Non Controllable Expense                     1,226
    Total Supplies                                       712
    UNIFORMS                                              -
 Travel and Entertainment (Itemize)                      447
    HOTEL                                                447
 Legal and Professional (Itemize)                     12,438
    GlassRatner Advisory and Capital Group            12,438
Grand Total                                           47,927
               Case 8:18-bk-13311-CB                         Doc 127 Filed 10/22/18AND
                                                                       IX. PROFIT    Entered 10/22/18 20:33:23
                                                                                       LOSS STATEMENT                                                Desc
                                                              Main Document    Page 45 of 85
                                                                                               (ACCRUAL BASIS ONLY)
                                                                                                   Period 10
                                                                                                 Current Period                      Cumulative Post-Petition
Sales/Revenue:
    Gross Sales/Revenue                                                                                  241,327.67                                277,706.95
    Less: Returns/Discounts                                                                                5,355.11                                  6,337.69
                                                             Net Sales/Revenue                           235,972.56                                271,369.26

Cost of Goods Sold:
    Beginning Inventory at cost
    Purchases
    Less: Ending Inventory at cost
                              Cost of Goods Sold (COGS)                                                    32,534.60                                38,646.41

Gross Profit                                                                                             203,437.96                                232,722.85

       Other Operating Income (Itemize)                                                                             0.00

Operating Expenses:
    Payroll - Insiders                                                                                         0.00                                      0.00
    Payroll - Other Employees                                                                             81,117.72                                 87,104.48
    Payroll Taxes                                                                                         12,671.14                                 18,299.84
    Other Taxes (Itemize)                                                                                      0.00                                      0.00
    Depreciation and Amortization                                                                            268.62                                    268.62
    Rent Expense - Real Property                                                                          11,718.41                                 14,742.74
    Lease Expense - Personal Property                                                                          0.00                                      0.00
    Insurance                                                                                              9,893.32                                 34,468.95
    Real Property Taxes                                                                                      339.41                                    339.41
    Telephone and Utilities                                                                                5,561.52                                  7,149.19
    Repairs and Maintenance                                                                                2,431.33                                  2,492.62
    Travel and Entertainment (Itemize)                                                                       296.33                                    743.53
    Miscellaneous Operating Expenses (Itemize)                                                            68,502.43                                103,543.46
                                 Total Operating Expenses                                                192,800.23                                269,152.84
                                        Net Gain/(Loss) from Operations                                    10,637.73                                (36,429.99)

Non-Operating Income:
    Interest Income                                                                                             0.00
    Net Gain on Sale of Assets (Itemize)                                                                        0.00
    Other Non-Op Income (Itemize)                                                                          19,801.16                                19,801.16
                             Total Non-Operating income                                                    19,801.16                                19,801.16

Non-Operating Expenses:
    Interest Expense                                                                                       1,495.52                                  1,938.55
[1] Legal and Professional (Itemize)                                                                     366,132.80                                378,571.24
    Other (Itemize)                                                                                            0.00                                      0.00
                            Total Non-Operating Expenses                                                 367,628.32                                380,509.79

NET INCOME/(LOSS)                                                                                       (337,189.43)                              (397,138.62)
[1] The allocation of fees to the period are based on estimated numbers. Fees for Partial Period 9 of PSZJ allocated to Period 10.
   Case 8:18-bk-13311-CB       Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23   Desc
                                Main Document    Page 46 of 85



Row Labels                                    Sum of Current
 Legal and Professional (Itemize)                    366,133
    GlassRatner Advisory & Capital Group               55,981
    PSZJ                                             310,152
 Miscellaneous Operating Expenses (Itemize)            68,502
    ACCOUNTING                                          7,903
    AUTO                                                  725
    BANK CHARGES                                          386
    BUSINESS MEETINGS                                       11
    CASH OVER OR SHORT                                   (372)
    CONTRACT MAINTENANCE                                2,790
    COSTCO GIFT CARD DISCOUNT                             -
    COSTCO GIFT CARD DISCOUNTS                            -
    DONATIONS                                             -
    EMP INCENTIVE-CONTROLLABLE                               9
    EMPLOYEE INCENTIVES                                     49
    FLOWERS & DECORATIONS                                 -
    FUNDRAISERS                                           760
    KIDS MEALS                                            562
    LEGAL                                                 -
    LICENSE & PERMITS                                        4
    LINEN & DRY CLEANING                                  115
    LSM-LOCAL PRINT                                         40
    LSM-PROGRAMS                                             6
    LSM-PROMO PRINT                                       167
    MENU TESTING                                            55
    MENUS                                                 -
    MISC OPERATING EXPENSE                                706
    NATIONAL ADVERTISING FEE                            1,200
    OFFICE SUPPLIES                                     1,533
    OUTSIDE SERVICES                                   48,726
    POSTAGE                                               200
    PROMO & ADVERTISING                                   -
    RECRUITING EXPENSE                                    100
    REGIONAL ADVERTISING FEE                            1,200
    RESEARCH & DEVELOPMENT                                  17
    TELEPHONE                                             -
    Total Supplies                                      1,733
    UNIFORMS                                             (120)
 Other Non-Op Income (Itemize)                        (19,801)
    MISCELLANEOUS INCOME                                  (87)
    REBATE INCOME                                     (19,715)
 Travel and Entertainment (Itemize)                       296
    HOTEL                                                 361
    SPECIAL EVENTS/ENTERTAIN EXP                          (64)
Grand Total                                          415,130
            Case 8:18-bk-13311-CB           Doc  127 Filed
                                             X. BALANCE     10/22/18 Entered 10/22/18 20:33:23
                                                         SHEET                                                 Desc
                                            (ACCRUAL BASIS ONLY) Page 47 of 85
                                             Main  Document

ASSETS                                                            Current Month End
  Current Assets:
  Unrestricted Cash                                                      114,580.82
  Restricted Cash                                                              0.00
  Accounts Receivable                                                     27,306.36    [1]
  Inventory                                                               18,292.02
  Reimbursements                                                       2,641,230.55
  Prepaid Expenses                                                        38,471.21
  Other (Itemize)                                                      5,859,040.42
                                         Total Current Assets                                 8,698,921.38

Property, Plant, and Equipment                                           465,464.97
Accumulated Depreciation/Depletion                                      (416,676.58)
                         Net Property, Plant, and Equipment                                      48,788.39

Other Assets (Net of Amortization):
  Due from Insiders                                                      101,064.85
  Other (Itemize)
                                           Total Other Assets                                   101,064.85
TOTAL ASSETS                                                                                  8,848,774.62

LIABILITIES
Post-petition Liabilities:
  Accounts Payable                                                       117,767.71
  Taxes Payable                                                              566.61
  Notes Payable                                                           (3,127.02)
  Professional fees                                                      378,571.24
  Secured Debt                                                                 0.00
  Other (Itemize)                                                        388,069.66
                                Total Post-petition Liabilities                                 881,848.20

Pre-petition Liabilities:
   Secured Liabilities                                                 2,984,923.00
   Priority Liabilities [2]                                              193,801.78
   Unsecured Liabilities                                              19,262,905.49
   Other (Itemize)
                                 Total Pre-petition Liabilities                              22,441,630.27
TOTAL LIABILITIES                                                                            23,323,478.47

EQUITY:
  Pre-petition Owners’ Equity                                        (14,080,665.34)
  Post-petition Profit/(Loss)                                           (397,138.62)
  Direct Charges to Equity                                                 3,100.11
TOTAL EQUITY                                                                                 (14,474,703.85)
TOTAL LIABILITIES & EQUITY                                                                     8,848,774.62
  [1] Allowance of Doubtful Receivables for $685,715.
  [2] Subject to change based on analysis after the PoC filing Bar Date.
  Note: Certain adjustments to various balance sheet accounts including the intercompany reimbursement
   accounts and investment accounts were made. Including write downs for investments in closed stores.
  Case 8:18-bk-13311-CB    Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23   Desc
                            Main Document    Page 48 of 85



Row Labels                           Sum of Total
 Other (Itemize)                       5,859,040
    INVESTMENT (SOCAL DINERS)          2,593,193
    INVESTMENT IN LP                     (64,217)
    INVESTMENT IN LP (BEACH VENTUR     1,167,340
    INVESTMENT IN PASADENA                12,461
    INVSTMT IN LP (SCP)                 (191,768)
    MAIN ACCOUNT                              -
    NET K1 INC/LOSS-LP                 2,342,032
 Unrestricted Cash                       114,581
    CASH IN REGISTER                        3,950
    Chase Bank                             (9,738)
    East West Bank Master                163,679
    East West Bank Op                    (53,182)
    FARMERS & MERCHANTS - RDI               9,872
Grand Total                            5,973,621
   Case 8:18-bk-13311-CB        Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23   Desc
                                 Main Document    Page 49 of 85



Row Labels                                    Sum of Amount
 Other (Itemize)                                      388,070
    ACCRUED ADVERTISING-NATIONAL                        1,496
    ACCRUED ADVERTISING-REGIONAL                        1,496
    CONS GIFT CARD LIABILITY                           28,210
    DUE TO RDI WOODBRIDGE DEBTOR                     (101,360)
    GIFT CARDS                                        (23,242)
    REIMB. FROM BEACHCOMBER                             7,096
    REIMB. FROM CRYSTAL COVE TRANS                        694
    REIMB. FROM FRANCHISE                               8,122
    REIMB. FROM SOCAL DINERS                            5,036
    Wages Payable (Used to be Main Account)           463,603
    WORKERS COMP PAYABLE                               (3,083)
Grand Total                                           388,070
Case 8:18-bk-13311-CB   Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23   Desc
                         Main Document    Page 50 of 85
        Case 8:18-bk-13311-CB                 Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                   Desc
                                               Main Document    Page 51 of 85
                                                                                   September 08, 2018 through October 05, 2018
     JPMorgan Chase Bank, N.A.
                                                                                    Account Number: 000000427692095
     Southwest Market

     P O Box 182051

     Columbus, OH 43218 - 2051
                                                                                     Customer Service Information

                                                                                 If you have any questions about your
                                                                                 statement, please contact your
                                                                                 Customer Service Professional.
     00000073 WBS 703 211 27918 NNNNNNNNNNN   2 000000000 86 0000


     RUBY'S DINER INC

     \MASTER ACCOUNT

     4100 MACARTHUR BLVD STE 310

     NEWPORT BEACH CA 92660-2050




                                                                                                                                            00000730501000000025
                                          Cash Deposit Reconciliation Notice
    For branch cash deposits, if there is a discrepancy over $2, the Bank will adjust the Customers deposit account and an

    adjustment fee or transaction fee may be charged. If the cash deposit discrepancy is $2 or less, the Bank will not adjust

    the Customers deposit account, no fee will be charged, and the discrepancy amount will be retained by the Bank.




                          IMPORTANT DISCLOSURES REGARDING SWEEP ACCOUNTS

    As an industry leader, JPMorgan Chase Bank, N.A. (the Bank) recognizes the importance of healthy and transparent

    financial markets. In accordance with requirements of the Federal Deposit Insurance Corporation (FDIC), we are

    required to remind customers of the following. Please refer to your legal agreement or sweep statement to identify your

    sweep service with the Bank. If you have further questions, please contact your banking representative.




    End-of-Day Investment Sweeps ( JPMorgan Chase Bank, N.A. London Branch, International Banking Facility
    (IBF), and/or Fed Funds Purchased), US Dollar Pooling & Cross Border Sweeps In the event of a failure of the
    Bank, funds swept offshore or to the London Branch Deposit Investment Vehicle, IBF Investment Vehicle or the Fed

    Funds Investment Vehicle, as reflected on the Banks end-of-day ledger balance, would not be considered deposits by

    the FDIC, and the beneficial owner of such funds would be treated as an unsecured general creditor of the receivership

    estate of the Bank.




    Intra-day & End-of-Day Investment Sweep - JPMorgan Money Market Funds
    In the event of a failure of the Bank, funds swept to a money market fund, as reflected on the Banks end-of-day ledger

    balance, would not be considered deposits by the FDIC. However, the FDIC would treat the beneficial owners swept

    funds in one of two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds

    would be returned back into the beneficial owners deposit account on the business day following the failure of the Bank;

    or (b) if the failed Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to

    reacquire the beneficial owners allotted interest in the money market fund in accordance with the FDICs normal

    procedures.




    Intra-day Investment Sweep - Third Party Money Market Funds (Invesco, Blackrock, Dreyfus, Federated,
    Fidelity, Goldman Sachs, & Morgan Stanley)




Please examine this statement of account at once.      By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.

                                                                                                                Page 1 of 10
         Case 8:18-bk-13311-CB                 Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                    Desc
                                                Main Document    Page 52 of 85
                                                                                     September 08, 2018 through October 05, 2018


                                                                                      Account Number: 000000427692095


   In the event of a failure of the Bank, funds swept to a money market fund (whether the sweep actually occurs will

   depend on the transaction cut-off time used by the FDIC), as reflected on the Banks end-of-day ledger balance, would

   not be considered deposits by the FDIC.     However, the FDIC would treat the beneficial owners swept funds in one of

   two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds would be returned

   back into the beneficial owners deposit account on the business day following the failure of the Bank; or (b) if the failed

   Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to reacquire the

   beneficial owners allotted interest in the money market fund in accordance with the FDICs normal procedures. If the

   funds are not swept, such funds would remain in the deposit account, be treated as deposits, and be insured under the

   applicable insurance rules and limits of the FDIC.




   End-of-Day Loan Sweep & Fed Funds Borrowed Sweep
   In the event of a failure of the Bank, funds swept as part of the Loan Payment Option, or the pay down component of

   the Loan Borrowing and Payment Option or the payment component of Fed Funds Borrowed, as reflected on the

   Banks end-of-day ledger balance, would not be considered deposits by the FDIC, but such swept funds would reduce

   the loan balance or Fed Funds Borrowed balance owed by the customer to the receivership estate of the Bank.




   Physical Cash Concentration (In-Country Sweeps, Cross Currency Sweeps & Just In Time Funding (JIT))
   In the event of a failure of the Bank, funds transferred as part of a cash concentration product will be considered

   deposits of the account in which the funds are held, as reflected on the Banks end-of-day ledger balance, by the FDIC

   after completion of all transactions related to the cash concentration product and will be insured by the FDIC under its

   applicable insurance rules up to applicable limits.




   Multibank Sweep
   In the event of a failure of the Bank, (a) funds transferred from the Master Account at JPMorgan as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Participant Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.   If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Master Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC. (b) Funds transferred to the Bank from the Participant Account Bank as part of

   the Multibank Sweep Service will be treated as deposits in the Master Account, as reflected on the Banks end-of-day

   ledger balance, and would be insured under the applicable rules and limits of the FDIC.




   Multibank Sweep Contra
   In the event of a failure of the Bank, (a) funds transferred from the Participant Account at the Bank as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Master Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.   If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Participant Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC.   (b) Funds transferred to the Bank from the Master Account Bank as part of the

   Service will be treated as deposits in the Participant Account, as reflected on the Bank end-of-day ledger balance, and

   would be insured under the applicable rules and limits of the FDIC.




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   subject to applicable laws and regulations and service terms.




Commercial Checking
Summary
                                                              Number                      Market Value/Amount                     Shares


Opening Ledger Balance                                                                          $47,747.12



Deposits and Credits                                              58                           $355,573.76



Withdrawals and Debits                                            20                           $402,959.20



Checks Paid                                                        0                                  $0.00




                                                                                                                   Page 2 of 10
         Case 8:18-bk-13311-CB            Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                 Desc
                                           Main Document    Page 53 of 85
                                                                           September 08, 2018 through October 05, 2018


                                                                            Account Number: 000000427692095


                                                         Number                    Market Value/Amount                    Shares


Ending Ledger Balance                                                                       $361.68

Deposits and Credits
Ledger        Description                                                                                               Amount
Date
09/10         Orig CO Name:5/3 Bankcard Sys        Orig ID:7300604847 Desc Date:090918                            $5,514.33

              CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071754539319




                                                                                                                                   10000730502000000065
              Eed:180910    Ind ID:4445026455527            Ind Name:Rubys Diner - Irvine

              Mercury       Comb. Dep.    Te Rm 1366358           Batch 00000 000346

              Rubys Diner - Irvine Trn: 2534539319Tc


09/10         Orig CO Name:5/3 Bankcard Sys        Orig ID:7300604847 Desc Date:090818                              3,895.35

              CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071754539322

              Eed:180910    Ind ID:4445026455527            Ind Name:Rubys Diner - Irvine

              Mercury       Comb. Dep.    Te Rm 1366358           Batch 00000 000345

              Rubys Diner - Irvine Trn: 2534539322Tc


09/10         Orig CO Name:5/3 Bankcard Sys        Orig ID:7300604847 Desc Date:090718                              2,162.32

              CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071754539316

              Eed:180910    Ind ID:4445026455527            Ind Name:Rubys Diner - Irvine

              Mercury       Comb. Dep.    Te Rm 1366358           Batch 00000 000344

              Rubys Diner - Irvine Trn: 2534539316Tc


09/10         Orig CO Name:Merchant Bnkcd          Orig ID:1680338392 Desc Date:180907                                  200.00

              CO Entry Descr:Deposit   Sec:CCD     Trace#:091000014539314 Eed:180910

              Ind ID:226199415994            Ind Name:Ruby's Diner Internet Trn:

              2534539314Tc


09/10         Orig CO Name:Merchant Bnkcd          Orig ID:1680338392 Desc Date:180908                                   25.00

              CO Entry Descr:Deposit   Sec:CCD     Trace#:091000014539325 Eed:180910

              Ind ID:226199415994            Ind Name:Ruby's Diner Internet Trn:

              2534539325Tc


09/11         Orig CO Name:5/3 Bankcard Sys        Orig ID:7300604847 Desc Date:091018                              5,367.47

              CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071759004984

              Eed:180911    Ind ID:4445026455527            Ind Name:Rubys Diner - Irvine

              Mercury       Comb. Dep.    Te Rm 1366358           Batch 00000 000347

              Rubys Diner - Irvine Trn: 2549004984Tc


09/11         Orig CO Name:Uber USA              Orig ID:1320456349 Desc Date:SEP 10                                    487.83

              CO Entry Descr:EDI Paymntsec:CCD       Trace#:028000083778899

              Eed:180911    Ind ID:6Qjjo4E1Skz39Jw           Ind Name:Rubys Diner -

              Irvine    Ref*TN*6Qjjo4E1Sk\

              Partner Trn: 2543778899Tc


09/12         Orig CO Name:5/3 Bankcard Sys        Orig ID:7300604847 Desc Date:091118                              2,212.89

              CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071757247793

              Eed:180912    Ind ID:4445026455527            Ind Name:Rubys Diner - Irvine

              Mercury       Comb. Dep.    Te Rm 1366358           Batch 00000 000348

              Rubys Diner - Irvine Trn: 2557247793Tc


09/13         Fedwire Credit Via: Opus Bank/122239270 B/O: Ruby's Diner, Inc Newport                              68,396.79

              Beach CA 92663 Ref: Chase Nyc/Ctr/Bnf=Ruby's Diner Inc Newport Beach

              CA 92660-2050/Ac-0000 00004276 Rfb=O/B Opus Bk Irvi Imad:

              0913Gmqfmp01009969 Trn: 4906109256Ff

              YOUR REF:     O/B OPUS BK IRVI


09/13         Fedwire Credit Via: East-West Bank/322070381 B/O: Ruby's Huntington                                 52,772.35

              Beach, Ltd.(Opera4100 Macarthur Blvd Ste 310 Ref: Chase

              Nyc/Ctr/Bnf=Ruby's Diner Inc Newport Beach CA 92660-2050/Ac-0000

              00004276 Rfb=O/B Ew Bk Smrino Imad: 0913L2B77Q1C000788 Trn:

              5214209256Ff

              YOUR REF:     O/B EW BK SMRINO


09/13         Fedwire Credit Via: East-West Bank/322070381 B/O: Rubys Oceanside,                                  43,975.72

              Ltd.Operating 4100 Macarthur Blvd Ste 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

              Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

              Smrino Imad: 0913L2B77Q1C000835 Trn: 5274409256Ff

              YOUR REF:     O/B EW BK SMRINO




                                                                                                         Page 3 of 10
         Case 8:18-bk-13311-CB             Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                Desc
                                            Main Document    Page 54 of 85
                                                                            September 08, 2018 through October 05, 2018


                                                                              Account Number: 000000427692095



Deposits and Credits        (continued)
Ledger       Description                                                                                                 Amount
Date
09/13        Fedwire Credit Via: East-West Bank/322070381 B/O: Rubys Palm Springs,                                 25,145.86

             Ltd. Operating 4100 Macarthur Blvd Ste 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0913L2B77Q1C000794 Trn: 5217509256Ff

             YOUR REF:     O/B EW BK SMRINO


09/13        Fedwire Credit Via: East-West Bank/322070381 B/O: Ruby's Laguna Hills,                                24,554.02

             Ltd. (Operatin4100 Macarthur Blvd Suite 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0913L2B77Q1C000791 Trn: 5216209256Ff

             YOUR REF:     O/B EW BK SMRINO


09/13        Fedwire Credit Via: East-West Bank/322070381 B/O: Ruby's Huntington                                     6,113.16

             Beach, Ltd.(Opera4100 Macarthur Blvd Ste 310 Ref: Chase

             Nyc/Ctr/Bnf=Ruby's Diner Inc Newport Beach CA 92660-2050/Ac-0000

             00004276 Rfb=O/B Ew Bk Smrino Imad: 0913L2B77Q1C000792 Trn:

             5216609256Ff

             YOUR REF:     O/B EW BK SMRINO


09/13        Fedwire Credit Via: East-West Bank/322070381 B/O: Rubys Oceanside,                                      5,124.48

             Ltd.Operating 4100 Macarthur Blvd Ste 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0913L2B77Q1C000834 Trn: 5273709256Ff

             YOUR REF:     O/B EW BK SMRINO


09/13        Fedwire Credit Via: East-West Bank/322070381 B/O: Rubys Palm Springs,                                   2,618.20

             Ltd. Operating 4100 Macarthur Blvd Ste 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0913L2B77Q1C000790 Trn: 5215209256Ff

             YOUR REF:     O/B EW BK SMRINO


09/13        Fedwire Credit Via: East-West Bank/322070381 B/O: Ruby's Laguna Hills,                                  2,480.78

             Ltd. (Operatin4100 Macarthur Blvd Suite 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0913L2B77Q1C000795 Trn: 5218009256Ff

             YOUR REF:     O/B EW BK SMRINO


09/13        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:091218                              2,416.66

             CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071757353533

             Eed:180913    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358          Batch 00000 000349

             Rubys Diner - Irvine Trn: 2567353533Tc


09/14        Fedwire Credit Via: Opus Bank/122239270 B/O: Ruby's Diner, Inc Newport                                  9,475.57

             Beach CA 92663 Ref: Chase Nyc/Ctr/Bnf=Ruby's Diner Inc Newport Beach

             CA 92660-2050/Ac-0000 00004276 Rfb=O/B Opus Bk Irvi Imad:

             0914Gmqfmp01009890 Trn: 4041609257Ff

             YOUR REF:     O/B OPUS BK IRVI


09/14        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:091318                              4,713.60

             CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071758548653

             Eed:180914    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358          Batch 00000 000350

             Rubys Diner - Irvine Trn: 2578548653Tc


09/14        Orig CO Name:Merchant Bnkcd            Orig ID:1680338392 Desc Date:180913                                   95.00

             CO Entry Descr:Deposit       Sec:CCD   Trace#:091000018548651 Eed:180914

             Ind ID:226199415994               Ind Name:Ruby's Diner Internet Trn:

             2578548651Tc


09/14        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:091318                                   84.40

             CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071758548656

             Eed:180914    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366360          Batch 00000 000007

             Rubys Diner - Irvine Trn: 2578548656Tc




                                                                                                          Page 4 of 10
         Case 8:18-bk-13311-CB             Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                Desc
                                            Main Document    Page 55 of 85
                                                                            September 08, 2018 through October 05, 2018


                                                                              Account Number: 000000427692095



Deposits and Credits        (continued)
Ledger       Description                                                                                                 Amount
Date
09/17        Fedwire Credit Via: Opus Bank/122239270 B/O: Ruby's Diner, Inc Newport                                14,865.38

             Beach CA 92663 Ref: Chase Nyc/Ctr/Bnf=Ruby's Diner Inc Newport Beach

             CA 92660-2050/Ac-0000 00004276 Rfb=O/B Opus Bk Irvi Imad:

             0917Gmqfmp01012168 Trn: 5109209260Ff




                                                                                                                                  10000730503000000065
             YOUR REF:     O/B OPUS BK IRVI


09/17        Fedwire Credit Via: East-West Bank/322070381 B/O: Ruby's Huntington                                     5,560.27

             Beach, Ltd.(Opera4100 Macarthur Blvd Ste 310 Ref: Chase

             Nyc/Ctr/Bnf=Ruby's Diner Inc Newport Beach CA 92660-2050/Ac-0000

             00004276 Rfb=O/B Ew Bk Smrino Imad: 0917L2B77Q1C001126 Trn:

             5859509260Ff

             YOUR REF:     O/B EW BK SMRINO


09/17        Fedwire Credit Via: East-West Bank/322070381 B/O: Rubys Oceanside,                                      4,830.46

             Ltd.Operating 4100 Macarthur Blvd Ste 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0917L2B77Q1C001142 Trn: 5900109260Ff

             YOUR REF:     O/B EW BK SMRINO


09/17        Fedwire Credit Via: East-West Bank/322070381 B/O: Rubys Palm Springs,                                   2,731.36

             Ltd. Operating 4100 Macarthur Blvd Ste 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0917L2B77Q1C001129 Trn: 5861909260Ff

             YOUR REF:     O/B EW BK SMRINO


09/17        Fedwire Credit Via: East-West Bank/322070381 B/O: Ruby's Laguna Hills,                                  2,286.68

             Ltd. (Operatin4100 Macarthur Blvd Suite 310 Ref: Chase Nyc/Ctr/Bnf=Ruby's

             Diner Inc Newport Beach CA 92660-2050/Ac-0000 00004276 Rfb=O/B Ew Bk

             Smrino Imad: 0917L2B77Q1C001127 Trn: 5860809260Ff

             YOUR REF:     O/B EW BK SMRINO


09/17        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:091618                              7,469.31

             CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071758700536

             Eed:180917    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358          Batch 00000 000353

             Rubys Diner - Irvine Trn: 2608700536Tc


09/17        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:091418                              4,749.19

             CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071758700539

             Eed:180917    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358          Batch 00000 000351

             Rubys Diner - Irvine Trn: 2608700539Tc


09/17        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:091518                              3,648.97

             CO Entry Descr:Comb. Dep.Sec:CCD         Trace#:242071758700542

             Eed:180917    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358          Batch 00000 000352

             Rubys Diner - Irvine Trn: 2608700542Tc


09/17        Orig CO Name:Merchant Bnkcd            Orig ID:1680338392 Desc Date:180916                                   50.00

             CO Entry Descr:Deposit       Sec:CCD   Trace#:091000018700545 Eed:180917

             Ind ID:226199415994               Ind Name:Ruby's Diner Internet Trn:

             2608700545Tc


09/17        Orig CO Name:Jpmrtn O/S Eserv          Orig ID:9999999999 Desc Date:180914                                   24.83

             CO Entry Descr:Rtnoffsetssec:CCD       Trace#:021000027086124 Eed:180917

             Ind ID:226199415994               Ind Name:Ruby's Diner Internet Trn:

             2607086124Tc


09/17        Orig CO Name:Jpmrtn O/S Eserv          Orig ID:9999999999 Desc Date:180914                                   19.56

             CO Entry Descr:Rtnoffsetssec:CCD       Trace#:021000027086126 Eed:180917

             Ind ID:226199415994               Ind Name:Ruby's Diner Internet Trn:

             2607086126Tc


09/17        Orig CO Name:Jpmrtn O/S Eserv          Orig ID:9999999999 Desc Date:180914                                    0.04

             CO Entry Descr:Rtnoffsetssec:CCD       Trace#:021000027086127 Eed:180917

             Ind ID:226199415994               Ind Name:Ruby's Diner Internet Trn:

             2607086127Tc




                                                                                                          Page 5 of 10
         Case 8:18-bk-13311-CB             Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                Desc
                                            Main Document    Page 56 of 85
                                                                            September 08, 2018 through October 05, 2018


                                                                              Account Number: 000000427692095



Deposits and Credits       (continued)
Ledger       Description                                                                                                 Amount
Date
09/18        Orig CO Name:5/3 Bankcard Sys           Orig ID:7300604847 Desc Date:091718                             5,745.63

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071759835136

             Eed:180918    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.      Te Rm 1366358           Batch 00000 000354

             Rubys Diner - Irvine Trn: 2619835136Tc


09/18        Orig CO Name:Uber USA                 Orig ID:1320456349 Desc Date:SEP 17                                   500.23

             CO Entry Descr:EDI Paymntsec:CCD          Trace#:028000089835139

             Eed:180918    Ind ID:F3AR4Ahy78Fpr7C              Ind Name:Rubys Diner -

             Irvine    Ref*TN*F3AR4Ahy78\

             Partner Trn: 2619835139Tc


09/18        Orig CO Name:Merchant Bnkcd             Orig ID:1680338392 Desc Date:180917                                  50.00

             CO Entry Descr:Deposit      Sec:CCD     Trace#:091000019835134 Eed:180918

             Ind ID:226199415994               Ind Name:Ruby's Diner Internet Trn:

             2619835134Tc


09/19        Orig CO Name:5/3 Bankcard Sys           Orig ID:7300604847 Desc Date:091818                             1,819.91

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071752103667

             Eed:180919    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.      Te Rm 1366358           Batch 00000 000355

             Rubys Diner - Irvine Trn: 2622103667Tc


09/19        Orig CO Name:Merchant Bnkcd             Orig ID:1680338392 Desc Date:180918                                  50.00

             CO Entry Descr:Deposit      Sec:CCD     Trace#:091000012103665 Eed:180919

             Ind ID:226199415994               Ind Name:Ruby's Diner Internet Trn:

             2622103665Tc


09/20        Orig CO Name:5/3 Bankcard Sys           Orig ID:7300604847 Desc Date:091918                             3,951.05

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071752036074

             Eed:180920    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.      Te Rm 1366358           Batch 00000 000356

             Rubys Diner - Irvine Trn: 2632036074Tc


09/21        Orig CO Name:5/3 Bankcard Sys           Orig ID:7300604847 Desc Date:092018                             2,225.65

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071750735447

             Eed:180921    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.      Te Rm 1366358           Batch 00000 000357

             Rubys Diner - Irvine Trn: 2640735447Tc


09/21        Orig CO Name:Doordash, Inc.           Orig ID:1800948598 Desc Date:      CO                                 322.38

             Entry Descr:Transfer   Sec:CCD     Trace#:091000010735450 Eed:180921        Ind

             ID:Barranca                 Ind Name:X Trn: 2640735450Tc


09/24        Orig CO Name:5/3 Bankcard Sys           Orig ID:7300604847 Desc Date:092118                             2,478.94

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071753898107

             Eed:180924    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.      Te Rm 1366358           Batch 00000 000358

             Rubys Diner - Irvine Trn: 2673898107Tc


09/25        Orig CO Name:Uber USA                 Orig ID:1320456349 Desc Date:SEP 24                                   548.01

             CO Entry Descr:EDI Paymntsec:CCD          Trace#:028000087696371

             Eed:180925    Ind ID:Gwvgcm84Jb180PC               Ind Name:Rubys Diner -

             Irvine    Ref*TN*Gwvgcm84Jb\

             Partner Trn: 2687696371Tc


09/25        Orig CO Name:Jpmrtn O/S Eserv           Orig ID:9999999999 Desc Date:180924                                 159.70

             CO Entry Descr:Rtnoffsetssec:CCD        Trace#:021000021025997 Eed:180925

             Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine Trn:

             2681025997Tc


09/26        Orig CO Name:5/3 Bankcard Sys           Orig ID:7300604847 Desc Date:092518                             6,651.69

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071754432143

             Eed:180926    Ind ID:4445026455527              Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.      Te Rm 1366358           Batch 00000 000360

             Rubys Diner - Irvine Trn: 2694432143Tc




                                                                                                          Page 6 of 10
         Case 8:18-bk-13311-CB              Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                Desc
                                             Main Document    Page 57 of 85
                                                                             September 08, 2018 through October 05, 2018


                                                                               Account Number: 000000427692095



Deposits and Credits        (continued)
Ledger       Description                                                                                                  Amount
Date
09/26        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:092518                               5,841.03

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071754432145

             Eed:180926    Ind ID:4445026455527               Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358           Batch 00000 000361




                                                                                                                                   10000730504000000065
             Rubys Diner - Irvine Trn: 2694432145Tc


09/26        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:092518                               4,368.11

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071754432140

             Eed:180926    Ind ID:4445026455527               Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358           Batch 00000 000359

             Rubys Diner - Irvine Trn: 2694432140Tc


09/26        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:092518                               2,252.64

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071754432147

             Eed:180926    Ind ID:4445026455527               Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358           Batch 00000 000362

             Rubys Diner - Irvine Trn: 2694432147Tc


09/27        Reversal                                                                                                     380.00


09/27        Orig CO Name:5/3 Bankcard Sys          Orig ID:7300604847 Desc Date:092618                               2,349.09

             CO Entry Descr:Comb. Dep.Sec:CCD          Trace#:242071756177463

             Eed:180927    Ind ID:4445026455527               Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Dep.       Te Rm 1366358           Batch 00000 000363

             Rubys Diner - Irvine Trn: 2706177463Tc


09/27        Orig CO Name:Jpmrtn O/S Eserv           Orig ID:9999999999 Desc Date:180926                                  380.00

             CO Entry Descr:Rtnoffsetssec:CCD        Trace#:021000021722519 Eed:180927

             Ind ID:226199415994                Ind Name:Ruby's Diner Internet Trn:

             2701722519Tc


09/28        Orig CO Name:Doordash, Inc.           Orig ID:1800948598 Desc Date:       CO                                 140.89

             Entry Descr:Transfer   Sec:CCD      Trace#:091000012881375 Eed:180928       Ind

             ID:Barranca                  Ind Name:X Trn: 2712881375Tc


10/02        Orig CO Name:Uber USA                Orig ID:1320456349 Desc Date:Oct 01 CO                                  405.20

             Entry Descr:EDI Paymntsec:CCD         Trace#:028000088743545 Eed:181002

             Ind ID:0W363H8O3Cmywi4                Ind Name:Rubys Diner - Irvine

             Ref*TN*0W363H8O3C\                                                Partner Trn:

             2758743545Tc


10/04        Reversal                                                                                                     200.00


10/04        Orig CO Name:Jpmrtn O/S Eserv           Orig ID:9999999999 Desc Date:181003                                  200.00

             CO Entry Descr:Rtnoffsetssec:CCD        Trace#:021000026330123 Eed:181004

             Ind ID:226199415994                Ind Name:Ruby's Diner Internet Trn:

             2776330123Tc


10/04        Orig CO Name:Jpmrtn O/S Eserv           Orig ID:9999999999 Desc Date:181003                                  124.10

             CO Entry Descr:Rtnoffsetssec:CCD        Trace#:021000026330125 Eed:181004

             Ind ID:Q4199835904                 Ind Name:Rubys Diner Trn: 2776330125Tc


10/05        Orig CO Name:Doordash, Inc.           Orig ID:1800948598 Desc Date:       CO                                 361.68

             Entry Descr:Transfer   Sec:CCD      Trace#:091000018098576 Eed:181005       Ind

             ID:Barranca                  Ind Name:X Trn: 2788098576Tc


Total                                                                                                           $355,573.76

Withdrawals and Debits
Ledger       Description                                                                                                  Amount
Date
09/10        Cash Concentration Transfer Debit To Account 000000427692103 Trn:                                      $8,134.41

             0021310710Xf


09/10        Cash Concentration Transfer Debit To Account 000000427692111 Trn:                                            525.28

             0022090710Xf


09/11        Cash Concentration Transfer Debit To Account 000000427692103 Trn:                                        2,637.58

             0019890710Xf




                                                                                                           Page 7 of 10
         Case 8:18-bk-13311-CB           Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                 Desc
                                          Main Document    Page 58 of 85
                                                                           September 08, 2018 through October 05, 2018


                                                                             Account Number: 000000427692095



Withdrawals and Debits        (continued)
Ledger       Description                                                                                                Amount
Date
09/12        Cash Concentration Transfer Debit To Account 000000427692103 Trn:                                      2,715.29

             0019630710Xf


09/13        Fedwire Debit Via: Wells Fargo NA/121000248 A/C: Paycom Payroll, LLC US                            125,354.76

             Ref:/Time/15:01 Imad: 0913B1Qgc02C003895 Trn: 5893300256Jo

             YOUR REF:     NONREF


09/14        JPMorgan Access Transfer To Account000000427692103                                                 120,000.00

             YOUR REF:     1003071257SB


09/14        Orig CO Name:Merchant Bnkcd          Orig ID:1680338392 Desc Date:180913                                    24.83

             CO Entry Descr:Fee       Sec:CCD     Trace#:091000019285283 Eed:180914

             Ind ID:226199415994             Ind Name:Ruby's Diner Internet Trn:

             2579285283Tc


09/14        Orig CO Name:Merchant Bnkcd          Orig ID:1680338392 Desc Date:180913                                    19.56

             CO Entry Descr:Interchng Sec:CCD      Trace#:091000019285279 Eed:180914

             Ind ID:226199415994             Ind Name:Ruby's Diner Internet Trn:

             2579285279Tc


09/14        Orig CO Name:Merchant Bnkcd          Orig ID:1680338392 Desc Date:180913                                     0.04

             CO Entry Descr:Discount    Sec:CCD    Trace#:091000019285281 Eed:180914

             Ind ID:226199415994             Ind Name:Ruby's Diner Internet Trn:

             2579285281Tc


09/17        JPMorgan Access Transfer To Account000000427692103                                                   50,000.00

             YOUR REF:     1002506260SB


09/17        Account Analysis Settlement Charge                                                                     3,605.48


09/18        JPMorgan Access Transfer To Account000000427692103                                                   20,000.00

             YOUR REF:     1003244261SB


09/24        Orig CO Name:5/3 Bankcard Sys        Orig ID:7300604847 Desc Date:092318                                   159.70

             CO Entry Descr:Comb. Exc.Sec:CCD       Trace#:242071754843817

             Eed:180924    Ind ID:4445026455527            Ind Name:Rubys Diner - Irvine

             Mercury       Comb. Exc.    444 5026455527    Rubys Diner - Irvine    BC

             Rubys Diner - Irvine Trn: 2674843817Tc


09/26        JPMorgan Access Transfer To Account000000427692103                                                   15,000.00

             YOUR REF:     1003861269SB


09/26        Orig CO Name:Merchant Bnkcd          Orig ID:1680338392 Desc Date:180925                                   380.00

             CO Entry Descr:Deposit     Sec:CCD    Trace#:091000014973855 Eed:180926

             Ind ID:226199415994             Ind Name:Ruby's Diner Internet Trn:

             2694973855Tc


09/28        ACH Return Settlement Debit                                                                                380.00


10/03        Orig CO Name:Merchant Bnkcd          Orig ID:1680338392 Desc Date:181002                                   200.00

             CO Entry Descr:Deposit     Sec:CCD    Trace#:091000010107982 Eed:181003

             Ind ID:226199415994             Ind Name:Ruby's Diner Internet Trn:

             2760107982Tc


10/03        Orig CO Name:Paypal Inc            Orig ID:1770406822 Desc Date:      CO                                   124.10

             Entry Descr:Paypal    Sec:PPD    Trace#:091000010107984 Eed:181003         Ind

             ID:Q4199835904               Ind Name:Rubys Diner Trn: 2760107984Tc


10/05        Fedwire Debit Via: Ew Bk Smrino/322070381 A/C: Ruby's Diner Inc Master                               53,498.17

             US Imad: 1005B1Qgc07C015472 Trn: 5961000275Jo

             YOUR REF:     NONREF


10/05        ACH Return Settlement Debit                                                                                200.00


Total                                                                                                         $402,959.20




                                                                                                         Page 8 of 10
        Case 8:18-bk-13311-CB           Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                   Desc
                                         Main Document    Page 59 of 85
                                                                           September 08, 2018 through October 05, 2018


                                                                            Account Number: 000000427692095



Daily Balance
                                              Ledger                                                                     Ledger
Date                                         Balance        Date                                                        Balance
09/10                                     $50,884.43        09/24                                               $45,781.81

09/11                                     $54,102.15        09/25                                               $46,489.52

09/12                                     $53,599.75        09/26                                               $50,222.99

09/13                                    $161,843.01        09/27                                               $53,332.08

09/14                                     $56,167.15        09/28                                               $53,092.97




                                                                                                                                  10000730505000000065
09/17                                     $48,797.72        10/02                                               $53,498.17

09/18                                     $35,093.58        10/03                                               $53,174.07

09/19                                     $36,963.49        10/04                                               $53,698.17

09/20                                     $40,914.54        10/05                                                       $361.68

09/21                                     $43,462.57




           Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                         Page 9 of 10
Case 8:18-bk-13311-CB   Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23          Desc
                         Main Document    Page 60 of 85




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                                                                  Page 10 of 10
        Case 8:18-bk-13311-CB                 Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                   Desc
                                               Main Document    Page 61 of 85
                                                                                   September 08, 2018 through October 05, 2018
     JPMorgan Chase Bank, N.A.
                                                                                    Account Number: 000000427692103
     Southwest Market

     P O Box 182051

     Columbus, OH 43218 - 2051
                                                                                     Customer Service Information

                                                                                 If you have any questions about your
                                                                                 statement, please contact your
                                                                                 Customer Service Professional.
     00000071 WBS 703 211 27918 NNNNNNNNNNN   2 000000000 86 0000


     RUBY'S DINER INC

     PAYROLL ACCOUNT

     4100 MACARTHUR BLVD

     STE 310




                                                                                                                                            00000710401000000024
     NEWPORT BEACH CA 92660-2050




                          IMPORTANT DISCLOSURES REGARDING SWEEP ACCOUNTS

    As an industry leader, JPMorgan Chase Bank, N.A. (the Bank) recognizes the importance of healthy and transparent

    financial markets. In accordance with requirements of the Federal Deposit Insurance Corporation (FDIC), we are

    required to remind customers of the following. Please refer to your legal agreement or sweep statement to identify your

    sweep service with the Bank. If you have further questions, please contact your banking representative.




    End-of-Day Investment Sweeps ( JPMorgan Chase Bank, N.A. London Branch, International Banking Facility
    (IBF), and/or Fed Funds Purchased), US Dollar Pooling & Cross Border Sweeps In the event of a failure of the
    Bank, funds swept offshore or to the London Branch Deposit Investment Vehicle, IBF Investment Vehicle or the Fed

    Funds Investment Vehicle, as reflected on the Banks end-of-day ledger balance, would not be considered deposits by

    the FDIC, and the beneficial owner of such funds would be treated as an unsecured general creditor of the receivership

    estate of the Bank.




    Intra-day & End-of-Day Investment Sweep - JPMorgan Money Market Funds
    In the event of a failure of the Bank, funds swept to a money market fund, as reflected on the Banks end-of-day ledger

    balance, would not be considered deposits by the FDIC. However, the FDIC would treat the beneficial owners swept

    funds in one of two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds

    would be returned back into the beneficial owners deposit account on the business day following the failure of the Bank;

    or (b) if the failed Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to

    reacquire the beneficial owners allotted interest in the money market fund in accordance with the FDICs normal

    procedures.




    Intra-day Investment Sweep - Third Party Money Market Funds (Invesco, Blackrock, Dreyfus, Federated,
    Fidelity, Goldman Sachs, & Morgan Stanley)
    In the event of a failure of the Bank, funds swept to a money market fund (whether the sweep actually occurs will

    depend on the transaction cut-off time used by the FDIC), as reflected on the Banks end-of-day ledger balance, would

    not be considered deposits by the FDIC.    However, the FDIC would treat the beneficial owners swept funds in one of

    two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds would be returned

    back into the beneficial owners deposit account on the business day following the failure of the Bank; or (b) if the failed

    Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to reacquire the

    beneficial owners allotted interest in the money market fund in accordance with the FDICs normal procedures. If the




Please examine this statement of account at once.      By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.

                                                                                                                Page 1 of 8
         Case 8:18-bk-13311-CB                 Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                    Desc
                                                Main Document    Page 62 of 85
                                                                                     September 08, 2018 through October 05, 2018


                                                                                      Account Number: 000000427692103


   funds are not swept, such funds would remain in the deposit account, be treated as deposits, and be insured under the

   applicable insurance rules and limits of the FDIC.




   End-of-Day Loan Sweep & Fed Funds Borrowed Sweep
   In the event of a failure of the Bank, funds swept as part of the Loan Payment Option, or the pay down component of

   the Loan Borrowing and Payment Option or the payment component of Fed Funds Borrowed, as reflected on the

   Banks end-of-day ledger balance, would not be considered deposits by the FDIC, but such swept funds would reduce

   the loan balance or Fed Funds Borrowed balance owed by the customer to the receivership estate of the Bank.




   Physical Cash Concentration (In-Country Sweeps, Cross Currency Sweeps & Just In Time Funding (JIT))
   In the event of a failure of the Bank, funds transferred as part of a cash concentration product will be considered

   deposits of the account in which the funds are held, as reflected on the Banks end-of-day ledger balance, by the FDIC

   after completion of all transactions related to the cash concentration product and will be insured by the FDIC under its

   applicable insurance rules up to applicable limits.




   Multibank Sweep
   In the event of a failure of the Bank, (a) funds transferred from the Master Account at JPMorgan as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Participant Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.   If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Master Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC. (b) Funds transferred to the Bank from the Participant Account Bank as part of

   the Multibank Sweep Service will be treated as deposits in the Master Account, as reflected on the Banks end-of-day

   ledger balance, and would be insured under the applicable rules and limits of the FDIC.




   Multibank Sweep Contra
   In the event of a failure of the Bank, (a) funds transferred from the Participant Account at the Bank as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Master Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.   If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Participant Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC.   (b) Funds transferred to the Bank from the Master Account Bank as part of the

   Service will be treated as deposits in the Participant Account, as reflected on the Bank end-of-day ledger balance, and

   would be insured under the applicable rules and limits of the FDIC.




    2018 JPMorgan Chase & Co. All Rights Reserved. JPMorgan Chase Bank, N.A. Member FDIC. All services are

   subject to applicable laws and regulations and service terms.




Commercial Checking
Summary
                                                              Number                      Market Value/Amount                    Shares


Opening Ledger Balance                                                                                $0.00



Deposits and Credits                                               8                           $218,625.31



Withdrawals and Debits                                             0                                  $0.00



Checks Paid                                                     526                            $210,686.87



Ending Ledger Balance                                                                             $7,938.44




                                                                                                                   Page 2 of 8
            Case 8:18-bk-13311-CB             Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                Desc
                                               Main Document    Page 63 of 85
                                                                               September 08, 2018 through October 05, 2018


                                                                                Account Number: 000000427692103



Deposits and Credits
Ledger             Description                                                                                             Amount
Date
09/10              Cash Concentration Transfer Credit From Account 000000427692095 Trn:                               $8,134.41

                   0021320710Xf


09/11              Cash Concentration Transfer Credit From Account 000000427692095 Trn:                                    2,637.58

                   0019900710Xf




                                                                                                                                      10000710402000000064
09/12              Cash Concentration Transfer Credit From Account 000000427692095 Trn:                                    2,715.29

                   0019640710Xf


09/13              Orig CO Name:45025 Snoozetown          Orig ID:1364227403 Desc                                           138.03

                   Date:180913 CO Entry Descr:Dir Dep     Sec:PPD   Trace#:043000097353536

                   Eed:180913    Ind ID:3002493              Ind Name:Jessica Shabaz

                   461901300 Trn: 2567353536Tc


09/14              JPMorgan Access Transfer From Account000000427692095                                             120,000.00

                   YOUR REF:     1003071257SB


09/17              JPMorgan Access Transfer From Account000000427692095                                               50,000.00

                   YOUR REF:     1002506260SB


09/18              JPMorgan Access Transfer From Account000000427692095                                               20,000.00

                   YOUR REF:     1003244261SB


09/26              JPMorgan Access Transfer From Account000000427692095                                               15,000.00

                   YOUR REF:     1003861269SB


Total                                                                                                             $218,625.31

Checks Paid
          Check    Date Paid       Amount         Check    Date Paid      Amount          Check     Date Paid              Amount
        2162562    09/17           $232.15    22161357*    09/19          $452.85      22161578*    09/12                   $64.74

        2262341*   09/25           $545.18    22161367*    09/13          $644.51      22161583*    09/10                  $206.54

    22156843*      09/27           $128.69    22161370*    10/01          $715.06      22161586*    09/17                  $614.15

    22157349*      09/27            $40.05    22161373*    09/10          $185.26      22161590*    09/10                   $46.71

    22159392*      09/17           $202.41    22161381*    09/13          $244.48      22161591     09/10                   $91.04

    22159667*      09/10           $144.41    22161386*    09/17          $178.12      22161600*    09/10                  $130.25

    22159772*      09/12           $348.04    22161392*    09/24          $468.43      22161602*    09/12                  $293.54

    22160092*      09/10           $249.73    22161393     09/20          $635.28      22161607*    09/28                  $377.42

    22160159*      09/10           $142.94    22161395*    09/14          $450.17      22161618*    09/17                  $511.57

    22160364*      09/10           $785.60    22161400*    09/24           $70.34      22161619     10/02                  $434.38

    22160429*      09/17           $243.24    22161404*    09/11           $64.61      22161620     09/19                  $215.60

    22160508*      09/10           $364.57    22161408*    09/18           $52.10      22161625*    09/10                  $179.08

    22160541*      09/26           $398.78    22161422*    09/14          $165.67      22161635*    09/21                  $303.04

    22160562*      09/19            $86.93    22161431*    09/24          $288.72      22161636     09/12                  $408.86

    22160609*      09/19           $257.73    22161434*    09/21          $358.21      22161637     09/12                   $73.08

    22160634*      09/25            $45.43    22161437*    09/10          $485.57      22161639*    09/18                   $72.96

    22160843*      10/01            $54.33    22161443*    09/11           $76.40      22161642*    09/14                  $221.73

    22160856*      09/12           $833.24    22161453*    09/10          $118.08      22161643     09/25                  $175.03

    22160871*      09/11           $252.97    22161463*    09/10          $348.00      22161648*    09/10                  $384.56

    22160896*      09/13           $711.03    22161469*    09/18          $285.89      22161662*    09/10                  $442.58

    22160900*      10/01           $267.95    22161470     09/10          $864.78      22161669*    09/13                  $235.66

    22160916*      09/17           $134.76    22161473*    09/10          $343.67      22161675*    09/13                  $275.93

    22160954*      09/14           $157.87    22161486*    09/10           $40.68      22161681*    09/24                  $104.51

    22160992*      09/10           $378.88    22161495*    09/11           $95.49      22161686*    10/01             $1,686.16

    22161043*      09/19            $81.48    22161506*    09/13          $965.04      22161697*    09/17                  $377.83

    22161049*      09/28           $436.53    22161510*    09/11          $284.38      22161707*    09/10                  $423.62

    22161064*      09/10           $178.44    22161523*    09/10          $208.92      22161708     09/11                  $265.45

    22161082*      09/24           $141.75    22161524     09/17          $339.52      22161721*    09/19                  $214.93

    22161097*      09/14           $270.15    22161525     09/13          $295.84      22161724*    09/18                  $284.06

    22161126*      09/10           $129.39    22161533*    09/10          $190.69      22161733*    09/10                  $204.89

    22161184*      09/10           $324.30    22161551*    09/24           $34.46      22161752*    09/11                  $361.98

    22161234*      09/17           $278.38    22161556*    09/10          $133.34      22161755*    09/17                   $20.10

    22161310*      09/12           $100.00    22161558*    09/10           $74.05      22161765*    09/18             $1,256.85

    22161313*      09/11           $139.70    22161565*    09/14          $270.58      22161767*    09/10                  $206.86

    22161328*      09/12           $593.79    22161567*    09/11          $451.63      22161770*    09/25             $1,086.75

    22161336*      10/02           $259.42    22161570*    09/14          $324.10      22162216*    09/24                  $100.00

    22161342*      09/11           $305.47    22161574*    09/13          $421.97      22162217     09/17                  $374.91

    22161350*      09/11           $339.50    22161575     09/24          $177.99      22162218     09/18                   $69.02

    22161355*      09/10           $126.98    22161576     09/17          $400.98      22162219     09/18                   $94.10



                                                                                                             Page 3 of 8
       Case 8:18-bk-13311-CB              Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                             Desc
                                           Main Document    Page 64 of 85
                                                                        September 08, 2018 through October 05, 2018


                                                                          Account Number: 000000427692103



Checks Paid       (continued)
     Check    Date Paid         Amount      Check     Date Paid     Amount         Check     Date Paid              Amount
  22162220    09/14             $427.72   22162289    09/14        $133.24     22162361      09/17                  $285.48

  22162221    09/14             $859.91   22162290    09/19        $359.40     22162362      09/19                  $125.60

  22162222    09/17             $620.18   22162291    09/18        $184.47     22162363      09/17                  $230.96

  22162223    09/18             $343.29   22162292    09/17        $283.58     22162364      09/19                  $308.04

  22162224    09/24             $467.06   22162293    09/20        $200.71     22162365      10/04                  $338.89

  22162225    09/14             $415.35   22162294    09/17        $362.21     22162366      09/20                  $289.06

  22162226    09/24             $913.96   22162295    09/24        $117.37     22162368*     10/05                  $250.34

  22162227    09/17             $159.86   22162296    09/17        $274.23     22162369      09/17                  $363.79

  22162229*   09/17             $613.36   22162297    09/24        $120.20     22162371*     09/18                  $934.72

  22162230    09/21             $740.51   22162298    09/20        $571.63     22162372      09/17                  $126.81

  22162231    09/17             $813.25   22162299    09/20        $551.28     22162373      09/18                  $216.98

  22162232    09/14             $824.67   22162300    09/14        $485.89     22162374      09/17                  $845.55

  22162233    09/19             $348.54   22162301    09/17        $482.11     22162375      09/14                  $310.62

  22162234    10/01             $737.11   22162302    09/14        $245.04     22162376      09/17                  $469.84

  22162235    09/17             $309.96   22162303    09/24        $160.62     22162377      10/01                  $332.92

  22162236    09/14             $573.77   22162304    09/14        $555.04     22162378      09/17             $1,009.81

  22162237    09/14             $676.25   22162306*   09/18         $90.03     22162381*     09/18                  $343.10

  22162238    09/24             $287.22   22162307    09/20        $311.72     22162382      09/27                   $61.80

  22162239    09/14        $1,417.44      22162308    09/24        $302.38     22162383      09/27                  $240.16

  22162240    10/02             $137.72   22162309    09/24        $157.86     22162384      09/17                  $573.40

  22162241    09/17             $207.51   22162310    09/17        $215.97     22162385      09/24                  $146.22

  22162242    10/02             $120.48   22162312*   09/27        $214.00     22162386      09/14             $1,281.67

  22162243    09/17             $188.03   22162313    09/17        $672.20     22162388*     09/14                  $380.40

  22162244    09/17             $420.31   22162314    09/17        $291.72     22162389      09/17                  $581.31

  22162245    09/18             $190.40   22162315    09/18        $410.18     22162390      09/18                  $407.17

  22162246    09/14             $275.56   22162316    09/17        $277.60     22162391      09/18                  $260.14

  22162247    09/14             $317.30   22162317    09/17        $336.22     22162392      09/17                  $172.92

  22162248    09/17             $270.74   22162318    09/18        $148.84     22162393      09/14                  $307.37

  22162249    09/17             $930.50   22162319    10/02        $205.60     22162394      09/18                  $212.73

  22162250    09/24             $206.89   22162320    09/17        $841.20     22162395      09/19                  $644.18

  22162251    10/01              $38.98   22162321    09/24         $47.73     22162396      09/20                  $366.08

  22162252    09/14             $110.94   22162322    09/17        $187.72     22162397      09/19                  $110.75

  22162254*   09/14        $1,088.39      22162323    09/17        $366.25     22162398      09/17                  $622.71

  22162255    09/14             $220.47   22162324    09/14        $987.74     22162399      09/19                  $569.84

  22162256    09/17             $212.46   22162325    09/27        $292.28     22162400      09/17                  $135.05

  22162257    09/14             $394.58   22162326    09/14        $170.24     22162401      09/14                  $426.25

  22162258    09/17             $508.96   22162327    10/02        $224.54     22162402      09/14                  $774.26

  22162259    09/17             $253.66   22162328    09/20        $799.13     22162403      09/17                  $331.39

  22162260    09/17             $374.61   22162329    09/18        $150.74     22162404      09/18                  $780.09

  22162261    10/02              $73.27   22162330    09/17        $487.26     22162405      09/14                  $228.25

  22162262    09/14             $351.20   22162331    09/14        $811.08     22162406      09/18             $1,138.37

  22162263    09/19             $186.83   22162332    09/19        $161.51     22162407      09/14                  $334.72

  22162264    09/17             $228.60   22162333    09/17        $334.32     22162408      10/02                  $639.69

  22162265    09/21             $256.38   22162334    09/17        $408.08     22162409      09/17                  $411.38

  22162266    09/17             $589.31   22162336*   09/17       $1,098.74    22162410      09/27                  $260.52

  22162267    09/17             $787.39   22162337    09/25        $306.84     22162411      09/24                   $40.59

  22162268    09/14             $806.05   22162338    09/28        $225.30     22162412      09/17                  $158.57

  22162269    09/18             $776.32   22162339    09/27        $113.08     22162413      09/26             $1,083.72

  22162270    09/18             $498.40   22162340    09/17        $408.56     22162414      09/20                  $678.72

  22162271    09/14             $813.29   22162342*   09/24        $506.50     22162415      09/24                   $90.71

  22162272    09/18             $618.94   22162343    09/17        $865.86     22162416      09/17                  $256.93

  22162273    09/14             $668.19   22162344    09/17        $228.37     22162417      09/24             $1,248.01

  22162274    09/14        $1,081.30      22162345    09/17        $475.06     22162418      09/28                  $299.98

  22162275    10/01             $726.61   22162346    09/19        $420.23     22162419      09/17                  $126.58

  22162276    10/02             $191.36   22162347    09/20        $821.53     22162420      09/17                  $401.10

  22162277    10/03             $126.59   22162348    09/17        $337.92     22162421      09/20                  $406.10

  22162278    09/18             $140.38   22162349    09/14        $669.52     22162422      09/18             $1,027.71

  22162279    09/17             $323.80   22162350    09/14        $677.53     22162423      10/03                  $216.91

  22162280    09/24             $189.45   22162351    09/17        $376.09     22162425*     09/17                  $323.43

  22162281    09/17             $149.23   22162353*   09/17        $308.69     22162426      09/17                  $309.15

  22162282    09/17        $1,069.29      22162354    09/25        $316.35     22162427      09/17                  $186.53

  22162283    09/17             $243.68   22162355    09/20        $172.10     22162428      09/14                  $278.14

  22162284    09/21             $215.40   22162356    09/14       $1,116.30    22162429      09/17                  $165.21

  22162285    09/14             $114.05   22162357    09/18        $214.14     22162430      09/14                  $410.36

  22162286    09/14             $113.66   22162358    09/17        $332.37     22162431      09/17                  $302.48

  22162287    09/17             $222.91   22162359    09/21        $425.45     22162432      09/18                  $159.28

  22162288    09/17             $214.93   22162360    09/20        $179.34     22162433      09/17                  $160.53



                                                                                                      Page 4 of 8
       Case 8:18-bk-13311-CB              Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                             Desc
                                           Main Document    Page 65 of 85
                                                                        September 08, 2018 through October 05, 2018


                                                                          Account Number: 000000427692103



Checks Paid       (continued)
     Check    Date Paid         Amount      Check     Date Paid     Amount         Check     Date Paid              Amount
  22162435*   09/17             $310.67   22162512    09/21        $368.49     22162584      10/01                  $546.22

  22162436    09/17             $304.61   22162513    09/25        $745.90     22162585      09/17                  $226.96

  22162437    09/17             $161.22   22162514    09/14        $221.97     22162586      09/14                  $294.32

  22162438    09/18        $1,776.83      22162515    09/17        $620.41     22162587      09/17                  $617.86

  22162439    09/18             $264.65   22162517*   09/19        $235.09     22162588      09/21                  $182.24

  22162440    09/17             $827.48   22162518    09/24        $702.72     22162589      09/17                  $392.74




                                                                                                                              10000710403000000064
  22162441    09/19              $97.60   22162519    09/18        $366.30     22162590      09/24                  $174.34

  22162442    10/04             $280.94   22162520    09/14        $390.41     22162591      09/19                  $126.49

  22162443    09/17             $726.94   22162521    09/17        $741.77     22162592      09/19                  $315.34

  22162444    09/17             $260.15   22162522    09/17        $148.22     22162593      09/24                   $97.83

  22162446*   09/17             $257.24   22162523    09/17        $313.71     22162594      09/17                  $202.52

  22162447    09/17             $107.41   22162524    09/14        $454.77     22162595      09/17                  $281.14

  22162448    09/19             $429.90   22162525    09/17        $850.95     22162596      09/17                  $316.48

  22162450*   09/14        $1,634.26      22162526    09/17        $347.47     22162597      09/14                  $582.52

  22162451    09/17             $576.08   22162527    09/17        $657.13     22162598      09/17                  $414.34

  22162452    09/17             $734.91   22162528    10/02        $201.39     22162599      09/20                  $252.92

  22162453    09/17             $380.17   22162531*   09/18        $438.15     22162600      09/18                   $41.84

  22162454    09/17              $91.34   22162532    09/28        $346.35     22162601      09/26                   $79.07

  22162455    09/17             $313.91   22162533    09/18         $38.20     22162602      09/14                  $954.37

  22162456    09/14             $160.12   22162534    09/19        $878.25     22162603      09/24                  $234.42

  22162457    09/17             $899.02   22162535    09/14        $362.91     22162604      09/18             $1,298.46

  22162458    09/17             $580.64   22162536    09/17        $444.31     22162605      09/17                  $334.01

  22162459    09/19             $306.29   22162537    09/17        $581.56     22162606      09/17                  $300.15

  22162460    09/17             $243.40   22162538    09/14        $472.48     22162607      09/19                  $162.94

  22162461    10/01             $205.74   22162539    09/14        $998.78     22162608      09/17                  $218.73

  22162462    09/19             $602.94   22162541*   09/17        $400.39     22162609      09/18                  $237.00

  22162464*   09/14             $751.19   22162542    09/14        $202.44     22162610      09/20                  $155.67

  22162465    09/17             $893.98   22162543    09/19        $129.55     22162611      10/02                  $176.62

  22162466    09/20             $420.54   22162544    09/18        $111.38     22162612      09/19                  $137.92

  22162467    10/03              $58.58   22162545    09/17        $222.76     22162613      09/14                  $678.80

  22162468    09/17        $1,154.77      22162546    09/17        $762.76     22162614      09/18                  $296.57

  22162469    09/18             $349.79   22162547    10/04        $174.79     22162615      09/18                  $236.29

  22162470    09/17             $111.54   22162548    09/20        $209.61     22162616      09/14                  $600.73

  22162471    10/02             $441.29   22162549    09/14        $793.65     22162617      09/17                  $324.64

  22162475*   09/18              $87.92   22162550    09/14        $645.26     22162618      09/14                  $524.67

  22162476    09/18             $214.44   22162551    09/14        $277.90     22162619      09/17                  $337.03

  22162477    09/21             $147.63   22162552    09/18        $294.01     22162620      09/20                  $307.95

  22162478    09/18             $788.10   22162553    10/02        $315.17     22162621      09/17                  $167.48

  22162479    09/17              $97.33   22162554    09/24        $222.25     22162622      09/17                  $429.47

  22162480    09/17             $714.45   22162555    09/17        $403.70     22162623      09/14                  $249.58

  22162481    09/20             $701.66   22162556    09/20        $716.59     22162624      09/17                   $62.00

  22162482    09/21             $266.78   22162557    09/24        $428.37     22162625      09/19                  $450.04

  22162483    09/17             $779.39   22162558    09/17        $158.77     22162626      09/17                  $176.66

  22162484    09/14             $871.37   22162559    09/14        $317.74     22162627      09/18                  $128.46

  22162485    09/27             $672.28   22162560    09/18        $253.47     22162628      09/19                  $593.89

  22162486    09/14             $402.13   22162561    09/14         $92.00     22162629      09/17                  $109.73

  22162487    09/20             $408.64   22162563*   09/17        $599.00     22162630      09/17                  $607.42

  22162488    09/17             $255.87   22162564    09/19        $763.48     22162631      09/18                  $273.60

  22162491*   09/24             $425.08   22162565    09/14       $2,027.25    22162632      09/14                  $532.95

  22162492    09/18             $198.75   22162566    09/19        $996.82     22162633      09/18                  $161.17

  22162493    09/17             $395.03   22162567    10/03        $240.75     22162634      09/24                  $186.26

  22162495*   09/13        $1,684.78      22162568    09/14        $445.06     22162635      09/14                  $762.23

  22162496    09/17             $268.18   22162569    09/14        $194.36     22162636      09/24                   $53.45

  22162497    09/17             $791.19   22162570    09/17        $585.84     22162637      09/21                  $633.64

  22162498    09/19             $896.89   22162571    09/14        $471.54     22162638      09/19                  $142.21

  22162499    09/17             $415.25   22162572    09/17        $401.19     22162639      09/17             $1,000.47

  22162500    09/24             $154.83   22162573    09/18        $105.21     22162640      09/19                  $357.52

  22162501    09/13             $481.09   22162574    09/24         $93.75     22162641      10/02                  $337.87

  22162502    09/17             $391.21   22162575    09/17        $449.26     22162642      09/17                  $140.44

  22162504*   09/14             $210.12   22162576    09/17        $319.28     22162643      09/17                   $54.36

  22162505    09/14             $135.33   22162577    09/14        $188.74     22162644      09/14                  $405.98

  22162506    09/28             $252.13   22162578    09/17        $716.08     22162645      09/14                  $234.37

  22162507    09/18             $839.97   22162579    10/01       $1,375.60    22162646      09/14                  $919.33

  22162508    09/17             $573.63   22162580    10/01        $107.25     22162647      09/17                  $475.47

  22162509    10/01             $589.55   22162581    09/17        $574.21     22162648      09/17                  $323.60

  22162510    09/20             $748.21   22162582    09/14        $787.26     22162649      09/18                   $72.31

  22162511    09/18        $1,059.03      22162583    09/17        $223.92     22162650      09/14                  $405.77



                                                                                                      Page 5 of 8
            Case 8:18-bk-13311-CB                Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                Desc
                                                  Main Document    Page 66 of 85
                                                                                  September 08, 2018 through October 05, 2018


                                                                                   Account Number: 000000427692103



Checks Paid              (continued)
         Check      Date Paid          Amount      Check    Date Paid        Amount          Check     Date Paid              Amount
     22162651       09/19              $124.80   22162654   09/17           $864.27      22162656      09/14             $1,377.04

     22162652       09/17              $213.81   22162655   09/24            $80.89      22162657      09/17                  $515.02

     22162653       09/18         $1,338.36




Total        526 check(s)                                                                                           $210,686.87
* indicates gap in sequence




Daily Balance
                                                      Ledger                                                                   Ledger
Date                                                 Balance        Date                                                      Balance
09/10                                                  $0.00        09/24                                              $14,512.13

09/11                                                  $0.00        09/25                                              $11,290.65

09/12                                                  $0.00        09/26                                              $24,729.08

09/13                                             -$5,822.30        09/27                                              $22,706.22

09/14                                             $68,151.98        09/28                                              $20,768.51

09/17                                             $52,481.59        10/01                                              $13,385.03

09/18                                             $49,849.93        10/02                                                $9,626.23

09/19                                             $37,557.53        10/03                                                $8,983.40

09/20                                             $27,653.06        10/04                                                $8,188.78

09/21                                             $23,755.29        10/05                                                $7,938.44




                  Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                                Page 6 of 8
          Case 8:18-bk-13311-CB              Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                    Desc
                                              Main Document    Page 67 of 85
                                                                                September 08, 2018 through October 05, 2018


                                                                                 Account Number: 000000427692103




       Ruby's Diner Inc

       Payroll Account




                                                                                                                                        10000710404000000064
Stop Payment Renewal Notice

Account Number     000000427692103                                                                    Bank Number:         703




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your

online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer

Service Representative.




Revoke             Sequence        Date              Renewal                  Low Range or                         High Range

Stop               Number          Entered           Date                    Check Number                            or Amount



                   0000091         12/17/2012        12/17/2018                   22042681                                $559.03

                   0000092         12/26/2012        12/26/2018                   22043035                                $146.08

                   0000093         12/27/2012        12/27/2018                   22043039                                $157.12

                   0000129         12/12/2013        12/12/2018                   22061639                            $1,574.98

                   0000130         12/17/2013        12/17/2018                   22061879                                 $82.62

                   0000131         12/23/2013        12/23/2018                   22063586                                $722.98

                   0000132         12/27/2013        12/27/2018                   22062442                                 $93.00

                   0000197         12/08/2014        12/08/2018                   22083319                            $1,327.70

                   0000198         12/08/2014        12/08/2018                   22078651                                $501.42

                   0000199         12/09/2014        12/09/2018                   22083594                                $168.86

                   0000200         12/09/2014        12/09/2018                   22083629                                $259.48

                   0000201         12/18/2014        12/18/2018                   22080789                                $250.17

                   0000202         12/23/2014        12/23/2018                   22083788                                 $47.86

                   0000268         12/16/2015        12/16/2018                   22102642                                $318.18

                   0000269         12/16/2015        12/16/2018                   22100546                                $405.91

                   0000270         12/30/2015        12/30/2018                   22097756                                $149.58

                   0000314         12/08/2016        12/08/2018                   22134425                                $460.76

                   0000315         12/09/2016        12/09/2018                   22134390                                $185.63




Ruby's Diner Inc                                                                       JPMorgan Chase Bank, N.A.

Payroll Account                                                                        Southwest Market

4100 Macarthur Blvd                                                                    P O Box 182051

Ste 310                                                                                Columbus    OH 43218-2051

Newport Beach CA 92660-2050




                                                                                                            Page 7 of 8
          Case 8:18-bk-13311-CB               Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                   Desc
                                               Main Document    Page 68 of 85

                                                                                September 08, 2018 through October 05, 2018


                                                                                 Account Number: 000000427692103




       Ruby's Diner Inc

       Payroll Account




Stop Payment Renewal Notice                  (continued)

Account Number     000000427692103                                                                   Bank Number:          703




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your

online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer

Service Representative.




Revoke             Sequence        Date              Renewal                  Low Range or                         High Range

Stop               Number          Entered           Date                    Check Number                            or Amount



                   0000316         12/22/2016        12/22/2018                   22131556                                $256.39

                   0000317         01/04/2017        01/04/2019                   22135293                                $213.64

                   0000359         12/18/2017        12/18/2018                   22090487                                $196.99




Ruby's Diner Inc                                                                       JPMorgan Chase Bank, N.A.

Payroll Account                                                                        Southwest Market

4100 Macarthur Blvd                                                                    P O Box 182051

Ste 310                                                                                Columbus    OH 43218-2051

Newport Beach CA 92660-2050




                                                                                                            Page 8 of 8
        Case 8:18-bk-13311-CB                 Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                   Desc
                                               Main Document    Page 69 of 85
                                                                                   September 08, 2018 through October 05, 2018
     JPMorgan Chase Bank, N.A.
                                                                                    Account Number: 000000427692111
     Southwest Market

     P O Box 182051

     Columbus, OH 43218 - 2051
                                                                                     Customer Service Information

                                                                                 If you have any questions about your
                                                                                 statement, please contact your
                                                                                 Customer Service Professional.
     00000063 WBS 703 211 27918 NNNNNNNNNNN   2 000000000 86 0000


     RUBY'S DINER INC

     AP ACCOUNT

     4100 MACARTHUR BLVD STE 310

     NEWPORT BEACH CA 92660-2050




                                                                                                                                            00000630301000000023
                          IMPORTANT DISCLOSURES REGARDING SWEEP ACCOUNTS

    As an industry leader, JPMorgan Chase Bank, N.A. (the Bank) recognizes the importance of healthy and transparent

    financial markets. In accordance with requirements of the Federal Deposit Insurance Corporation (FDIC), we are

    required to remind customers of the following. Please refer to your legal agreement or sweep statement to identify your

    sweep service with the Bank. If you have further questions, please contact your banking representative.




    End-of-Day Investment Sweeps ( JPMorgan Chase Bank, N.A. London Branch, International Banking Facility
    (IBF), and/or Fed Funds Purchased), US Dollar Pooling & Cross Border Sweeps In the event of a failure of the
    Bank, funds swept offshore or to the London Branch Deposit Investment Vehicle, IBF Investment Vehicle or the Fed

    Funds Investment Vehicle, as reflected on the Banks end-of-day ledger balance, would not be considered deposits by

    the FDIC, and the beneficial owner of such funds would be treated as an unsecured general creditor of the receivership

    estate of the Bank.




    Intra-day & End-of-Day Investment Sweep - JPMorgan Money Market Funds
    In the event of a failure of the Bank, funds swept to a money market fund, as reflected on the Banks end-of-day ledger

    balance, would not be considered deposits by the FDIC. However, the FDIC would treat the beneficial owners swept

    funds in one of two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds

    would be returned back into the beneficial owners deposit account on the business day following the failure of the Bank;

    or (b) if the failed Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to

    reacquire the beneficial owners allotted interest in the money market fund in accordance with the FDICs normal

    procedures.




    Intra-day Investment Sweep - Third Party Money Market Funds (Invesco, Blackrock, Dreyfus, Federated,
    Fidelity, Goldman Sachs, & Morgan Stanley)
    In the event of a failure of the Bank, funds swept to a money market fund (whether the sweep actually occurs will

    depend on the transaction cut-off time used by the FDIC), as reflected on the Banks end-of-day ledger balance, would

    not be considered deposits by the FDIC.    However, the FDIC would treat the beneficial owners swept funds in one of

    two ways: (a) if the failed Banks assets were transferred to an acquiring institution, the swept funds would be returned

    back into the beneficial owners deposit account on the business day following the failure of the Bank; or (b) if the failed

    Bank will be dissolved, the beneficial owner would receive a check or other payment from the FDIC to reacquire the

    beneficial owners allotted interest in the money market fund in accordance with the FDICs normal procedures. If the




Please examine this statement of account at once.      By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.

                                                                                                                Page 1 of 6
         Case 8:18-bk-13311-CB                 Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                    Desc
                                                Main Document    Page 70 of 85
                                                                                     September 08, 2018 through October 05, 2018


                                                                                      Account Number: 000000427692111


   funds are not swept, such funds would remain in the deposit account, be treated as deposits, and be insured under the

   applicable insurance rules and limits of the FDIC.




   End-of-Day Loan Sweep & Fed Funds Borrowed Sweep
   In the event of a failure of the Bank, funds swept as part of the Loan Payment Option, or the pay down component of

   the Loan Borrowing and Payment Option or the payment component of Fed Funds Borrowed, as reflected on the

   Banks end-of-day ledger balance, would not be considered deposits by the FDIC, but such swept funds would reduce

   the loan balance or Fed Funds Borrowed balance owed by the customer to the receivership estate of the Bank.




   Physical Cash Concentration (In-Country Sweeps, Cross Currency Sweeps & Just In Time Funding (JIT))
   In the event of a failure of the Bank, funds transferred as part of a cash concentration product will be considered

   deposits of the account in which the funds are held, as reflected on the Banks end-of-day ledger balance, by the FDIC

   after completion of all transactions related to the cash concentration product and will be insured by the FDIC under its

   applicable insurance rules up to applicable limits.




   Multibank Sweep
   In the event of a failure of the Bank, (a) funds transferred from the Master Account at JPMorgan as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Participant Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.   If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Master Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC. (b) Funds transferred to the Bank from the Participant Account Bank as part of

   the Multibank Sweep Service will be treated as deposits in the Master Account, as reflected on the Banks end-of-day

   ledger balance, and would be insured under the applicable rules and limits of the FDIC.




   Multibank Sweep Contra
   In the event of a failure of the Bank, (a) funds transferred from the Participant Account at the Bank as part of the

   Multibank Sweep Service (whether the transfer actually occurs will depend on the transaction cut-off time used by the

   FDIC, as reflected on the Banks end-of-day ledger balance) would not be considered deposits of the Bank by the FDIC.

   If the funds are transferred from the Bank, the FDIC would treat the funds as deposits at the Master Account Bank,

   subject to applicable insurance (if any) rules and limits of the FDIC.   If the funds are not transferred from the Bank, such

   funds would remain on deposit in the Participant Account, be treated as deposits at the Bank, and be insured under the

   applicable rules and limits of the FDIC.   (b) Funds transferred to the Bank from the Master Account Bank as part of the

   Service will be treated as deposits in the Participant Account, as reflected on the Bank end-of-day ledger balance, and

   would be insured under the applicable rules and limits of the FDIC.




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   subject to applicable laws and regulations and service terms.




Commercial Checking
Summary
                                                              Number                      Market Value/Amount                    Shares


Opening Ledger Balance                                                                                $0.00



Deposits and Credits                                               1                                $525.28



Withdrawals and Debits                                             0                                  $0.00



Checks Paid                                                        2                                $525.28



Ending Ledger Balance                                                                                 $0.00




                                                                                                                   Page 2 of 6
           Case 8:18-bk-13311-CB              Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                  Desc
                                               Main Document    Page 71 of 85
                                                                                 September 08, 2018 through October 05, 2018


                                                                                  Account Number: 000000427692111



Deposits and Credits
Ledger             Description                                                                                               Amount
Date
09/10              Cash Concentration Transfer Credit From Account 000000427692095 Trn:                                      $525.28

                   0022100710Xf


Total                                                                                                                        $525.28

Checks Paid




                                                                                                                                       10000630302000000063
         Check     Date Paid       Amount         Check    Date Paid        Amount          Check     Date Paid              Amount
        127836     09/10          $318.86        127837    09/10           $206.42




Total            2 check(s)                                                                                                  $525.28



Daily Balance
                                                    Ledger                                                                    Ledger
Date                                               Balance         Date                                                      Balance
09/10                                                 $0.00




                 Your service charges, fees and earnings credit have been calculated through account analysis.




                                                                                                               Page 3 of 6
Case 8:18-bk-13311-CB   Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23        Desc
                         Main Document    Page 72 of 85




                         This Page Intentionally Left Blank




                                                                  Page 4 of 6
          Case 8:18-bk-13311-CB              Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23                                    Desc
                                              Main Document    Page 73 of 85
                                                                                September 08, 2018 through October 05, 2018


                                                                                 Account Number: 000000427692111




       Ruby's Diner Inc

       Ap Account




                                                                                                                                        10000630303000000063
Stop Payment Renewal Notice

Account Number     000000427692111                                                                    Bank Number:         703




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your

online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer

Service Representative.




Revoke             Sequence        Date              Renewal                  Low Range or                         High Range

Stop               Number          Entered           Date                    Check Number                            or Amount



                   0000012         12/11/2012        12/11/2018                      120965                               $668.92

                   0000013         01/02/2013        01/02/2019                      120991                                $90.27

                   0000048         01/03/2017        01/03/2019                      124218                           $3,250.00




Ruby's Diner Inc                                                                       JPMorgan Chase Bank, N.A.

Ap Account                                                                             Southwest Market

4100 Macarthur Blvd Ste 310                                                            P O Box 182051

Newport Beach CA 92660-2050                                                            Columbus    OH 43218-2051




                                                                                                            Page 5 of 6
Case 8:18-bk-13311-CB   Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23        Desc
                         Main Document    Page 74 of 85




                         This Page Intentionally Left Blank




                                                                  Page 6 of 6
  Case 8:18-bk-13311-CB                Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23 Desc
                                        Main Document    Page 75 of 85            Direct inquiries to:
                                                                                                                       888 895-5650
  9300 Flair Drive Suite 106
  El Monte CA 91731
                                                                                                              ACCOUNT STATEMENT
                                                                                                                    Page 1           of     2
                                                                                      STARTING DATE: September 07, 2018
                                                                                          ENDING DATE: September 30, 2018
                                                                                              Total days in statement period: 24
                                                                                                                         55-00011613
                                                                                                                                    ( 0)


                                                                                               Set up Direct Deposit and allow your
           RUBY'S DINER, INC., A CALIFORNIA CORP.                                              payments to go into your account
           CHAPTER 11 DEBTOR IN POSSESSION (MASTER)                                            automatically. Save yourself a trip to the
           CASE # 8:18-BK-13311-MW
                                                                                               bank and no more waiting for paper
           4100 MACARTHUR BLVD SUITE 310
                                                                                               checks. Enrolling is easy! Talk to your
           NEWPORT BEACH CA 92660-2050
                                                                                               payer today.




Standard Business Checking


Account number                         55-00011613                Beginning balance                                       $0.00
Low balance                                        $0.00          Total additions                 ( 17)          370,678.24
Average balance                             $74,310.79            Total subtractions              ( 24)          195,848.49
                                                                  Ending balance                               $174,829.75




CREDITS
Number            Date          Transaction Description                                                               Additions
                  09-11     Deposit                                                                               55,737.09
                  09-17     Deposit                                                                                 7,950.08
                  09-18     Deposit                                                                               65,046.36
                  09-24     Pre-Auth Credit            AMZNJMBU3BDA AmazonLoca payments.amazon.co

                                                       m ID#IZNML179IO589 05                                             41.93
                  09-25     Transfer Credit            TRF FR ACCT 1501                                             2,440.90
                  09-25     Transfer Credit            TRF FR ACCT 1487                                             2,987.98
                  09-25     Transfer Credit            TRF FR ACCT 1543                                             4,853.15
                  09-25     Transfer Credit            TRF FR ACCT 1522                                             5,436.38
                  09-25     Wire Trans-IN              RUBY'S DINER SOUTH COAST PLAZA                                   865.38
                  09-25     Deposit                                                                               27,999.55
                  09-27     Wire Trans-IN              RUBY'S LAGUNA HILL S, LTD. (OPERATIN                       23,558.74
                  09-27     Wire Trans-IN              RUBYS PALM SPRINGS , LTD. OPERATING                        25,197.92
                  09-27     Wire Trans-IN              RUBY'S BEACH VENTU RES, LLC                                28,770.19
                  09-27     Wire Trans-IN              RUBY'S DINER SOUTH COAST PLAZA                             34,427.48
                  09-27     Wire Trans-IN              RUBYS OCEANSIDE, L TD.OPERATING                            37,978.75
                  09-27     Wire Trans-IN              RUBY'S HUNTINGTON BEACH, LTD.(OPERA                        43,539.87
                  09-28     Pre-Auth Credit            5/3 BANKCARD SYS COMB. DEP. MERCURY COMB.

                                                       DEP. TER M 1366358 BATCH 0000000                             3,846.49




DEBITS
Date      Transaction Description                                                                                 Subtractions
09-13    Preauth Debit        US FOODSERVICE VENDOR PAY 180913 091323856156000                                    10,806.17
09-14    Outgoing Wire        AFP Saddington LLP                                                                    5,000.00
09-14    Service Charge       OUTGOING WIRE                                                                              12.00
09-14    Preauth Debit        UNION BANK CARD ONLINE PAY 180914                                                     1,200.00
09-17    Preauth Debit        UNION BANK CARD ONLINE PAY 180917                                                     2,000.00
  Case 8:18-bk-13311-CB             Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23      Desc
                                                                             ACCOUNT STATEMENT
                                     Main Document    Page 76 of 85               Page 2 of                           2
                                                                                 STARTING DATE: September 07, 2018
  9300 Flair Drive Suite 106
                                                                                     ENDING DATE: September 30, 2018
  El Monte CA 91731
                                                                                                            55-00011613
         RUBY'S DINER, INC., A CALIFORNIA CORP.




Date     Transaction Description                                                                     Subtractions
09-18   Onln Bkg Trfn D     TO ACC 05500011627                                                         2,000.00
09-18   Preauth Debit       IRS USATAXPYMT 180918 270866161957284                                     12,050.00
09-19   Onln Bkg Trfn D     TO ACC 05500011627                                                         2,000.00
09-20   Onln Bkg Trfn D     TO ACC 05500011627                                                        10,000.00
09-21   Preauth Debit       US FOODSERVICE VENDOR PAY 180921 092123856156000                           9,342.62
09-24   Preauth Debit       CA DEPT TAX FEE CDTFA EPMT 180924 918977                                  10,372.00
09-25   Service Charge      WIRE TRANS-IN                                                                   10.00
09-25   Onln Bkg Trfn D     TO ACC 05500011627                                                         5,000.00
09-27   Service Charge      WIRE TRANS-IN                                                                   10.00
09-27   Service Charge      WIRE TRANS-IN                                                                   10.00
09-27   Service Charge      WIRE TRANS-IN                                                                   10.00
09-27   Service Charge      WIRE TRANS-IN                                                                   10.00
09-27   Service Charge      WIRE TRANS-IN                                                                   10.00
09-27   Service Charge      WIRE TRANS-IN                                                                   10.00
09-27   Outgoing Wire       Paycom Payroll LLC                                                       117,413.50
09-27   Service Charge      OUTGOING WIRE                                                                   12.00
09-27   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT 5500011627                              4,903.63
09-28   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT 5500011620                              1,001.57
09-28   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT 5500011627                              2,665.00




DAILY BALANCES
Date           Amount                        Date             Amount                     Date           Amount
09-11         55,737.09                      09-18           95,665.36                   09-24         63,992.67
09-13         44,930.92                      09-19           93,665.36                   09-25        103,566.01
09-14         38,718.92                      09-20           83,665.36                   09-27        174,649.83
09-17         44,669.00                      09-21           74,322.74                   09-28        174,829.75




        OVERDRAFT/RETURN ITEM FEES


                                                                         Total for                  Total
                                                                       this period               year-to-date


                 Total Overdraft Fees                                          $0.00                   $0.00


                 Total Returned Item Fees                                      $0.00                   $0.00
  Case 8:18-bk-13311-CB               Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23 Desc
                                       Main Document    Page 77 of 85            Direct inquiries to:
                                                                                                                     888 895-5650
  9300 Flair Drive Suite 106
  El Monte CA 91731
                                                                                                            ACCOUNT STATEMENT
                                                                                                                  Page 1            of     3
                                                                                  STARTING DATE: September 07, 2018
                                                                                     ENDING DATE: September 30, 2018
                                                                                        Total days in statement period: 24
                                                                                                                       55-00011620
                                                                                                                                    ( 2)


                                                                                             Shopping for a mortgage loan? Whether
           RUBY'S DINER, INC., A CALIFORNIA CORP.                                            you're buying your first home, investing in
           CHAPTER 11 DEBTOR IN POSSESSION(PAYROLL)                                          real estate, or refinancing, we have
           CASE #8:18-BK-1311-MW
                                                                                             various mortgage loan options to fit your
           4100 MACARTHUR BLVD SUITE 310
                                                                                             needs. Visit or call your local branch for
           NEWPORT BEACH CA 92660-2050
                                                                                             details! NMLSR ID 469761.




Standard Business Checking


Account number                        55-00011620              Beginning balance                                        $0.00
Enclosures                                            2        Total additions                   ( 1)              1,001.57
Low balance                                    $0.00           Total subtractions                ( 3)              1,015.57
Average balance                                $0.00           Ending balance                                        $-14.00




CREDITS
Number            Date         Transaction Description                                                              Additions
                  09-28     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                      5500011613                                                   1,001.57




CHECKS
Number            Date                   Amount                     Number              Date                         Amount
22162761          09-28                   795.58                    * Skip in check sequence
22162937 *        09-28                   205.99




DEBITS
Date      Transaction Description                                                                               Subtractions
09-30    Maintenance Fee                                                                                                14.00




DAILY BALANCES
Date            Amount                        Date            Amount                          Date                  Amount
09-28                0.00                     09-30                -14.00
Case 8:18-bk-13311-CB        Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23      Desc
                                                                      ACCOUNT STATEMENT
                              Main Document    Page 78 of 85               Page 2 of            3
                                                           STARTING DATE: September 07, 2018
9300 Flair Drive Suite 106
                                                                 ENDING DATE: September 30, 2018
El Monte CA 91731
                                                                                      55-00011620
     RUBY'S DINER, INC., A CALIFORNIA CORP.




   OVERDRAFT/RETURN ITEM FEES


                                                     Total for                Total
                                                    this period            year-to-date


             Total Overdraft Fees                       $0.00                    $0.00


             Total Returned Item Fees                   $0.00                    $0.00
Case 8:18-bk-13311-CB     Doc 127 Filed 10/22/18 Entered Checking
                                                          10/22/18Account
                                                                    20:33:23   Desc
                                                                               5500011620
                           Main Document    Page 79 of 85 Statement Date       09/30/2018

                                                          Page                     3 of 3




           09/28/2018   22162761   $795.58




          09/28/2018    22162761   $795.58




          09/28/2018    22162937   $205.99




          09/28/2018    22162937   $205.99
 Case 8:18-bk-13311-CB                Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23 Desc
                                       Main Document    Page 80 of 85            Direct inquiries to:
                                                                                                                      888 895-5650
  9300 Flair Drive Suite 106
  El Monte CA 91731
                                                                                                             ACCOUNT STATEMENT
                                                                                                                   Page 1            of     6
                                                                                   STARTING DATE: September 07, 2018
                                                                                      ENDING DATE: September 30, 2018
                                                                                         Total days in statement period: 24
                                                                                                                        55-00011627
                                                                                                                                  ( 22)


                                                                                              Shopping for a mortgage loan? Whether
           RUBY'S DINER, INC., A CALIFORNIA CORP.                                             you're buying your first home, investing in
           CHAPTER 11 DEBTOR IN POSSESION (A/P)                                               real estate, or refinancing, we have
           CASE # 8:18-BK-13311-MW
                                                                                              various mortgage loan options to fit your
           4100 MACARTHUR BLVD SUITE 310
                                                                                              needs. Visit or call your local branch for
           NEWPORT BEACH CA 92660-2050
                                                                                              details! NMLSR ID 469761.




Standard Business Checking


Account number                       55-00011627                Beginning balance                                        $0.00
Enclosures                                            22        Total additions                   ( 8)            29,064.09
Low balance                              $-3,612.26             Total subtractions               ( 32)            29,078.09
Average balance                                $261.95          Ending balance                                        $-14.00




CREDITS
Number            Date         Transaction Description                                                               Additions
                  09-18    Onln Bkg Trft C             FR ACC 05500011613                                           2,000.00
                  09-19    Onln Bkg Trft C             FR ACC 05500011613                                           2,000.00
                  09-20    Onln Bkg Trft C             FR ACC 05500011613                                         10,000.00
                  09-25    Onln Bkg Trft C             FR ACC 05500011613                                           5,000.00
122022            09-26    NSF Returned It             CHECK 122022                                                 2,006.54
                  09-27    Automatic Trans             TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                       5500011613                                                   4,903.63
122032            09-27    NSF Returned It             CHECK 122032                                                    488.92
                  09-28    Automatic Trans             TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                       5500011613                                                   2,665.00




CHECKS
Number            Date                   Amount                       Number             Date                         Amount
122002            09-18                      337.61                   122024 *           09-27                         135.21
122007 *          09-27               3,899.21                        122025             09-19                      1,620.00
122008            09-21                      348.54                   122026             09-20                         550.00
122011 *          09-24               2,880.00                        122028 *           09-27                         399.62
122012            09-24                      431.00                   122031 *           09-28                      1,665.00
122013            09-21               6,813.79                        122032             09-26                         488.92
122014            09-17               1,518.75                        122036 *           09-27                         138.00
122016 *          09-26                       35.09                   122039 *           09-28                      1,000.00
122017            09-24               1,600.00                        122040             09-24                           14.78
122018            09-18                      850.00                   122041             09-25                         958.75
122019            09-27                      353.05                   122044 *           09-26                         244.44
122020            09-24                      551.79                   * Skip in check sequence
122022 *          09-25               2,006.54
  Case 8:18-bk-13311-CB             Doc 127 Filed 10/22/18 Entered 10/22/18 20:33:23      Desc
                                                                             ACCOUNT STATEMENT
                                     Main Document    Page 81 of 85               Page 2 of                        6
                                                                            STARTING DATE: September 07, 2018
  9300 Flair Drive Suite 106
                                                                                 ENDING DATE: September 30, 2018
  El Monte CA 91731
                                                                                                        55-00011627
         RUBY'S DINER, INC., A CALIFORNIA CORP.




DEBITS
Date      Transaction Description                                                                Subtractions
09-18    Overdraft Fee       FOR OVERDRAFT CHECK # 122014                                               32.00
09-19    Overdraft Fee       FOR OVERDRAFT CHECK # 122018                                               32.00
09-20    Overdraft Fee       FOR OVERDRAFT CHECK # 122025                                               32.00
09-25    Overdraft Fee       FOR OVERDRAFT CHECK # 122011                                               32.00
09-25    Overdraft Fee       FOR OVERDRAFT CHECK # 122017                                               32.00
09-26    NSF Return Item     FOR RETURN OF CHECK # 122022                                               32.00
09-27    NSF Return Item     FOR RETURN OF CHECK # 122032                                               32.00
09-30    Maintenance Fee                                                                                14.00




DAILY BALANCES
Date            Amount                      Date            Amount                   Date           Amount
09-17          -1,518.75                    09-21           1,865.31                 09-27                  0.00
09-18             -738.36                   09-24           -3,612.26                09-28                  0.00
09-19             -390.36                   09-25           -1,641.55                09-30              -14.00
09-20           9,027.64                    09-26            -435.46




        OVERDRAFT/RETURN ITEM FEES


                                                                     Total for                  Total
                                                                     this period             year-to-date


                  Total Overdraft Fees                                  $160.00                 $160.00


                  Total Returned Item Fees                               $64.00                   $64.00
Case 8:18-bk-13311-CB       Doc 127 Filed 10/22/18 Entered Checking
                                                            10/22/18Account
                                                                      20:33:23        Desc
                                                                                      5500011627
                             Main Document    Page 82 of 85 Statement Date            09/30/2018

                                                            Page                          3 of 6




             09/18/2018     122002     $337.61               09/24/2018     122011    $2,880.00




            09/18/2018     122002     $337.61                09/24/2018     122011    $2,880.00




           09/27/2018     122007     $3,899.21                 09/24/2018    122012     $431.00




           09/27/2018     122007     $3,899.21                 09/24/2018    122012     $431.00




           09/21/2018     122008     $348.54                 09/21/2018     122013     $6,813.79




           09/21/2018     122008     $348.54                  09/21/2018    122013     $6,813.79
Case 8:18-bk-13311-CB       Doc 127 Filed 10/22/18 Entered Checking
                                                            10/22/18Account
                                                                      20:33:23        Desc
                                                                                     5500011627
                             Main Document    Page 83 of 85 Statement Date            09/30/2018

                                                            Page                         4 of 6




           09/17/2018     122014     $1,518.75                 09/18/2018    122018     $850.00




           09/17/2018     122014     $1,518.75                 09/18/2018    122018     $850.00




             09/26/2018     122016     $35.09                  09/27/2018    122019     $353.05




            09/26/2018     122016     $35.09                   09/27/2018    122019     $353.05




           09/24/2018     122017     $1,600.00                09/24/2018    122020    $551.79




           09/24/2018     122017     $1,600.00                09/24/2018    122020    $551.79
Case 8:18-bk-13311-CB       Doc 127 Filed 10/22/18 Entered Checking
                                                            10/22/18Account
                                                                      20:33:23         Desc
                                                                                      5500011627
                             Main Document    Page 84 of 85 Statement Date             09/30/2018

                                                            Page                          5 of 6




           09/25/2018     122022     $2,006.54                  09/20/2018    122026     $550.00




           09/25/2018     122022     $2,006.54                  09/20/2018    122026     $550.00




            09/27/2018     122024     $135.21                  09/27/2018    122028     $399.62




            09/27/2018     122024     $135.21                  09/27/2018    122028     $399.62




          09/19/2018     122025     $1,620.00                 09/28/2018     122031     $1,665.00




         09/19/2018     122025     $1,620.00                  09/28/2018     122031    $1,665.00
Case 8:18-bk-13311-CB     Doc 127 Filed 10/22/18 Entered Checking
                                                          10/22/18Account
                                                                    20:33:23         Desc
                                                                                    5500011627
                           Main Document    Page 85 of 85 Statement Date             09/30/2018

                                                          Page                          6 of 6




            09/26/2018    122032    $488.92                   09/24/2018    122040      $14.78




            09/26/2018   122032    $488.92                    09/24/2018    122040      $14.78




            09/27/2018   122036    $138.00                   09/25/2018    122041     $958.75




            09/27/2018   122036    $138.00                   09/25/2018    122041     $958.75




           09/28/2018    122039    $1,000.00                 09/26/2018    122044      $244.44




           09/28/2018    122039    $1,000.00                 09/26/2018    122044      $244.44
